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   EXHIBIT 5
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                                                                  Motions granted in part and denied in part.

     KeyCite Blue Flag – Appeal Notification
Appeal Filed by DONNA CURLING, ET AL v. DAVID WORLEY, ET AL,
11th Cir., October 29, 2020                                        West Headnotes (22)
                  493 F.Supp.3d 1264
              United States District Court,
             N.D. Georgia, Atlanta Division.                       [1]    Injunction       Extraordinary or unusual nature
                                                                          of remedy
       Donna CURLING, et al., Plaintiffs,                                 Preliminary injunction is extraordinary remedy
                                                                          designed to prevent irreparable harm to parties
                          v.
                                                                          during lawsuit's pendency before final decision
              Brad RAFFENSPERGER,                                         on merits can be rendered.
                 et al., Defendants.

           CIVIL ACTION NO. 1:17-cv-2989-AT                        [2]    Injunction       Nature of remedy in general
                            |                                             Request for equitable relief invokes district
                   Signed 10/11/2020                                      court's inherent equitable powers to order
                                                                          preliminary relief in order to assure availability
Synopsis
                                                                          of permanent relief.
Background: Advocacy organization and individual voters
brought § 1983 action alleging that state election officials'
mode of implementation of new voting system and their
ongoing use of software, data systems, policies, and practices     [3]    Injunction       Grounds in general; multiple
burdened and impeded voters' exercise of their First and                  factors
Fourteenth Amendment rights to cast ballot votes that                     To support preliminary injunction, plaintiffs
would be reliably counted. Plaintiffs moved for preliminary               must present evidence that clearly establishes:
injunction.                                                               (1) substantial likelihood of success on merits on
                                                                          their claims; (2) substantial threat of irreparable
                                                                          injury if injunction were not granted; (3) that
                                                                          threatened injury to plaintiffs outweighs harm
Holdings: The District Court, Amy Totenberg, J., held that:
                                                                          that injunction may cause defendants; and (4)
                                                                          that granting injunction would not be adverse to
[1] voters failed to establish any burden on their First
                                                                          public interest.
Amendment right to vote as result of state's use of oversize
touchscreens at polls;

[2] voters failed to establish likelihood of success on merits     [4]    Injunction       Pleadings and affidavits as
of their claim that precinct scanners' recordation of timestamp           evidence
information violated their right to ballot secrecy;                       Injunction       Hearsay
                                                                          Injunction       Standard of proof in general
[3] voters were likely to succeed on merits of their claim that
                                                                          At preliminary injunction stage, district court
use of arbitrary 10% threshold on ballot scanners to discard
                                                                          need not find that evidence positively guarantees
voter ballot markings violated their rights; and
                                                                          final verdict in plaintiff's favor, and may rely on
                                                                          affidavits and hearsay materials that would not
[4] preliminary injunctive relief requiring state to conduct
                                                                          be admissible evidence for permanent injunction,
expanded review of optical scan hand-marked ballots in
                                                                          if evidence is appropriate given injunctive
connection with adjudication software before next election
                                                                          proceeding's character and objectives.
cycle was warranted.




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 [5]    Equity       Grounds of jurisdiction in general        [10]   Constitutional Law        Voting rights and
        Federal courts possess broad discretion to                    suffrage in general
        fashion equitable remedy.                                     Right to vote derives from right of individuals
                                                                      to associate for advancement of political beliefs
                                                                      that is at First Amendment's core and is
 [6]    Federal Courts        Equity jurisdiction in                  protected from state infringement by Fourteenth
        general                                                       Amendment. U.S. Const. Amends. 1, 14.
        When federal law is at issue and public interest
        is involved, federal court's equitable powers
        assume even broader and more flexible character        [11]   Constitutional Law        Voting rights and
        than when only private controversy is at stake.               suffrage in general
                                                                      First and Fourteenth Amendments afford voters
                                                                      right to associate for advancement of political
 [7]    Constitutional Law         Voters, candidates,                beliefs by exercising franchise at voting booth
        and elections                                                 and to cast their votes effectively. U.S. Const.
                                                                      Amends. 1, 14.
        Under Anderson-Burdick test, when deciding
        whether state election law violates due process
        rights guaranteed by Fourteenth Amendment,
        court must weigh character and magnitude of            [12]   Election Law       Nature and source of right
        the burden that state's rule imposes on those                 Election Law       Political Activity and
        rights against interests that state contends justify          Associations
        that burden, and consider extent to which state's             Right to vote in any manner and right to associate
        concerns make burden necessary. U.S. Const.                   for political purposes through ballot are not
        Amend. 14.                                                    absolute; rather, states retain power to regulate
                                                                      their elections to provide fairness, honesty, and
                                                                      order in democratic process.
 [8]    Election Law        Constitutionality and
        validity
        Level of scrutiny to which election laws               [13]   Federal Courts        State or federal matters in
        are subject varies with burden they impose                    general
        on constitutionally protected rights: law that                When state exercises power wholly within
        severely burdens right to vote must be narrowly               domain of state interest, it is insulated from
        drawn to serve compelling state interest, but                 federal judicial review, but such insulation is
        reasonable, nondiscriminatory restrictions that               not carried over when state power is used as
        impose minimal burden may be warranted by                     instrument for circumventing federally protected
        state's important regulatory interests.                       right.



 [9]    Election Law        Constitutionality and              [14]   Constitutional Law        Conduct of Elections
        validity
                                                                      Equal Protection Clause guarantees opportunity
        Even when law imposes only slight burden on                   for equal participation by all voters in election
        right to vote, relevant and legitimate interests of           regardless of which method they choose to cast
        sufficient weight still must justify that burden.             their vote. U.S. Const. Amend. 14.



                                                               [15]   Injunction       Conduct of elections



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        District courts must exercise great restraint
        in considering grant of injunctive relief that        [18]   Election Law         In General; Right of
        requires new rules on cusp of election where                 Suffrage
        court's order could cause electoral disruption and           Voters     themselves     have      independent
        voter confusion.                                             responsibility to proceed with care and caution
                                                                     when exercising franchise.


 [16]   Injunction       Conduct of elections
        Voters failed to establish any burden on their        [19]   Election Law         Constitutionality and
        First Amendment right to vote as result of state's           validity
        use of oversize touchscreens at polls, as required           In resolving challenge to state's election laws,
        to establish their entitlement to preliminary                court must weigh burden on right to vote
        injunction barring use of touchscreens in                    against precise interests put forward by state
        upcoming election, even if touchscreens were                 as justifications for burden imposed by its rule,
        clearly visible from 30 to 50 feet away,                     taking into consideration extent to which those
        where state election officials had undertaken                interests make it necessary to burden plaintiff's
        measures to instruct local election officials on             rights.
        proper polling place layout and arrangement of
        touchscreens to maintain voter privacy, and there
        was no evidence from any voter claiming that          [20]   Injunction       Conduct of elections
        publication of their vote selections subjected               Voters were likely to succeed on merits of their
        them to threats, harassment, reprisals, or other             claim that state election officials' use of arbitrary
        chilling of free exercise of franchise from either           10% threshold on ballot scanners to discard voter
        government officials or private parties. U.S.                ballot markings for candidates or initiatives that
        Const. Amend. 1.                                             were obvious to human eye resulted in violation
                                                                     of fundamental right of each voter to have his
                                                                     or her vote accurately recorded and counted,
 [17]   Injunction       Conduct of elections                        for purposes of determining their entitlement to
        Voters failed to establish likelihood of success             preliminary injunctive relief, in light of evidence
        on merits of their claim that ability of precinct            that ballots on which voter placed checkmark
        scanners used by state during election to record             or “X” to indicate voter's selection—which had
        timestamp information directly onto digital                  been deemed sufficient in previous elections—
        cast vote record created when ballot was                     fell below 10% threshold. Ga. Code Ann. §
        scanned violated their First Amendment right                 21-2-438; Ga. Comp. R. & Regs. 183-1-15.02(2)
        to ballot secrecy, as required to establish their            (2).
        entitlement to preliminary injunction barring use
        of touchscreens in upcoming election, even if
        it was possible to identify voter by comparing        [21]   Injunction       Conduct of elections
        scanned cast vote records ordered by timestamps              Pre-election injunctions are permissible where
        with order in which voters were observed going               constitutional violations are significant, and
        through voting process; there was no evidence of             relief is not adverse to public interest.
        election official going to such lengths to discover
        how someone voted, and ballots scanned on
        precinct scanner included randomized sequence
                                                              [22]   Injunction       Conduct of elections
        number that preserved voter anonymity. U.S.
        Const. Amend. 1.                                             Preliminary injunctive relief requiring state to
                                                                     conduct expanded review of optical scan hand-
                                                                     marked ballots in connection with adjudication
                                                                     software before next election cycle was


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        warranted in voters' action alleging that state      Plaintiffs Laura Digges, William Digges, III, Ricardo Davis,
        election officials' use of arbitrary 10% threshold   Megan Missett.
        on ballot scanners to discard ballot markings
        that were obvious to human eye resulted in           Alexander Fraser Denton, Joshua Barrett Belinfante,
        violation of their right to have their votes         Kimberly K. Anderson, Brian Edward Lake, Carey Allen
        accurately recorded and counted; it appeared that    Miller, Vincent Robert Russo, Jr., Robbins Ross Alloy
        adjudication software could be used to review        Belinfante Littlefield, LLC, Bryan Francis Jacoutot, Bryan P.
        ballot images flagged with blank contests to         Tyson, Diane Festin LaRoss, James A. Balli, Jonathan Dean
        verify that no clearly discernable ballot marks      Crumly, Sr., Loree Anne Paradise, Robert Dalrymple Burton,
        were present on ballot images that had not           Taylor English Duma LLP, Atlanta, GA, for Defendants
        been recognized by scanner software as falling       David J. Worley, Rebecca N. Sullivan, Seth Harp, Brad
        within designated threshold to constitute vote.      Raffensperger.
        Ga. Code Ann. § 21-2-438; Ga. Comp. R. &
                                                             Bryan P. Tyson, Diane Festin LaRoss, James A. Balli,
        Regs. 183-1-15.02(2)(2).
                                                             Jonathan Dean Crumly, Sr., Loree Anne Paradise, Robert
                                                             Dalrymple Burton, Taylor English Duma LLP, Vincent Robert
                                                             Russo, Jr., Robbins Ross Alloy Belinfante Littlefield, LLC,
                                                             Atlanta, GA, for Defendant Ralph F. (Rusty) Simpson.
Attorneys and Law Firms                                      Alexander Fraser Denton, Joshua Barrett Belinfante,
                                                             Kimberly K. Anderson, Brian Edward Lake, Carey Allen
 *1266 David D. Cross, Eileen M. Brogan, Pro Hac Vice,
                                                             Miller, Vincent Robert Russo, Jr., Robbins Ross Alloy
John P. Carlin, Lyle F. Hedgecock, Pro Hac Vice, Mary G.
                                                             Belinfante Littlefield, LLC, Bryan P. Tyson, Diane Festin
Kaiser, Robert W. Manoso, Veronica Ascarrunz, Catherine
                                                             LaRoss, James A. Balli, Jonathan Dean Crumly, Sr., Loree
L. Chapple, Jane P. Bentrott, Marcie Brimer, Pro Hac
                                                             Anne Paradise, Robert Dalrymple Burton, Taylor English
Vice, Morrison & Foerster, LLP, Washington, DC, Robert
                                                             Duma LLP, Atlanta, GA, for Defendant The State Election
Alexander McGuire, III, Pro Hac Vice, Robert McGuire
                                                             Board.
Law Firm, Seattle, WA, Adam Martin Sparks, Halsey G.
Knapp, Jr., Krevolin & Horst, LLC, Bruce P. Brown, Bruce     Cheryl Ringer, David R. Lowman, Kaye Woodard Burwell,
P. Brown Law, Cary Ichter, Ichter Davis, LLC, Atlanta, GA,   Office of the Fulton County Attorney, Atlanta, GA, for
William Brent Ney, Ney Hoffecker Peacock & Hayle, LLC,       Defendants Richard Barron, Mary Carole Cooney, Vernetta
Lawrenceville, GA, for Plaintiffs Donna Curling, Donna       Nuriddin, David J. Burge, Aaron Johnson, The Fulton County
Price, Jeffrey Schoenberg.                                   Board of Registration and Elections.

David R. Brody, Pro Hac Vice, Ezra David Rosenberg,          Cheryl Ringer, Office of Fulton County Attorney, Atlanta,
Pro Hac Vice, Jacob Paul Conarck, John Michael               GA, for Defendants Mark Wingate, Kathleen D. Ruth.
Powers, Lawyers’ Committee for Civil Rights Under Law,
Washington, DC, Robert Alexander McGuire, III, Pro Hac
Vice, Robert McGuire Law Firm, Seattle, WA, Bruce P.
                                                             OPINION AND ORDER
Brown, Bruce P. Brown Law, Cary Ichter, Ichter Davis, LLC,
Atlanta, GA, William Brent Ney, Ney Hoffecker Peacock &      Amy Totenberg, United States District Judge
Hayle, LLC, Lawrenceville, GA, for Plaintiff Coalition for
Good Governance.                                              *1267 I. Introduction and Overview
                                                              **1 In the 1983 film Groundhog Day, weather man Phil
Robert Alexander McGuire, III, Pro Hac Vice, Robert          Connors is doomed to repeat the same day over and over
McGuire Law Firm, Seattle, WA, Bruce P. Brown, Bruce         again: “I wake *1268 up every day, right here, right in
P. Brown Law, Cary Ichter, Ichter Davis, LLC, Atlanta,       Punxsutawney, and it's always February 2nd, and there's
GA, John Michael Powers, Lawyers’ Committee for Civil        nothing I can do about it.” The Court can relate; it feels like it's
Rights Under Law, Washington, DC, William Brent Ney, Ney     February 2nd in Punxsutawney. But quite likely, the Court is
Hoffecker Peacock & Hayle, LLC, Lawrenceville, GA, for       not alone in this sentiment in many respects. Amidst the many
                                                             other serious concerns facing the public in this challenging



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era, issues surrounding election system security, reliability,
fairness, and the correct counting of votes continue on the       **2 Plaintiffs’ motions challenge the State Defendants’
forefront of citizen concerns. And so too, in turn, does voting   mode of implementation of a new voting system enacted by
litigation perforce continue.                                     the Georgia Legislature on April 2, 20192 and their ongoing
                                                                  use of software, data systems, policies and practices that
Now in Act 4, this voting case raising fundamental                allegedly burden and impede Plaintiffs’ exercise of *1269
First Amendment and Fourteenth Amendment constitutional           their First and Fourteenth Amendment rights to cast ballot
claims is before the Court on Plaintiffs’1 current Motions for    votes that will be reliably counted. The Plaintiffs allege
Preliminary Injunction seeking relief before the November 3,      that Defendants have failed to implement a constitutionally
2020 general election. The Court held three days of hearings      acceptable election system by requiring all in-person voters
on Plaintiffs’ motions and has reviewed the parties’ extensive    to use a BMD system that, as a whole, in its design and
briefs and evidentiary submissions. The Plaintiffs’ motions       operation, is not voter-verifiable, secure, or reliable. They
are identified and described below.                               contend this system suffers from some of the same major
                                                                  cybersecurity vulnerabilities posed by Defendants’ deeply
(a) The Curling Plaintiffs’ August 19, 2020 Motion                flawed, outdated Direct Recording Electronic (“DRE”)
for Preliminary Injunction [Doc. 785] seeks to require            Voting System addressed by the Court's lengthy Order of
Defendants “to conduct in-person voting in elections              August 15, 2019 that granted injunctive relief.3 (Doc. 579.)
by a hand-marked paper ballot system” in combination              Plaintiffs’ challenge embraces an array of associated issues
with “provisions for pre-certification, post-election, manual     involving the electronic voting process that impact if an
tabulation audits of paper ballots and to independently check     individual's vote (whether recorded from a scanned BMD-
the accuracy of equipment and procedures used to tabulate         generated barcode or a hand-marked paper ballot) will be
votes ... based on well-accepted audit principles that assure a
                                                                  correctly captured, scanned, and accurately counted.4 Their
high probability that incorrect outcomes will be detected and
                                                                  claims thus also raise significant issues regarding the auditing
remedied”; and
                                                                  of the election system's voting results and ballot processing.

(b) The Coalition Plaintiffs’ August 24, 2020 Motion for
                                                                  First and foremost, Plaintiffs’ challenge focuses on the
Preliminary Injunction on BMDs, Scanning and Tabulating,
                                                                  Defendants’ implementation of the new statewide BMD
and Auditing [Doc. 809] seeks to require the State Defendants
                                                                  system, pursuant to the terms of the State's 2019 contract
to: (i) refrain from forcing in-person voters to use ballot
marking devices (“BMDs”) and instead cause voters to use          with Dominion Voting Systems.5 The software and hardware
hand-marked paper ballots as the standard method for in-          system purchased provides for each citizen's BMD ballot vote
person voting; (ii) adopt scanning threshold settings for the     selections to be printed on a paper ballot generated by a
Dominion optical scanners and vote review procedures that         printer connected to the BMD. But the tabulation of the vote
will ensure all voter marks on mailed and hand-marked paper       is actually based on the ballot's non-encrypted QR barcode on
ballots are counted; and (iii) require election superintendents   the ballot – designed to summarize the voter's ballot selections
to conduct meaningful, effective pre-certification audits of      in code – that by itself is not voter reviewable or verifiable.
scanned hand-marked paper ballots to ensure the correctness       Thus, Plaintiffs contend that the system precludes direct voter
of election outcomes.                                             verification of the QR barcode of votes cast on the ballot.
                                                                  The printed ballot is fed into an ImageCast optical scanner
The Coalition Plaintiffs’ Motion for Preliminary Injunction       that tabulates the ballot votes solely based on the QR code
on Paper Pollbook Backups also sought related relief              – and not based on the human readable text on the printed
requiring the Secretary of State to direct county election        ballot. Plaintiffs challenge the constitutionality of the State
superintendents to use paper backups of the electronic            Defendants’ implementation of a barcode-based system for
pollbook at each precinct polling location to facilitate          all in-person voting, based on (1) this alleged fundamental
issuance of regular or emergency ballots on election day in       vote verification defect; (2) the system's purported known and
the event of voting machine breakdowns and mishaps, power         demonstrated risk vulnerabilities to access and manipulation
outages, and associated long voter lines. (Doc. 800.) This        identified by national cybersecurity experts; and (3) the
Court's Order of September 28, 2020 (Doc. 918) addressed          inherent problems posed in properly auditing votes tallied
these issues at length and granted that separate motion.          based on QR barcodes that cannot be verified by voters.6



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                                                                     voters on a single screen. Because BMDs primarily display
 **3 *1270 Additionally, the Coalition Plaintiffs press their        candidates in a single column list, the two-column display
separate but related claim for relief based on the alleged           is not a typical setup. Logic and Accuracy testing performed
intrusion on voters’ free exercise of their right to cast a           *1271 on the BMDs by two counties in the last week of
secret ballot at the polls. The nature of this claim is two-         September revealed that the second column of candidates
fold. First, the Coalition Plaintiffs assert that in-person voters   did not appear in some instances. Dominion engineered a
are required to make their ballot selections on oversized            software modification as a fix and within a few days the
voting touchscreens that are not shielded and that expose            Secretary of State began distribution of the new software to
the voter's ballot choices to easy viewing by other people           counties for installation on all 30,000 plus BMDs before the
in the precinct voting location. Second, they assert that a          start of early voting. Dominion submitted its application to the
timestamping feature on the precinct scanner could be used to        U.S. Election Assistance Commission (“EAC”) for approval
identify voters to reveal their vote choices.                        for the software engineering change on October 5, 2020 and
                                                                     secured the EAC's approval in a one sentence letter issued
As a whole, the State Defendants have steadfastly denied the         on October 9, 2020. EAC approval was secured after the
factual and legal merits of Plaintiffs’ constitutional claims.       modified software had been installed throughout the state.
They argue that Plaintiffs have not carried their high burden
of proof to show they are substantially like to prevail on their      **4 Not surprisingly, the parties take wildly different
claims or their entitlement to relief under the rigorous legal       positions on the magnitude of the problem and its impact on
standards for grant of a preliminary injunction.7 Defendants         the general election. The State Defendants characterize this
have also urged the Court to per se deny all relief on the           as a very minor issue and the fix as a de minimis change
grounds that it would interfere with the State Defendants’           to the voting system software. Plaintiffs assert instead that
authority and responsibility for oversight of election process       the State is undertaking substantial changes to the election
and procedures, unfettered by burdens and confusion that             equipment two weeks before early voting begins without
can be caused by Court ordered changes to state election             adequate testing that further jeopardizes the reliability and
procedures or requirements on the eve of an election under           security of the Dominion voting machines. These unforeseen
Republican Nat'l Comm. v Democratic Nat'l Com., ––– U.S.             circumstances, Plaintiffs insist, justify an emergency switch
––––, 140 S. Ct. 1205, 1207, 206 L.Ed.2d 452 (2020) and              to hand-marked paper ballots.
Purcell v. Gonzalez, 549 U.S. 1, 4, 127 S.Ct. 5, 166 L.Ed.2d
1 (2006).                                                            Given the complex findings and analysis already covered by
                                                                     the Court's review of several lengthy preliminary injunction
The General Election will be held on November 3, 2020. In-           motions and issuance of related procedural orders over the
person early voting will proceed in select polling locations in      last two years of intensive litigation, the Court refers the
every Georgia county from October 12, 2020 through October           reader to its earlier orders for a further overview of the
30, 2020. While early voting in counties is done on BMD              course of proceedings, relevant legal context, rulings, and
machines, the state still denominates these votes as “absentee”      factual findings. (See, e.g., Doc. 309, September 17, 2018
ballots. Under Georgia law, counties are authorized to begin         Order (denying motion to dismiss and motion for preliminary
sending out traditional paper absentee ballots this year on          injunction); Doc. 579, August 15, 2019 Order (granting in
September 15, 2020 and to continue to do so thereafter in the        part preliminary injunction motions); Doc. 751, July 30, 2020
weeks ahead prior to the election. The last date for submitting      Order (granting in part and denying in part Defendants’
an application for an absentee mail paper ballot in Georgia is       most recent motion to dismiss including new BMD claims);
October 30, 2020. October 5, 2020 is the deadline for voter          Doc. 768, August 7, 2020 Order (denying without prejudice
                                                                     Plaintiffs’ initial motions for preliminary injunction, Docs.
registration.8
                                                                     619 and 540, that facially challenged the BMD system and
                                                                     were filed in October, 2019, long prior to the 2020 election
Faced with this looming timeline, the Secretary of State just
                                                                     cycle, and summarizing case history).)
two weeks discovered a system-wide ballot display issue on
the BMD touchscreen voting machines for the U.S. Senate
                                                                     Finally, the Court notes that it has already addressed and
special election with 20 candidates in the race. The Secretary
                                                                     rejected the State Defendants’ renewed contention that
of State designed the ballot using a two-column display to
                                                                     several of Plaintiffs’ requests for relief fall outside the
ensure that all 20 candidates appeared at the same time to


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bounds of the case as pled and presented to this Court.           (11th Cir. 2015); Castle v. Sangamo Weston, Inc., 837 F.2d
(See, e.g., Order on Motion to Dismiss, Doc. 751 at 20-25;        1550, 1563 (11th Cir. 1988) (“The decision whether to
August 15, 2019 Order, Doc. 579 at 88-89.) Portions of the        grant equitable relief, and, if granted, what form it shall
relief requested by Plaintiffs are clearly associated with their  take, lies in the discretion of the district court.”). “Crafting
contentions regarding the Defendants’ non-implementation          a preliminary injunction is an exercise of discretion and
of some of the relief granted in the Court's August 15, 2019      judgment, often dependent as much on the equities of a given
Order, as discussed in the Court's Opinion and Order issued       case as the substance of the legal issues it presents.” Trump
on September 28, 2020. (Doc. 918.) Similarly, Plaintiffs have     v. Int'l Refugee Assistance Project, ––– U.S. ––––, 137 S. Ct.
repeatedly advocated in their amended and supplemental            2080, 2087, 198 L.Ed.2d 643 (2017) (per curiam); Kansas v.
complaints, motions, and briefs as well as at court hearings      Nebraska, 574 U.S. 445, 456, 135 S.Ct. 1042, 191 L.Ed.2d
for the relief addressed in the current preliminary injunction    1 (2015) (noting that a court of equity may “ ‘mold each
motions before this Court.                                        decree to the necessities of the particular case’ and ‘accord
                                                                  full justice’ to all parties”). In formulating the appropriate
                                                                  remedy, “a court need not grant the total relief sought by
II. Legal Standards                                               the applicant but may mold its decree to meet the exigencies
                                                                  of the particular case.” Int'l Refugee Assistance Project, 137
   A. Preliminary Injunction Standard
                                                                  S. Ct. at 2087 (citation omitted). And the Supreme Court
 [1]      [2]     [3]     [4] A preliminary injunction is an
                                                                  has repeatedly advised, “[w]hen federal law is at issue and
“extraordinary remedy” designed to prevent irreparable harm
                                                                  ‘the public interest is involved,’ a federal court's ‘equitable
to the parties during the pendency of a lawsuit before a final
                                                                  powers assume an even broader and more flexible character
decision on the merits can be rendered. See Winter v. Nat.
                                                                  than when only a private controversy is at stake.’ ” Kansas
Res. Def. Council, 555 U.S. 7, 24, 129 S.Ct. 365, 172 L.Ed.2d
                                                                  v. Nebraska, 574 U.S. at 456, 135 S.Ct. 1042 (citing Porter
249 (2008). “A request for equitable relief invokes the district
                                                                  v. Warner Holding Co., 328 U.S. 395, 398, 66 S.Ct. 1086, 90
court's inherent equitable powers to order preliminary relief ...
                                                                  L.Ed. 1332 (1946) and Virginian R. Co. v. Railway Employees,
in order to assure the availability of permanent *1272
                                                                  300 U.S. 515, 552, 57 S.Ct. 592, 81 L.Ed. 789 (1937)).
relief.” Levi Strauss & Co. v. Sunrise Int'l Trading Inc., 51
F.3d 982, 987 (11th Cir. 1995); Federal Trade Comm'n v.
United States Oil and Gas Corp., 748 F.2d 1431, 1433–                B. Standard for Challenging Constitutionality of State
34 (11th Cir. 1984). To support a preliminary injunction,            Election Laws/Systems
Plaintiffs must present evidence that clearly establishes: (1)     [7] [8] [9] When considering the constitutionality of an
a substantial likelihood of success on the merits on their        election law, the Court applies the framework established
claims; (2) a substantial threat of irreparable injury if the     by the Supreme Court in Anderson v. Celebrezze and
injunction were not granted; (3) that the threatened injury to    Burdick v. Takushi. Under this framework, referred to as
the plaintiffs outweighs the harm an injunction may cause the     the Anderson-Burdick test, when deciding whether a state
defendants; and (4) that granting the injunction would not be     election law violates the due process rights guaranteed by the
adverse to the public interest. McDonald's Corp. v. Robertson,    Fourteenth Amendment, the Court must weigh the character
147 F.3d 1301, 1306 (11th Cir. 1998). At the preliminary          and magnitude of the burden the State's rule imposes on
injunction stage, a district court “need not find that the        those rights against the interests the State contends justify that
evidence positively guarantees a final verdict in plaintiff's     burden, and consider the extent to which the State's concerns
favor,” and may rely on affidavits and hearsay materials          make the burden necessary. Timmons v. Twin Cities Area New
which would not be admissible evidence for a permanent            Party, 520 U.S. 351, 358, 117 S.Ct. 1364, 137 L.Ed.2d 589
injunction, if the evidence is “appropriate given the character   (1997); *1273 Burdick v. Takushi, 504 U.S. 428, 112 S.Ct.
and objectives of the injunctive proceeding.” Levi Strauss &      2059, 119 L.Ed.2d 245 (1992); Anderson v. Celebrezze, 460
Co., 51 F.3d at 985 (quoting Asseo v. Pan American Grain          U.S. 780, 103 S.Ct. 1564, 75 L.Ed.2d 547 (1983). “[T]he level
Co., 805 F.2d 23, 26 (1st Cir. 1986)); McDonald's Corp., 147      of the scrutiny to which election laws are subject varies with
F.3d at 1306 (11th Cir. 1998).                                    the burden they impose on constitutionally protected rights.”
                                                          Stein v. Alabama Sec'y of State, 774 F.3d 689, 694 (11th Cir.
 **5 [5] [6] Federal courts “possess broad discretion to 2014). A law that severely burdens the right to vote must be
fashion an equitable remedy.” Black Warrior Riverkeeper,  narrowly drawn to serve a compelling state interest. Burdick,
Inc. v. U.S. Army Corps of Engineers, 781 F.3d 1271, 1290 504 U.S. at 434, 112 S.Ct. 2059; Democratic Exec. Comm.


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of Florida v. Lee, 915 F.3d 1312, 1318 (11th Cir. 2019).
But “reasonable, nondiscriminatory restrictions” that impose       The legislation enacted in April 2019 was adopted on the
a minimal burden may be warranted by “the State's important        heels of a number of public events revolving around Georgia's
regulatory interests.” Common Cause/Ga. v. Billups, 554 F.3d       outdated DRE election system: a widely publicized breach
1340, 1352 (11th Cir. 2009) (citing Anderson, 460 U.S. at 788,     of the State's election server maintained by the State's
103 S.Ct. 1564). “And even when a law imposes only a slight        election services contractor, Kennesaw State University, that
burden on the right to vote, relevant and legitimate interests     exposed voluminous voter data, as well as sensitive software
of sufficient weight still must justify that burden.” Lee, 915     applications and passwords that triggered the transfer of the
F.3d at 1318-19; Billups, 554 F.3d at 1352.                        University's Center for Election Services election operations
                                                                   directly to the *1274 Secretary of State's office from its
                                                                   contractor after December 31, 2017;9 a prior failed effort to
III. Discussion of Claims and Relief Issues
                                                                   pass election legislation during the winter legislative session
   A. Background Context                                           of 2018 to phase out the old DRE voting machines and State
Georgia's new 2019 Election Code mandates that “all federal,       Global Election Management Systems (“GEMS”) that dated
state, and county general primaries and general elections as       back to 2001; and this Court's Order in September 2018 on
well as special primaries and special elections in the State of    the Plaintiffs’ Motions for Preliminary Injunction declining
Georgia shall be conducted with the use of scanning ballots        to enter the injunctive relief requested but finding that the
marked by electronic ballot markers and tabulated by using         Plaintiffs had demonstrated a likelihood of prevailing on
ballot scanners for voting at the polls and for absentee ballots   the merits of their claim that the outdated DRE system as
cast in person, unless otherwise authorized by law; provided,      implemented was constitutionally not sustainable.10
however, that such electronic ballot markers shall produce
paper ballots which are marked with the elector's choices in       The State commenced replacement of the DRE/GEMS
a format readable by the elector.” O.C.G.A. § 21-2-300(a)          system with Dominion's BMD system beginning in the
(2). The legislation places the responsibility of selecting the    summer of 2019 after conclusion of the request for proposals
equipment for the new voting system with the Secretary             and contracting processes. This voting system change,
of State. See O.C.G.A. § 21-2-300(a). The law expressly            targeted for completion in time for full implementation in
requires that the “equipment used for casting and counting         2020, was a major shift and undertaking. Dominion plays
votes in county, state, and federal elections shall be the same    a large role in all dimensions of the implementation of
in each county of this state and shall be provided to each         the new voting system in partnership with the Secretary
county by the state, as determined by the Secretary of State.”     of State's Office.11 The contract was entered at a time
O.C.G.A. § 21-2-300(a)(1) (emphasis added).                        when the cybersecurity risks and vulnerabilities of digital
                                                                   election systems had emerged as a major concern of national
 **6 The Election Code further requires the Secretary              leadership and as well as prominent computer engineering
of State to certify the new BMD voting system as “safe             and cybersecurity experts and academic organizations.
and practicable for use” in compliance with the Rules of           Election systems were now classified as critical national
the Georgia State Election Board prior to authorizing its          infrastructure. Voter-verified ballots and hand-marked ballots
implementation in state, federal, and county elections in          in particular were deemed important tools for protecting
the State. O.C.G.A. § 21-2-300(a)(2); see also Ga. Comp.           the security of voting systems by leaders in the academic
R. & Reg. 590-8-1-.01(d). It also requires that the state          cybersecurity field, including the sole information technology
furnished uniform electronic ballot system “be certified by
                                                                   and cybersecurity expert on the Commission12 appointed
the United States Election Assistance Commission prior to
                                                                   by the Secretary of the State to provide recommendations
purchase, lease, or acquisition.” O.C.G.A. § 21-2-300(a)(3).
                                                                   regarding the replacement of the DRE System. (See August
The Election Code tasks the Georgia State Election Board
                                                                   15, 2019 Order, Doc. 579 at 35-42; September 17, 2018 Order,
with promulgating rules and regulations governing audit
                                                                   Doc. 309 at 11-12.)
procedures and requires that “[t]he procedures prescribed by
the State Election Board shall include security procedures
                                                                    **7 Georgia is the only state using the Dominion barcode-
to ensure that collection of validly cast ballots is complete,
                                                                   based BMD system statewide as the mandatory voting
accurate, and trustworthy throughout the audit.” O.C.G.A. §
                                                                   method for all in-person voters. (See Decl. of Dr. Eric
21-2-498(b)&(d).


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Coomer, Doc. 658-2 ¶ 5) (“Dominion's ImageCast X BMD             that cost considerations, among others, may have played a
system is currently used by Cook County and the City of          role in this purchasing decision, as it was currently available
Chicago, Illinois, several jurisdictions within the States of    through some other vendors.18 However, the State's actual
Michigan and Pennsylvania, and will be used by several           option in the long run of upgrading the system to one that
California counties including San Francisco, Alameda,            tabulates from the voter designations, and not a QR barcode
Riverside, Contra Costa, and San Diego in the upcoming 2020
                                                                 is potentially relevant.19 When that might occur is another
election cycle.”). According *1275 to a study by Verified
                                                                  *1276 question, as the EAC has apparently yet to certify
Voting, Georgia and South Carolina13 are the only states that    Dominion's upgrade option, and in any event, it may entail
require the use of BMDs as the primary method for all voters.    costs the State might not be willing to incur.
(Decl. of Warren Stewart,14 Doc. 681-2; Decl. of Dr. Alex
Halderman, Doc. 785-2 ¶ 47; Decl. of Dr. Alex Halderman,          **8 The Court focuses in this Order on the salient evidence
Doc. 855-1 at ¶ 3.) The majority of election jurisdictions       that Plaintiffs have presented in support of their Motions to
across the U.S. use hand-marked paper ballots as the primary     demonstrate the constitutional infirmity of the system because
method of voting and provide BMDs exclusively for voters         of its alleged impact on voters’ exercise of the right to vote
who request them for accessibility (e.g., those with certain     and whether their votes will be counted as cast or at all.
disabilities) or upon voter request.15
                                                                 The Court recognizes from the outset that the State
The Secretary of State's Office contracted with Dominion         Defendants did face significant challenges in implementing
for all equipment and software components of the system          a new statewide voting system in barely 15 months and that
(the BMD touchscreens, attached ballot printers, ImageCast       early elections and primaries would occur prior to the ultimate
optical scanners that tabulate ballot votes, and the KnowInk     election date of November 3, 2020. The Covid-19 pandemic
PollPads) but continued to use its ENET voter registration       further complicated that challenge. While this fact does not
database system. The ENET system provides the voter data         in any way erase the issues raised by Plaintiffs, especially in
foundation for the PollPads used for voter check-in at the       the context of the particular record in this case, the Court still
polls.                                                           bears this pragmatic reality in mind.


In entering into the Dominion contract, the Secretary of State   The Court divides its discussion below of the motions
proceeded with an agreement for the current level of capacity    before it as follows. Section B addresses the evidence
of Dominion's ImageCast optical scanner to tabulate votes        presented in conjunction with the Curling Plaintiffs’ Motion
based on the scanned image of the QR barcode encoded             for Preliminary Injunction and a portion of the Coalition
with the voter's designated ballot selections. The Dominion      Plaintiffs’ Motion for Preliminary Injunction on BMDs,
ImageCast optical scanners used by Georgia in tandem with        Scanners and Tabulators and Audits. Section C addresses
the BMDs are capable of scanning and tabulating votes            the Coalition Plaintiffs’ Motion related to the issue of ballot
without a QR barcode. (Decl. of Dr. Eric Coomer, Doc.            secrecy. Section D addresses that portion of the Coalition's
658-2 ¶ 9; Decl. of Dr. Alex Halderman, Doc. 785-2 ¶¶            Motion as to Scanners and Tabulators focused on the review
4, 37-40.) In response to the State's request for proposals      and counting of hand-marked ballots, including absentee
during the procurement process, Dominion represented that        ballots, provisional ballots, and finally, some portion of
an upcoming version of its BMD software would not need to        emergency ballots cast.20
print barcodes on ballots.16 The BMDs under the prospective
option would instead produce a human-readable ballot that
                                                                   B. Claims Relating to BMDs, Scanners/Tabulators, and
would be counted by the optical scanner/tabulators based on
                                                                   Audits
voters’ electronic vote designations on the ballot by reading
particular target areas associated with the voter selections,
similar to how they are programmed to read hand-marked           1. Cybersecurity Risks and Reliability Issues Presented by
paper ballots. (Decl. of Dr. Eric Coomer, Doc. 658-2 ¶           Implementation of the BMD System
9; Decl. of Dr. Alex Halderman, Doc. 785-2 ¶ 37.) This
option is described as an “upgrade” available only after         The evidence, expert opinion testimony, and argument
                                                                 Plaintiffs offer in support of their challenge to the
“certification is complete at the EAC.”17 The Court assumes
                                                                 constitutionality of the State Defendants’ implementation of a


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barcode-based system for all in-person voting falls into three     Defendants have contested Plaintiffs’ cybersecurity, vote
main areas. They contend that the evidence shows:                  fidelity, and voting system evidence through cross-
                                                                   examination as well as through the testimony of the
(1) The QR barcode-based BMD voting system does not                State's witnesses and Dr. Eric Coomer, Director of Product
produce a voter-verifiable paper record of the votes cast.         Strategy and Security for Dominion Voting Systems, and
Therefore, voters will be unable to conduct any verification       the testimony of Jack Cobb, the Director of Pro V&V, the
of the information encoded in the non-human readable               United States EAC accredited private laboratory retained
barcode, will have no way of knowing what votes they               by the Georgia Secretary of State to assess and test
are actually casting, and will instead be forced to trust          Dominion's Democracy Suite 5.5-A voting system software
that the barcode accurately conveys their intended ballot          and associated components22 and the KnowInk electronic
selections. Both the QR barcode recording of votes and the         pollbook as deployed in Georgia for EAC certification.
text summary of ballot selections are subject to being accessed    Although Mr. Cobb's affidavits addressed cybersecurity
and manipulated through hacking, unauthorized intrusion            related matters, his testimony at the injunction hearing plainly
into the BMD computer system or its various components             indicated that he actually claims no specialized knowledge
(scanner, printer, etc.), by USB flash drives (or similar          or background in cybersecurity engineering and did not
devices), or by other interfaces with the internet through cyber   himself perform any security risk analysis of the BMD
attacks or applications that may be carrying malware (whether      system. Defendants did not introduce any evidence from
intentionally or not).                                             Fortalice Solutions, the cybersecurity consulting firm that
                                                                   previously has performed security *1278 analysis regarding
 **9 *1277 (2) The QR barcode-based BMD voting system              the Secretary of State's information technology system, as
poses major security and fidelity of vote issues because the       discussed in the Court's Order of August 15, 2019 and which
BMD system is susceptible to significant cybersecurity risks       conducted a confidential initial evaluation of the BMD system
and manipulation through hacking access to any one of its          in November 2019 at Defendants’ counsel's request on behalf
multiple components (BMD, printer, scanner) and through            of the Secretary of State. Thus, the State Defendants did
untraceable manipulation or alteration of code. The QR             not present any independent cybersecurity expert to directly
barcode is not encrypted and may also be a vector of data          address the cybersecurity issues and risk vulnerabilities of
system manipulation.                                               Dominions’ QR code voting system raised by Plaintiffs.
                                                                   Instead, State Defendants relied on Dr. Coomer's testimony,
(3) The QR barcode-based BMD voting system is incapable
                                                                   to address – based on his professional experience23 – some of
of being meaningfully audited for a variety of reasons: (a)
                                                                   the significant cybersecurity issues raised by Plaintiffs. The
the QR code cannot itself be verified by a voter; (b) the
                                                                   State Defendants also provided expert testimony regarding
length and complexity of many ballots and the printed ballot
                                                                   the issue of whether a QR code based voting system,
text's condensed mode of summarizing the voter's ballot
                                                                   where votes are recorded and tabulated based on a scanner/
selections (identifying solely the candidate selected by office
                                                                   tabulator's reading of the QR code, can be properly subject to
or condensed constitutional amendment summaries identified
                                                                   a risk-limiting audit as to the outcome of any specific election
by question number or by a few words); and (c) research
                                                                   in response to the extensive testimony provided by Plaintiffs’
reflecting that most voters do not review these printed ballot
                                                                   experts on this subject.
summaries, and those that do, will not detect errors in ballots
presented for verification based solely on their memories.
                                                                    **10 Plaintiffs’ substantive evidence regarding the
                                                                   Defendants’ implementation or usage of the BMDs, scanner/
Plaintiffs presented multiple expert witnesses to address
                                                                   tabulators, and audits is the most complex, expert-intense
their assessment of the Dominion system's cyber risk
                                                                   evidence presented in this case. Indeed, this array of experts
vulnerabilities and incapacity to provide a voter verifiable or
                                                                   and subject matter specialists provided a huge volume of
auditable vote.21 Plaintiffs’ experts testifying at the hearing    significant evidence regarding the security risks and deficits
or by affidavit included: Dr. Andrew W. Appel, Dr. Richard         in the system as implemented both in witness declarations
DeMillo, Dr. J. Alex Halderman, Mr. Harri Hursti, Mr.
                                                                   and live testimony at the preliminary injunction hearing.24
Vincent Liu, Mr. Kevin Skoglund, and Dr. Philip B. Stark.
                                                                   As authorized discovery only commenced shortly before the
                                                                   preliminary injunction hearing, no expert or other depositions
                                                                   had been conducted.


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                                                                  found in its seminal report, Securing the Vote: Protecting
While Plaintiffs’ experts provided illuminating evidence,         American Democracy 42, 80 (National Academies Press,
this evidence still had its own constraints. First, security      2018)(“National Academies Report” or “NAS Report”):
information from the Secretary of State's office was limited.
The Secretary of State's response to Plaintiffs’ authorized         [A]ll digital information – such as ballot definitions, voter
expedited discovery requests indicated that its cybersecurity       choice records, vote tallies, or voter registration lists –
consultant, Fortalice Solutions, had not generated any              is subject to malicious alteration; there is no technical
consulting studies, audits, or assessments of data system           mechanism currently available that can ensure that a
security issues since August 1, 2019 when the State                 computer application – such as one used to record or count
commenced its early work on implementation of the                   votes – will produce accurate results; testing alone cannot
Dominion system, other than a November 2019 report                  ensure that systems have not been compromised; and any
requested by Defendants’ counsel and withheld based on              computer system used for elections – such as a voting
                                                                    machine or e-pollbook – can be rendered inoperable.
attorney work product privilege.25 (See September 2, 2020
                                                                  (Doc. 285-1, Ex. 1.)
Order, Doc. 858 (approving non-disclosure based on assertion
of privilege and in turn, granting on limited terms Plaintiffs’
                                                                  Dr. Halderman had physical access to the BMD system
request for inspection *1279 of BMD equipment); see
                                                                  when conducting his *1280 tests, which expedited his
also, August 15, 2019 Order, Doc. 579 at 73-90 (discussing
                                                                  experimentation and intrusion into the software system.
the focus of Fortalice evaluations of security and software
                                                                  Evidence presented in this case overall indicates the
issues prior to August 2019).) Second, while some of
                                                                  possibility generally of hacking or malware attacks occurring
Plaintiffs’ experts had accessed other related BMD models
                                                                  in voting systems and this particular system through a variety
and Dominion software previously, the specific BMD model
                                                                  of routes – whether through physical access and use of
and software variation (along with the optical scanners/
                                                                  a USB flash drive or another form of mini-computer, or
tabulators programed with Dominion's proprietary software)
                                                                  connection with the internet. As discussed in the declarations
used in Georgia was not accessible to the Plaintiffs and their
                                                                  and testimony of the proffered national cybersecurity experts
cybersecurity expert, Dr. Halderman, until Friday, September
                                                                  in this case, a broad consensus now exists among the
4, 2020 at 5:30 p.m. – and then, only by Court Order.26           nation's cybersecurity experts recognizing the capacity for the
This was just days before the preliminary injunction hearing      unobserved injection of malware into computer systems to
commenced on September 10, 2020. Upon the Plaintiffs’             circumvent and access key codes and hash values to generate
filing of a discovery dispute notice regarding their access       fraudulent codes and data. In these experts’ views, these risk
issue, the Court ordered the swift production of a BMD and        issues are in play in the operation of Dominion's Democracy
related ImageCast precinct scanner for Plaintiffs’ expert's       Suite 5.5-A GA, and take on greater significance because
testing and assessment, subject to various confidentiality        the system is one that does not provide a verifiable and
provisions and other terms.27 (As the Dominion system uses        auditable ballot record because it relies on the QR code
an off-the-shelf printer, the Plaintiffs provided their own new   for vote tabulation and that code itself cannot be read and
printer of the same model used by the Defendants.)                verified by the voter. (See, e.g., Declaration of Vincent Liu,
                                                                  Doc. 855-2 at 6-8; Tr. Vol. II at 59, 64; Declaration of Dr.
 **11 Dr. Halderman's testing of the equipment and                Andrew Appel, Doc. 855-3 at 6; Declarations of Dr. Alex
software occurred over the short period of time before the        Halderman, Doc. 682 at 4-11, Doc. 785-2; see also Appel,
scheduled hearing.28 His evaluation in this abbreviated time      A.W., R. DeMillo, and P.B. Stark,30 Ballot-Marking Devices
frame yielded some supplemental results that supported the        Cannot Ensure the Will of the Voters, Election Law Journal
Plaintiffs’ cybersecurity analysis of the malware vulnerability   (2020), Doc. 619-10.) Hacking alterations of the barcodes
risks of this specific BMD system. In particular, Dr.             and/or predicate text, security keys, or hash values renders
Halderman's testing indicated the practical feasibility through   tracing or auditing of the fraudulent change in voting data
a cyber attack of causing the swapping or deletion of specific    difficult or impossible in their viewpoint – and in turn impacts
votes cast and the compromise of the system through different     the capacity to conduct appropriate auditing of ballot data or
cyber attack strategies, including through access to and          to implement corrective “re-count” measures.
alteration or manipulation of the QR barcode.29 As the
National Academies of Sciences, Engineering, and Medicine,



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 **12 Dr. Halderman's empirical evaluation of the Georgia          Whatever the new BMD system's flaws in design, age, and
programmed BMD voting equipment and software was                   reliability of components, or implementation – some of which
partial and incomplete due to the short time allocated for         may be significant – the evidence would at this early point
the examination prior to the injunction hearing. And Dr.           in time have to be highly compelling to justify the Court's
Halderman indicated that he would need more time with              considering enjoining on a wholesale basis the State's use of
the equipment and software to conduct further testing of the       the a BMD voting system approved by the Secretary of State,
software and modeling of other malware that could attack any       pursuant to his authority under a state law enacted as recently
component of the BMD system and infect the system and              as 2019.
recording of votes or cause other mayhem. Dr. Halderman
provided directly relevant information to a demonstration of       The issues and alleged practices identified by Plaintiffs as a
the risks facing this specific voting system. However, his         basis for enjoining the system include:
evaluation and testing of the system was limited as described
and not fully subject to being itself examined in depth by           • the BMD QR code's lack of encryption, that opens
Dominion's own cyber security staff given the last moment              voting data up to breach, alteration, and other security
                                                                       weaknesses;
nature of the testing.31
                                                                     • cybersecurity risk management and practices that
 *1281 That said, Dr. Halderman has also offered other                 allegedly render the voting system vulnerable to
core relevant testimony in this case in open and sealed                compromise and breach, and alteration or loss of votes;
hearings as well as in sworn declarations. (See, e.g., Doc.
785-2.) He as well as other cybersecurity experts testifying         • alleged major shortcuts taken in state protocols now used
on behalf of Plaintiffs here have provided evidence credibly            for conducting Logic and Accuracy testing (“L & A”) of
explaining how malware can mask itself when inserted in                 voting machines required under Georgia law preceding
voting software systems or QR codes, erase the malware's                each election, even though L & A testing constitutes
tracks, alter data, or create system disruption. And while some         a fundamental threshold standard to verify the correct
attacks can be detected, their results often are not susceptible        functioning and accurate output of the BMD system and
to full correction. For all these reasons, Dr. Halderman and            its component parts;
Plaintiffs’ other cybersecurity expert witnesses testified that
heightened proactive protection measures are needed beyond           • the alleged impossibility or inadequacy of using Risk-
what the current Dominion system as implemented in Georgia              Limiting Audit methodology meaningfully to audit
                                                                        BMD ballots and votes tallied based on a scanned QR
provides32 or alternatively, are simply not feasible given the
                                                                        code, where evidence indicates that only a fraction of
 *1282 system's central reliance on a humanly unverifiable
                                                                        voters review their printed ballot;
QR code.
                                                                     • scanning software, practices, and settings that allegedly
 **13 Plaintiffs’ voluminous expert testimony describes                 result in voters’ ballot selections on paper ballots
an interrelated range of systemic software and operational              (whether cast as absentee, provisional, or emergency
practices that define and impact the functioning of the voting          ballots) being interpreted as blank and not counted,
system. The Plaintiffs maintain that the BMD system and                 though clearly appearing on the hand-marked ballots
software design as well State Defendants’ identified practices          cast by voters;
independently and as a whole undermine the integrity,
security, and functionality of the voting system and in turn,        • the alleged failure to protect the confidentiality of the
adversely impact whether citizens’ votes will be counted as             voting process by the use of timestamps on scanners that
intended or counted at all. The Court has considered this               trace back to the voters at the precinct and by the large
challenge on its merits because a voting system, procedure,             BMD screens that expose the voter's selection choices to
or practice can in reality subvert or impair citizens’ exercise         other individuals in the precinct and burdening their free
of the franchise and the counting of their votes. Still, the            exercise of the franchise.
Court notes from the outset that the voting system challenged
here is a new system for Georgia,33 replacing the outdated
DRE system that was dependent on totally obsolete software         *1283 2. Encryption & Risk Exposure
and defective usage practices that patently made it unreliable.


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The Court at some length described in its August 15, 2019           *1284 that the encoded QR codes and digital signature
Order the changed landscape of cybersecurity in which               were encrypted.37 And at the injunction hearing, Mr. Cobb
election systems operate. More evidence emerging in the             conceded that he accepted such representations on face value
past year has added to this picture of heightened security          rather than on any testing that he had actually done. (Tr. Vol.
concerns. The Court does not further delve into this reality        II at 243.) The evidence plainly contradicts any contention
here because the Defendants do not appear to actually dispute       that the QR codes or digital signatures are encrypted
that cybersecurity risks are significant in the electoral sphere.   here, as ultimately conceded by Mr. Cobb and expressly
Dr. Halderman's voting machine testing exercise in the 2020         acknowledged later by Dr. Coomer during his testimony. (Tr.
preliminary injunction hearing – as in 2019 – showed how this       Vol. II at 123, 146, 237, 243.) In his second affidavit, Mr.
might play out. As several of Plaintiffs’ national cybersecurity    Cobb averred that his prior description of the QR code as
and engineering experts explained in their testimony, the           encrypted as opposed to “encoded” was just a difference in
issues presented for any cyber electoral system is how to           verbiage because he is not an academic. As discussed later
fortify the system's protection against unauthorized intrusion      below in connection with Mr. Vincent Liu's testimony, this is
or accessing of software and databases, the system's detection      simply not correct. Similarly, during cross examination, after
and limitation of the impact of malware, and minimization of        conceding that malware could affect hash value generation,
risk overall, including through active auditing procedures.34       Mr. Cobb indicated he was not familiar with the fact that
                                                                    malware could defeat or disable the hash values38 – a concern
 **14 The State Defendants presented the BMD system's               addressed by all of Plaintiffs’ cybersecurity specialists who
cybersecurity as reliable and fortified both based on the           provided declarations or testimony in this case.
testimony of Dr. Coomer as Dominion's Director of Product
Strategy and Security and the testimony of Mr. Jack Cobb, the       Mr. Cobb's first affidavit discloses that Pro V&V did not
Laboratory Director for Pro V&V.35 The Secretary of State           itself conduct any form of penetration or security testing of
retained Pro V&V to perform a review of its newly adopted           the 5.5-A software version specifically to be used in Georgia
BMD voting system, as required for EAC certification                (certified by Dominion in August 2019) but relied on another
purposes, for submission to the EAC for approval. Pro               company's security testing of earlier versions of the Dominion
V&V originally certified the Dominion Democracy Voting's            Democracy Suite software.39 (Doc. 865-1 at 5; Tr. Vol. II, at
Democracy Suite 5.5-A system in August 2019 and has
                                                                    233.)40 Dr. Coomer testified that there is a difference between
certified a modified version since that time – once in
                                                                    the 5.5 and 5.5-A Dominion Democracy Suite versions – a
November 26, 2019 and once on October 2, 2020.36 Mr.                change to the ICX software that was not deemed de minimis.
Cobb represented in his affidavits filed by Defendants that the     (Tr. Vol. II at 138.) Pro V&V's assessment of the modified
Dominion system's security was fortified by the encryption          software version in November 2019 (“5.5.A GA” update)
of the QR code and accompanying digital signature code as           (classified as de minimis) was performed by an employee no
well as various other security measures such as use of a built      longer with the company. Mr. Cobb's affidavit did not indicate
in security feature that generates SHA-256 hash values. (Doc.       that he actually had personal familiarity with that specific
821-6 at 4.)                                                        testing or actually any specific testing, as he testified he did
                                                                    not engage in this type of activity. (Tr. Vol. II at 243.) At
Mr. Cobb testified at the injunction hearing that he had            the injunction hearing, he indicated that Pro V&V had never
fourteen years of experience in testing voting machines, but as     tried or tested alteration of the QR code in Dominion version
became apparent in the course of these proceedings, he does         5.5-A, though he had previously declared in effect that this
not have any specialized expertise in cybersecurity testing or      could not be done. (Tr. Vol. II at 238.) While Mr. Cobb's
analysis or cybersecurity risk analysis. Further, Mr. Cobb had      affidavits addressed cybersecurity matters and criticisms of
not personally done any of the security testing referenced in       Plaintiffs’ cybersecurity and engineering expert affidavits, he
his affidavits.                                                     was candid in his testimony at the injunction hearing that he
                                                                    actually had no specific expertise in cybersecurity testing.
In his first affidavit, Mr. Cobb stated that the BMD printed
ballot's QR codes are signed and encrypted. (Doc. 821-6 at           **15 Mr. Vincent Liu, is a leading international
4.) When Plaintiffs’ experts disputed this encryption claim,        cybersecurity analyst and consultant. He has focused on the
Mr. Cobb in his second affidavit pointed to Dominion's              “offensive side of security for 21 years,” starting with the
own documentation as the source of his prior statement


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National Security Agency as a global network exploitation
analyst and moving from there to work at Ernst & Young             Mr. Liu goes on to dismiss Pro V&V's and Dominion's
in their advanced security centers. He subsequently led the        reliance on hash values as a central software security
global penetration team for *1285 Honeywell International          protective device. “[I]f you have an infected BMD that
and in 2005 co-founded the cybersecurity firm of Bishop Fox        has been compromised [by malware], it can just tell you
of which he is CEO. As he describes, “we are hired by some         whatever value that it wants.” (Id. at 59.) “[A]s it is deployed
of the most sophisticated, largest companies in the world to       within the Dominion devices, it does not appear to be used
perform product security testing, application security testing,    in a fashion that could be considered secure. It can easily
penetration testing, code reviews, red teaming. Essentially,       be circumvented.” (Id. at 64.) Liu similarly addresses the
companies hire us to find vulnerabilities within their system      insecurity of the encryption key and other gateways to the
to identify weaknesses.”41 (Liu Testimony, Tr. Vol. II at 54.)     system that he states can be bypassed by malware to allow
                                                                   access to QR codes (and faking of such). (Id. at 60-61, 63; Liu
Mr. Liu addressed head-on the inaccuracy of any contention         Decl., Doc. 855-2 at 5-8.)
that the QR code or signature utilized in the Dominion
BMD system in Georgia is encrypted. Mr. Liu testified               **16 On cross-examination, Mr. Liu explained that
at the injunction hearing that based on his and his                while he had not personally physically examined the
firm's examination of the QR codes, the codes were not             BMD system in Georgia because *1286 it has not
encrypted. “And the process that we undertook to perform           been accessible for independent evaluation, he had used
the verification was to develop code that read the QR              established standard cybersecurity evaluation practices for
code. Wherein, we were able to extract the raw data and            assessing the vulnerability of software. Liu reviewed the
determine ... whether or not it was encrypted. And our             architecture and documentation regarding this specific
conclusion was that it was not.” (Liu Testimony, Vol. II at 56.)   BMD system (including certification documentation) and
Mr. Liu further explained that encryption and encoding have        considered the outdated Android operating system42 and
fundamentally different meanings. “The use of encryption           principles of how relevant checksum software works, his
implies that there is an algorithm that confers some measure       knowledge of applicable technology and software principles
of security to the system .... [A] way to think about it is        and cybersecurity vulnerabilities. (Id. at 63-67.) He also
encryption is used to provide security. Encoding is intended       considered the system's use of USB devices and portals which
for usability. It is to make information more easily accessible,   in his view generally are “fraught with security concerns.” (Id.
which is oftentimes counter to, say, encryption, which is          at 69-70.) Liu concluded that in his view, the design of the
something more secret .... [I]t is a concept that is very, very    security of the BMD system is not secure and “require[s] a
fundamental.” (Id. at 57.) QR codes, in short, are made to         more in-depth review.” (Id. at 68.)
facilitate access, not to conceal the code.
                                                                   In contrast, Defendants contend that Plaintiffs’ evidence
Mr. Liu also addressed whether the digital signature in the        boils down to hypothetical speculation by Dr. Halderman
Dominion QR code provided security for the QR code:                about what “could” happen based on his experience with
                                                                   other electronic voter systems, and review of Dominion
   [T]ypically when you are thinking about digital signatures      documentation, rather than a studied evaluation of the
   you are referring to the use of public-key cryptography.        Dominion 5.5-A GA system or its implementation. They
   And the intention is to provide for integrity. In this case,    argue that the Plaintiffs’ experts have never actually seen
   public-key cryptography was not being used with QR              malware that would actually alter a ballot on the Dominion
   codes. And so the implication is that with the BMDs and the     voting system. The State Defendants also question Dr.
   generation of the QR codes the QR codes themselves -- the       Halderman's mode of testing the BMD system when
   implication with the design of the Dominion BMD system          the Court ordered the equipment be made available for
   is that any device that has necessary keys to operate would
                                                                   confidential testing in early September43 and assessment of
   be able to generate a fake QR code. And you would not be
                                                                   the vulnerability of the system's design.
   able to determine which machine generated it, whether it
   was the EMS, the BMD, the ICP, or any other system that
                                                                   Given the Court's assessment of the limitations in Mr.
   had that key loaded on to it.
                                                                   Cobbs’ and Pro V&V's evaluation of cybersecurity elements
(Id. at 58.)
                                                                   of Georgia's BMD system and affidavit accuracy issues,


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the Court looks to Dr. Coomer's testimony for a fuller            Coomer acknowledged on cross examination, however, that
picture. Dr. Coomer averred in his November 2019 affidavit,       the Democracy Suite software works on an Android operating
“while all computers can be hacked with enough time and           system that is separate from the software and hardware,
access, Dominion is not aware of any situation where an           and that is not written by Dominion. (Tr. Vol. II at 86-87.)
individual used the barcode on one of its units to launch         He further acknowledged the potential for compromise of
software or to affect the operation of the unit.” (Doc.           the operating system, by exploiting a vulnerability, that
852-1 at 8.) In his court testimony, Dr. Coomer describes         could allow a hacker to take over the voting machine and
Dominion's Democracy Suite system as a protected “end-to-         compromise the security of the voting system software. (Id.)
end” election management system that is a “self-contained,
self-functioning election management system and tallying          The evidence of actual implementation presented by Harri
tabulation system.” (Tr. Vol. II at 117.)                         Hursti's testimony suggest a very different picture as to the
                                                                  system's implementation at this juncture. Mr. Hursti is a
Dr. Coomer represents that the servers and work-stations are      nationally recognized cybersecurity expert who has worked
“hardened” to meet benchmarks set by NIST, the National           in security-oriented IT technology for over 30 years, with
Institute of Standards Technology. And he represented to the      a particular expertise in the knowledge, observation and
Court that the NIST benchmarks do not address whether other       prevention of malicious activities in networked environments.
software applications – i.e., game applications that Mr. Hursti   Mr. Hursti also has an expertise in optical scanning. (Doc.
observed on servers in Georgia county voting offices – must       680-1 at 37; Doc. 853-2; Tr. Vol. I at 120-121.) Mr. Hursti
be removed to ensure that servers are securely hardened and       is the co-founder and organizer of one of the largest annual
protected.44 Dr. Coomer testified that one of the strong assets   cybersecurity and hacker community meetings, attracting
of *1287 the system's touchscreen interface is that voters        over 30,000 participants in Las Vegas in the four years
cannot cast overvotes (more than one vote in a single race)       prior to the Covid-19 pandemic. He also organized the 2018
and that undervotes (no vote cast) are clearly indicated to the   Voting Machine Hacking Village for which he was awarded
voter on the screen, thereby addressing “a lot of the voter       a Cyber Security Excellence Award and has engaged in other
intent issues you have with hand-marked ballots.” (Id. at 119.)   organized efforts to work with local election officials to assist
And in this connection, he commented on the clarity of the        them in gaining security expertise.
touchscreens that do not have the calibration problems posed
by legacy voting systems. (Id. at 121.)                           In response to the State Defendants’ critique of his specific
                                                                  qualifications, Mr. Hursti indicates that “there are only a few
 **17 Dr. Coomer testified at the injunction hearing that         independent voting system researchers with more hands-on
Dominion did not intend to encrypt the QR barcode. He             experience than I *1288 have with key components of the
also testified regarding the use of digital signatures, secure    Dominion Voting System elements. To my knowledge, no
keys in the system “that are part of the system and the           jurisdiction has permitted, and Dominion has not permitted,
standard SHA-256 hashing algorithm” as protective security        independent research, academic or otherwise, to be conducted
                                                                  on its systems, which greatly limits the number of people with
architecture for the software system and the QR codes.45 (Tr.
                                                                  any experience with the Dominion systems.” (Doc. 853-2 at
Vol. II at 123.) Responding to State Defendants’ question
                                                                  2.) He notes that the Voting Machine Hacking Village issued
regarding what would be necessary to generate a valid (but
                                                                  its 2019 annual report that addressed security weaknesses,
false) QR code accepted by the ICP scanner, Dr. Coomer
                                                                  vulnerability, and exploitations discovered by the participants
discussed how all physical and software defenses of the
                                                                  regarding an array of computing systems, including a
system would have to be defeated and source code accessed,
                                                                  different hybrid piece of Dominion voting equipment, the
which his testimony as a whole suggests he did not think
likely. (Tr. Vol. II. at 124.) He also in his 2019 affidavit      ImageCast Precinct with Ballot-Marking Device.47 (Id. at 3.)
testified that as the BMD touch-screen tablets run the            The report intentionally did not provide a public disclosure
Dominion Voting Systems software in Kiosk mode (in a mode         of how the exploits were conducted but instead a high-level
only showing the Touchscreen voting display), “this prevents      overview. Hursti states that he was actively engaged with the
any access to software or features outside of the certified       underlying work and that the discoveries were intentionally
installed program.” (Doc. 821-1 at 2-3.) Finally, Dr. Coomer's    not included in the annual report for protective security
affidavit represents that “the BMD has no physical component      reasons. He has evaluated BMD-type devices during the DEF
                                                                  CON conference and otherwise. He has also conducted in-
that would allow for wireless transmissions.”46 (Id.) Dr.


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person observations of electoral operations and scanning in         In addition to the above issues, approximately two weeks
Georgia precincts and county offices during the last year since     after the last day of the injunction hearing in this case,
the introduction of Dominion's BMD system.                          a new development or crisis (depending on which party's
                                                                    perspective) was brought to the Court's attention. Logic
 **18 Mr. Hursti testified at the September 2020 injunction         and Accuracy testing in at least two counties demonstrated
hearing and through several declarations regarding his              an unpredictable defect or bug in the presentation on the
observations made while visiting county facilities where            ballot of the 20 candidates for one of Georgia's U.S. Senate
voting activity was transpiring in the August 2020 elections        seats. A column of the senatorial candidates erratically would
and in other sites both before and after the August                 disappear from the ballot. Dominion conducted expedited
observations. Based on his cybersecurity expertise and in-          testing to identify the source of the bug. At first it determined
depth knowledge hacker strategies, Hursti identified concerns       it would have to replace the database system wide across
regarding the security of these systems. He found that in           Georgia to address the issue. On the afternoon of September
the two county election offices he visited, election servers        25, 2020, Chris Harvey, the Director of Elections for the
enabled unsafe remote access to the system through a                Secretary of State's Office, issued a written notice to all
variety of means, extending from frequent use of flash              County election directors regarding a ballot problem that had
drives and accessing of the internet to the use of outside          arisen that might require replacement of the entire voting
unauthorized applications (such as game programs) residing          database. He therefore directed that all county election offices
on election management and tabulation servers and other             cease Logic & Accuracy testing until further notice. Georgia's
practices. Mr. Hursti testified that these practices drive a hole   159 counties thus temporarily halted all Logic and Accuracy
through the essential cybersecurity foundation requirement          testing preparation of voting equipment for the elections.
of maintaining a “hardened”48 server (and associated
computers) *1289 as well as air gapped secure protection            Plaintiffs’ counsel notified the Court over the ensuing
of the system. Without these basic protections, malware can         weekend of this significant new election system problem.
far more easily penetrate the server and the operative BMD          The Court held a phone conference with counsel along with
system software in turn.                                            Dr. Coomer regarding the issues raised on September 28th.
                                                                    The Court was at that time advised that Dominion had
Hursti found that in one of the counties, server logs were not      now determined after further testing that the issue should
regularly recording or updated in full and that Dominion's          be addressed by a software modification to run on the ICX
technical staff maintained control over the logs and made           BMD Touchscreen voting machines that would have to be
deletions in portions of the logs. Yet secure and complete          installed in each of these BMD voting machines across
logs, Hursti testified, are essential as the most basic feature     the state. Meanwhile, Dominion sent a modified version of
of system security as they provide the detailed activity trail      the software for running the election on the operative ICX
necessary for the identification of security threats and server     BMD Touchscreen voting equipment to Pro V&V for *1290
activity and are required for purposes of conducting a sound        independent testing.1 Although as it turns out, Pro V&V
audit.49 (See Hursti Decl., Doc. 853-2; Tr. Vol. II at 117-169.)    had not started their testing of the software modification (or
                                                                    so it seems) aimed at remedying the issue at the time of
 **19 In sum, at the preliminary injunction hearing, Mr.            the September 28th phone call, Dr. Coomer initially advised
Hursti succinctly presented his opinion that given the              the Court then that “so the testing lab has already deemed
irregularities that he observed as a cybersecurity expert he        the change de minimis” – an instantaneous conclusion that
had serious doubt that the system was operating correctly           bears consequences and raises questions, as later discussed
and that “when you don't have an end-to-end chain of the            here. (Tr., Sept. 28, 2020, Doc. 926 at 38.) Dr. Coomer then
voter's intent” and when a system could be maliciously              responded to the Court's question of when therefore did the
or unintentionally compromised, there is no capability of           testing actually occur. He further responded that Pro V&V
auditing the system results.                                        had first analyzed the code change to determine if the change
                                                                    was “de minimis” pursuant to EAC standards and then, based
                                                                    on that finding, would conduct testing, which was proceeding
                                                                    on that day, Monday, September 28th.50 By Tuesday at
3. Other Issues: Software Changes and Installation
                                                                    latest, Pro V&V had given its full approval of the software
                                                                    modification, though it had yet to issue a written testing


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report. By that Tuesday afternoon or evening (or earlier),         EAC Certification requirements specify that pre-approval
Pro V&V had transmitted the modified software to the State         of software program modifications is necessary, even if
Elections Division for review, use, and distribution to counties   considered “de minimis” because of the potential systemic
on Wednesday. (Doc. 928-1.) The State in turn transmitted on       impacts of software changes. Section 3.4.3 of the EAC
Wednesday, September 30th one flash drive to each county           Certification Manual (revised November 19, 2019) provides:
elections office for mass reproduction in hundreds of flash        “Manufacturers who wish to implement a proposed de
drives for installation of replacement software on all BMDs.       minimis change must submit it for VSTL review and
                                                                   EAC approval. A proposed de minimis change may not be
**20 At the time it was distributed to the counties, the           implemented as such until it has been approved in writing
Dominion software modification had not yet been reviewed           by the EAC.” The EAC Manual regulatory revision at
or approved by the Election Assistance Commission.51               3.4.3.1. (3) specifies that a Voting System Test Laboratory
The State contends it could immediately legally proceed            (VSTL) (in this case, Pro V&V) must review and assess
without such approval and has now launched and apparently          the proposed change and among other requirements, detail
completed the process of Counties’ (whether by county staff        “the basis for its determination that the change will not alter
or Dominion staff or contract employees) removal of the prior      the system's reliability, functionality, or operation.” It also
software and installation of the new modified software in          must determine whether the change meets the definition or
thousands of voting machines across the state. At conferences      instead “requires the voting system to undergo additional
held by the Court on September 28th and October 1st, the           testing as a system modification.” Section 3.4.3.1(7). In
State Defendants’ counsel maintained that the State did not        turn, if the VSTL endorses the proposed change as de
need EAC approval to implement newly modified software             minimis and provides requisite documentation, EAC “has
essential to running all critical aspects of the voting machines   sole authority to determine whether the VSTL endorsed
as state law only requires that the BMD system be “certified       change constitutes a de minimis change under this section.”
by the United States Election Assistance Commission prior          Section 3.4.3.3. If the EAC determines that the proposed de
to purchase, lease, or acquisition.” O.C.G.A. § 21–2–300(a)        minimis change cannot be approved, “the proposed change
(3). (Tr. of Sept. 28, 2020 hearing, Doc. 925.) The State          will be considered a modification and require testing and
Defendants filed at the Court's directive the Pro V&V written      certification” consistent with the requirements of the EAC
testing documentation on October 2, 2020 and represented           manual. The Manual provision goes on to delineate six types
in the same filing that the Pro V&V summary letter had             of features of a proposed software change that should be
been submitted to the EAC. However, Dominion did not in            reviewed in determining whether a change is de minimis or a
fact submit the software modification for approval to the          modification that requires more testing.
EAC as a de minimis change until Monday, October 5, 2020
and then re-submitted *1291 its engineering change order           The Plaintiffs maintain that the software changes are far
request on Tuesday evening, October 6, 2020, a day after           more than de minimis and can have broad systemic impact.
installation of new software statewide in BMDs across the          Three of their cybersecurity experts submitted affidavits
                                                                   regarding the issues raised by the new software and its
state's 159 counties was completed.52 (Doc. 959-5.) And on
                                                                   testing, thus far. The Plaintiffs’ experts’ affidavits address the
Wednesday, October 7, 2020, upon the EAC's request, Pro
                                                                   EAC delineated characteristics for determining if a software
V&V submitted the engineering change order to the EAC
                                                                   change is de minimis and conclude that the VSTL (Pro V&V)
verifying that it viewed the software change as de minimis
                                                                   failed to implement requisite testing measures and analysis to
and did not require further testing. (Doc. 959-5 at 11.) The
                                                                   determine the impact of the proposed software code changes
EAC notified Dominion of its approval on Friday, October
                                                                   on overall system software functionality, as required for
9, 2020 in a one-line sentence. (Doc. 960-1.) The Court
                                                                   assessment of whether a software change is “de minimis.”
is certainly not in the position to second guess the EAC's
                                                                   They further contend that Pro V&V conducted a rubber-stamp
approval. But it does delineate here the entire sequence of
                                                                   highly abbreviated testing review of the software changes
events and review to make transparent that the EAC review
                                                                   that failed to test the *1292 software changes properly to
process and associated independent private laboratory review
                                                                   determine (a) the source of the bug or that the software
process does not offer exactly a firm protective shield as the
                                                                   modification actually fixed the actual source of the bug or
EAC functions on a voluntary cooperation basis and does not
                                                                   (b) how or if the new modified code included in the software
exercise independent regulatory authority.
                                                                   would impact the structure and function of other code in



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the software or functionality of the software as a whole.          Pre-election Logic and Accuracy Testing (L & A) is
(Pro V&V Testing Report, Doc. 939; Declarations of Dr.             an important operations verification practice and standard
Halderman and Kevin Skoglund, Docs. 941, 943.)                     in jurisdictions across the nation that use any form of
                                                                   computerized voting equipment. L & A testing is required
 **21 Other substantive concerns were also raised in               under the 2019 Georgia statutory provisions enacted as
Plaintiffs’ experts’ affidavits regarding the nature of the        part of the adoption of legislation approving the statewide
Pro V&V testing, review, and issues posed by the software          usage of the BMD system. As discussed below, L & A
change. Pro V&V reproduced the bug on a mock election              testing is designed to *1293 verify pre-election that all
panel database it had created and ran Dominion's new               voting equipment, BMD touchscreens, printers, scanners, and
software version on that sample to determine the bug did not       PollPads are properly configured and functioning. L & A
reappear. However, as Pro V&V was never able to reproduce          testing should also confirm that the voting system tabulators
the flickering on/off appearance of one column of the 20           are accurately tabulating cast ballots going into the election.
candidate screen on a copy of Douglas’ County's actual             The testing gives election staff an opportunity to identify basic
database that first demonstrated the bug, there is no indication   errors in election and ballot configuration and related vote
that Pro V&V actually identified the root cause of the bug         attribution in scanning and ballot printing as well as to address
or that Pro V&V actually verified that the new software            other basic functionality problems.
fixed the bug or fixed it without impacting other portions of
the software. Finally, Plaintiffs’ two experts discuss how in      O.C.G.A. § 21-2-379.25(c) provides:
their experience, rushed, last minute software code changes
without assessment of their impact on the functionality of            On or before the third day preceding a primary or
software and code as a whole constitutes an enormous                  election, including special primaries, special elections, and
                                                                      referendum elections, the superintendent shall have each
functionality and security risk for the election system.53 Mr.
                                                                      electronic ballot marker tested to ascertain that it will
Skoglund additionally states that Logic and Accuracy testing,
                                                                      correctly record the votes cast for all offices and on all
that should follow the new software installation process in
                                                                      questions and produce a ballot reflecting such choices
every county, will not be able to catch the range of errors
                                                                      of the elector in a manner that the State Election Board
and software functionality problems potentially created by the
                                                                      shall prescribe by rule or regulation. Public notice of
new software. (Skoglund Decl., Doc. 943.)
                                                                      the time and place of the test shall be made at least five
                                                                      days prior thereto; provided, however, that, in the case of
Additionally, Plaintiffs have offered an affidavit from
                                                                      a runoff, the public notice shall be made at least three
cybersecurity expert Harri Hursti who witnessed on October
                                                                      days prior thereto. Representatives of political parties and
1, 2020 some of the initial installation of the software
                                                                      bodies, news media, and the public shall be permitted to
now proceeding on approximately 3,300 of Fulton County's
                                                                      observe such tests.
ballot marking device touchscreen units to ICX software
                                                                    **22 (Emphasis added). The language of Georgia's
version 5.5.10.32 in the Fulton County Election Preparation
                                                                   2019 statutory provision appears transparent: Each County
Center. (Doc. 942.) He describes in detail how 14 Dominion
                                                                   superintendent shall have each electronic ballot marker
technicians en masse engaged in removal of the old software
                                                                   machine (i.e., BMD and its components) tested to ascertain
and installation of the new software in disorganized, rushed,
                                                                   that “it will correctly record the votes cast for all offices
and careless form – without consistent implementation
                                                                   and on all questions and produce a ballot” for such offices.
of various required steps and Dominion directives for
                                                                   O.C.G.A. § 21-2-379.25(c) (emphasis added). This provision
installation of the software or any evident security standards
                                                                   was adopted simultaneous to the Legislature's enactment of
or tracking of flash drives containing sensitive information.
                                                                   O.C.G.A. § 21-2-300, authorizing the Secretary of State's
In Hursti's view, the entire hasty and unprofessional software
                                                                   mandatory statewide implementation of the BMD system.
swap out and installation process is itself cause for grave
                                                                   O.C.G.A. § 21-2-379.25(c) in essence, defines the pre-
concern as to the future security and consistent functionality
                                                                   election standard operational verification process required to
of the new system.
                                                                   implement the BMD election system specified in O.C.G.A. §
                                                                   21-2-300.

4. Logic and Accuracy Testing                                      Dr. Coomer, Dominion's Director of Product Strategy and
                                                                   Security, “absolutely” agreed in his hearing testimony “that


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one of the goals of logic and accuracy testing and equipment is       and immediately mark all printed paper ballots as “test”
to do some measure of confirmation that that the equipment is         ballots.
working properly.” (Tr. Vol. II at 83.) His affidavit submitted
earlier by Defendants both in 2019 and 2020 summarized in             D. Check that the ballot scanner scans the paper ballot,
more detail the purpose and function of pre-election L & A            including both ballots marked by electronic ballot markers
testing in connection with the Dominion voting systems used           and ballots marked with a pen, and that the ballot scanner
in Georgia:                                                           scans ballots regardless of the orientation the ballot is
                                                                      entered into the scanner.
  Dominion's optical scanners (ICP) can be used with BMD-
  marked paper ballots or hand-marked paper ballots. The             E. Check that the tabulation contained in the ballot scanner
  ICP units do not interpret the human-readable (text)               memory card can be accurately uploaded to the election
  portion of either type of ballot. Instead, the ICP units are       management system, and that the tabulated results match
  programmed to read the QR Code for the BMD ballot                  the selections indicated on the paper ballot.
  or particular coordinates on hand-marked ballot.... The           **23 Ga. Comp. R. & Regs, 183-1-12-.08(3)(A)-(E).
  target locations are then correlated to individual choices
  represented on the ballot. Pre-Logic and Accuracy Testing         Yet the Secretary of State's January 20, 2020 published
  (Pre-LAT) is performed each election on every machine to          procedures for conducting L & A testing give an instruction
  verify that the target locations on hand-marked ballots, and      for a fraction of the testing required under O.C.G.A. §
  the barcodes on BMD-marked ballots correspond correctly           21-2-379.25(c) and its implementing regulation. (Doc. 809-4
  to the choices represented on the ballots and the digital cast-   at 25; Doc. 809-5 at 2-8.) The procedure's provision for
  vote-records.                                                     “Testing the BMD and Printer” requires testing of only one
(Doc. 821-1 at 6.)                                                  candidate race per BMD for each ballot style (i.e., one
                                                                    designated vote for the presidential race and no other races
The Georgia State Election Board in early 2020 adopted a new        or one designated vote for another office and nothing else).
                                                                    It also provides that “[a]ll unique ballot styles do not have
Logic and Accuracy Testing Rule, SEB Rule 183-1-12.08.54
                                                                    to be tested on each BMD.” (Id.) The published procedure
This Rule requires:
                                                                    gives this example for how to conduct the BMD machines’
   *1294 During the public preparation and testing of the           ballot testing: “Example: Ballot from BMD 1 contains a vote
  electronic poll books, electronic ballot markers, printers,       for only the first candidate in each race listed in Ballot style
  and ballot scanners to be used in a particular primary            1. Ballot from BMD 2 contains a vote only for the second
  or election, the election superintendent shall cause each         candidate in each race on Ballot 1, and continue through the
  electronic ballot marker and scanner to be programmed             line of devices until all the candidates in all races within the
  with the election files for the precinct at which the             unique ballot style will have received a single vote.” (Doc.
  electronic ballot marker and ballot scanner unit will be          809-4 at 25.) In other words, the testing instructions do not
  used. The superintendent shall cause the accuracy of the          provide for a review of whether each BMD machine in the
  components to be tested by causing the following tasks to         precinct can correctly produce candidate selections on the
  be performed:                                                     touchscreens, and aligned ballot results in turn on scanners
                                                                    and printers for all elective offices on the ballot. But whether
  A. Check that the electronic poll books accurately look           a BMD machine or scanner may be able to accurately relay a
  up and check-in voters via both the scanning function and         vote designation for one office does not mean that it properly
  manual lookup and create a voter access card that pulls up        does so for all other races and offices listed on the ballot.
  the correct ballot on the electronic ballot marker for every
  applicable ballot style.                                          At the October 1, 2020 follow-up hearing to address
                                                                    the State's implementation of the brand new software
  B. Check that the touchscreen on the electronic ballot            modification on the BMDs, the Court explored whether the
  marker accurately displays the correct selections and that        software change would impact the *1295 scope of L & A
  the touchscreen accurately reflects the selected choices.         testing procedures. The Court heard from Michael Barnes,
                                                                    Director of the Secretary's Center for Election Systems, who
  C. Check that the printer prints a paper ballot that
                                                                    conducted acceptance testing on the BMD system prior to
  accurately reflects the choices selected on the touchscreen
                                                                    distribution of the software update to the 159 counties on


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or about September 29, 2020. The Court learned that Mr.             advance to try and ascertain if that is true .... you would
Barnes was involved in the development of the logic and             want to test every ballot style because you want every
accuracy testing procedures, though Mr. Harvey, as Director         ballot style to work properly. And you want to check every
of Elections, rather than Mr. Barnes apparently directly            contest. At a minimum, you want to make sure that every
oversees their implementation. Mr. Barnes indicated that            candidate is able to receive a vote .... But you also have
the counties were instructed to follow the original L & A           to make sure that the votes aren't being swapped, that they
protocols after verifying the new hash signature for the new        are not crisscrossing.” (Tr. Vol. III at 128.) Mr. Skoglund
version of the ICX software application. (October 1, 2020 Tr.       further clarified that this involves checking to make sure
at 35.) Mr. Barnes described a procedure for L & A testing          that “whatever you do on the screen is reflected in what
that does not mirror the written instructions in the Secretary      is output in the end. On a tabulator, you're validating that
of State's January 2020 Procedures manual. Mr. Barnes has           when you take the input of the ballot into the tabulator that
not been in the field to observe how counties are conducting        the totals that come out at the end match correctly. In both
the L & A testing pursuant to the instructions provided by          cases, you are looking to see if what goes in gives you what
the Secretary of State's Office. (Id. at 43.) Therefore, it is      you expect to come out the other side.” (Id. at 131-132.)
not clear what practices the counties are using in conducting       Finally, he explained *1296 how as an election consultant
their L & A testing, and it is entirely possible different          as well as when he has served as a poll manager/voting
counties employ different testing protocols or that they are        adjudicator in his home state of Pennsylvania, he has seen
implementing the narrow process delineated by Mr. Harvey            some dramatic systematic vote tallying failures that could
and the January 2020 procedures guide. Even though the              have been prevented if the L & A testing had properly been
process as Mr. Barnes understands it is more expansive than         handled and identified the issue causing these results that
the written guidance provided to the counties by the Secretary      had to be reversed.55 The tabulation for some races on a
of State's Office, it is still incomplete when compared to the      ballot also could be totally correct while for others, they were
requirements of the statutory or regulatory provisions in terms     wrong and there were candidates who received zero votes.
of providing a full scope of testing of all ballot contests on      (Id. at 132-133.) In summary, “[i]f you are only auditing
every piece of the voting equipment.                                one race, you are only going to detect problems in one race.
                                                                    Once you test, the scope of your testing determines whether
 **24 Putting aside the intent and specifications of the L & A      you will find the problems. If you don't look, you can't find
statutory provision, the Court looks at the basic purpose and       problems.” (Id. at 130.)
function of L & A testing as a preliminary threshold standard
for testing and ensuring the functionality of every voting          The Secretary of State's Director of Elections, Mr. Chris
machine to be used in an election by voters and capacity            Harvey, provides an affidavit in this case that addresses the
to produce pre-election an accurate record and tabulation of        Secretary of State's L & A testing policy. He states the
votes for candidates appearing on the ballot. First, the Court      Secretary of State's Office designed the current L & A testing
has considered Dr. Coomer's explanation above that describes        process “in consultation with Dominion and local election
the baseline functional examination that L & A provides of          officials, and considered the best practices in doing so.” (Doc.
voting balloting equipment – and how this translates into           834-3 ¶ 7.) In his opinion, the Coalition Plaintiffs’ proposal
correct operation of voting machines, production of ballot          that all races within the unique ballot style be tested is “overly
results that correlate with ballot position, and vote tabulation.   burdensome and require[s] a test deck that is extremely large
Next, it considers the testimony of Plaintiffs’ expert, Mr.         for each BMD.” (Id. ¶ 6.) According to Mr. Harvey, the State/
Kevin Skoglund, on this subject that goes into greater detail,      Dominion/local election officials group therefore concluded
along the same lines.                                               that the “increase in burden on local elections officials” would
                                                                    be “dramatic” and “unnecessary” if it conducted any more
Mr. Skoglund, a cybersecurity expert with significant               extensive L & A testing of the ballot than what is required
consulting experience with public jurisdictions, testified          in the January 2020 election procedures manual. However,
regarding the Secretary of State's L & A testing directive          Dr. Coomer testified at the injunction hearing that he was
issued in January 2020. He explained that L & A testing is          not aware that the Georgia Secretary of State now is only
aimed at “verifying that every piece of equipment is going          requiring testing of one vote position on each ballot. (Tr. Vol.
to operate properly and record votes properly on election           II at 84.)
day. And so we're crafting a set of questions to ask in



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 **25 The Court understands Mr. Harvey's concern as to             for logic and accuracy tests; (2) what modifications can and
the testing burden. But the current state procedure slices and     will be made by the time of the January 2021 elections
dices standard L & A protocols and objectives in testing for       runoffs and thereafter, or beforehand (if at all feasible). The
each voting machine (and scanner and printer) to only a small      Court further recommends that the process for evaluation and
fraction of the electoral races for offices on the ballots to      change in procedures shall be made public on a timely basis
be run on each machine in each County precinct. This is a          and that the results of such evaluation and any changes be
serious short cut that truncates L & A testing's basic objective   made public on a timely basis.56
of checking on a pre-election basis the voting equipment
and software's functionality as well as logic and accuracy in
producing a useable, proper ballot printout and vote count,
as discussed both by Mr. Skoglund and Dr. Coomer, and              5. Audits
anticipated under Georgia law. This makes no sense when the
                                                                   Plaintiffs assert that the Dominion BMDs should not be
goal is for the system to run smoothly on election day and
                                                                   used in Georgia's elections because unlike hand-marked
produce ballots that accurately reflect citizens’ votes cast on
                                                                   paper ballots the BMDs are unauditable. In conjunction with
the BMD system tabulators.
                                                                   their request to enjoin the use of BMDs and to require
                                                                   hand-marked paper ballots as the primary voting method
The Court respects that the Secretary of State and Georgia
                                                                   for in-person voting, Plaintiffs request that the State be
State Election Board are vested with considerable discretion
                                                                   required to adopt more robust election audit procedures
in implementing the mandate of O.C.G.A. § 21-2-379.25(c).
                                                                   based on generally accepted audit principles. Specifically,
However, the Secretary of State's January 2020 Procedures
                                                                   the Coalition Plaintiffs’ motion seeks an order “commanding
Manual is plainly inconsistent with the state statutory
                                                                   the State Defendants to issue rules requiring meaningful pre-
objective and requirements. The issue before the Court,
                                                                   certification audits of election results, focusing on contested
though, is not whether any particular set of procedures is in
                                                                   candidate races and ballot questions, with such auditing to
full compliance with state law or a mere error in judgment
                                                                   be based on application of well-accepted audit principles
by the Secretary of State's Office. Voters do not have a
                                                                   in order to establish to a scientifically appropriate level of
First or Fourteenth Amendment constitutional right to perfect
                                                                   confidence that any incorrect outcomes will be detected in
implementation of state statutory provisions guiding election
                                                                   time to be remedied prior to certification of results.” (Doc.
preparations and operations. But they do have the right to
                                                                   809.) The Curling Plaintiffs similarly request that the Court
cast a ballot vote that is properly counted on machinery that
                                                                   order Defendants to file “a plan providing specific steps the
is not compromised or that produces unreliable results. L &
                                                                   Defendants intend to take to ... institute pre-certification,
A testing is not complex. It is tedious – but it is essential
                                                                   post-election, manual tabulation audits of the paper ballots
homework that protects the *1297 system and voters as the
                                                                   to verify election results, in sufficient detail for the Court to
elections commence.
                                                                   evaluate its adequacy.” (Doc. 785.)

Recognizing that early voting starts on October 12, 2020 and
                                                                    **26 Plaintiffs presented expert testimony from Dr.
the imminence of the November 3, 2020 general election,
                                                                   Philip Stark, a preeminent renowned statistician and
the Court must defer to the Secretary of State's Office
                                                                   original inventor and author of the risk-limiting audit
and State Board of Elections determination of whether
                                                                   (“RLA”) statistical methodology for auditing election
additional measures are pragmatically feasible at this juncture
                                                                   outcomes embraced by the National Academies of Sciences,
to strengthen the scope of L & A preparations for a general
                                                                   Engineering, and Medicine, et al. Securing the Vote:
election with a huge anticipated turnout. As L & A testing
                                                                   Protecting American Democracy at 109 (National Academies
has already commenced on BMD equipment to be deployed
                                                                   Press, 2018) (“National Academies Report” or “NAS
at early voting locations, the Court is not prepared to issue
a ruling on the L & A testing issue purely standing on its         Report”).57 (See Declarations of Dr. Philip A. *1298 Stark,
own. Accordingly, the Court recommends that the Secretary          Docs. 296; 640-1 at 40-45; 680-1 at 2-24; 809-2; 853-1.) A
of State and State Election Board expeditiously review in          risk-limiting audit is a “particular approach to catching and
conjunction with Dominion: (1) the adequacy of the current         correcting incorrect election outcomes before they become
January 2020 procedures, particularly in light of evidence of      official.” (Stark Decl., Doc. 296 ¶ 27.)
prevailing protocols used in states nationwide for conducting



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As Dr. Stark explains, a RLA “offers the following statistical       wrong, including ‘random’ errors, voter errors, configuration
guarantee: if a full manual tally of the complete voter              errors, bugs, equipment failures, or deliberate fraud.”59 Id.
verifiable paper trail would show a different electoral
outcome, there is a known, predetermined minimum chance              Risk-limiting audits “do not guarantee that the electoral
that the procedure will lead to a full manual tally.” (Id.)          outcome is right, but they have a large chance of correcting the
If the RLA “does lead to a full manual tally, the result             outcome if it is wrong” but they do “guarantee that if the vote
of that manual tally replaces the reported outcome, thereby          tabulation system found the wrong winner, there is a large
correcting it.” (Id. ¶ 28.) In a RLA, “the ‘outcome’ means           chance of a full hand count to correct the results.” Lindeman
the political result: the candidate(s) or position that won, or      and Stark (2012) at 6. In order to provide this guarantee, a
the determination that a run-off is needed, not the exact vote       RLA must be based on a reliable and trustworthy audit trail
totals.” (Id. ¶ 29.) “The maximum chance that the procedure          produced by a voting system that is software independent. Id.
will not lead to a full manual tally if that tally would show a      at 1. (See also Stark Suppl. Decl., Doc. 680-1 ¶ 4; Stark Suppl.
different outcome is called the risk limit.” (Id. ¶ 30.) In other    Decl. 640-1 at 42 ¶ 10.)
words, “the risk limit is the largest chance that the audit will
fail to correct an outcome that is incorrect, where ‘incorrect’      RLAs involve manually examining and interpreting randomly
means that a full manual tally of the voter-verifiable paper         selected portions of an audit trail of ballots that voters had
trail would find different winner(s).” (Id.) For example, a          the opportunity to verify recorded their selections accurately.
RLA with “a risk limit of 5% has at least a 95% chance               Lindeman and Stark (2012) at 1. The consensus among voting
of requiring a full manual tally, if that tally would show an        system experts is that the best audit trail is voter-marked
outcome that differs from the reported outcome.” (Id. ¶ 31.)         paper ballots; voter-verifiable paper records printed by voting
                                                                     machines are not as good. Id.; see also NAS Report at
 **27 According to Dr. Stark the “simplest risk-limiting
                                                                     94-95.60
audit is an accurate full hand tally of a reliable audit trail:
Such a count reveals the correct outcome.” Lindeman, M.
                                                                      **28 *1300 A voting system is strongly software
and Stark, P., A Gentle Introduction to Risk-Limiting Audits,
                                                                     independent “if an undetected change or error in its software
IEEE SECURITY AND PRIVACY, SPECIAL ISSUE ON
                                                                     cannot cause an undetectable change or error in an election
ELECTRONIC VOTING (2012) at 1. Because a full hand
                                                                     outcome, and moreover, a detected change or error in an
count is administratively burdensome and time consuming,
                                                                     election outcome (due to change or error in the software) can
Dr. Stark designed the RLA as a method of examining far
                                                                     be corrected without re-running the election.” (Stark Suppl.
fewer ballots that “can provide strong evidence that the
                                                                     Decl., Doc. 640-1 at 42 ¶ 10.) “Systems based on optically
outcome is correct,” where the “ballots are chosen at random
                                                                     scanning hand-marked paper ballots (with reliable chain of
by suitable means.” Id. RLAs provide “statistical efficiency”
                                                                     custody of the ballots) are strongly software independent,
because a RLA of an election “with tens of millions of ballots
                                                                     because inspecting the hand-marked ballots allows an auditor
may require examining by hand as few as several hundred
                                                                     to determine whether malfunctions altered the outcome, and
randomly selected paper ballots. A RLA might determine that
                                                                     a full manual tabulation from the paper ballots can determine
more ballots need to be examined, or even that a full hand
                                                                     who really won, without having to re-run the election.” (Id.)
recount should be performed, if the contest is close or the
                                                                     Therefore, a risk-limiting audit of an election conducted using
reported outcome incorrect.” NAS Report at 95.
                                                                     hand-marked paper ballots “can guarantee a large chance of
                                                                     correcting the outcome if the outcome is wrong.” (Id.)
 *1299 The RLA methods Dr. Stark designed “conduct an
‘intelligent’ incremental recount that stops when the audit
                                                                     Dr. Stark's affidavits and hearing testimony address the
provides sufficiently strong evidence that a full hand count
                                                                     impossibility of conducting a reliable audit of ballots and
would confirm the original (voting system) outcome. As long
                                                                     voting totals derived from QR codes for purposes of verifying
as the audit does not yield sufficiently strong evidence, more
                                                                     the accuracy or integrity of election results or processes. In
ballots are manually inspected, potentially progressing to a
                                                                     Dr. Stark's view, the risk-limiting audit methodology cannot
full hand tally of all the ballots.”58 Id. Whether the evidence      be properly utilized to assess the accuracy of election results
is “sufficiently strong” is “quantified by the risk limit, the       in the context of a BMD system where ballots are tabulated
largest chance that the audit will stop short of a full hand tally   based on a humanly non-readable QR code that is not voter
when the original outcome is in fact wrong, no matter why it is      verifiable and where the computer voting system is vulnerable


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to data hacking or manipulation that can alter votes cast in      Fair Elections Commission, Basic Security Requirements for
untraceable ways – including in the votes actually shown on       Voting Systems (October 8, 2018); Andrew A. Appel, Richard
the ballots that are audited.                                     A. DeMillo, Philip B. Stark, Ballot-marking devices (BMDs)
                                                                  cannot assure the will of the voters (April 21, 2019); Doc.
In his December 15, 2019 declaration, Dr. Stark explains,         692-3 at 8-23, Bernhard, M., A. McDonald, H. Meng, J. Hwa,
                                                                  N. Bajaj, K. Chang, and J.A. Halderman Can Voters Detect
   The most compelling reason for post-election audits is to      Malicious Manipulation of Ballot Marking Devices? IEEE
   provide public evidence that the reported outcomes are         Proc. Security & Privacy, 1, 679-694 (2020)).
   correct, so that the electorate and the losers’ supporters
   have reason to trust the results. Audits that cannot provide    **29 Dr. Halderman has explained the many ways a BMD
   evidence that outcomes are correct are little comfort. A       could be maliciously programed or otherwise malfunction
   transparent, full hand count of a demonstrably trustworthy     such that the ballot printed by the BMD does not match
   paper record of votes can provide such evidence. So can        the voter's intended selections. He also attests that “if voters
   a risk-limiting audit of a demonstrably trustworthy paper      do not reliably detect when their paper ballots are wrong,
   record of votes.                                               no amount of post-election auditing can detect or correct
(Stark Suppl. Decl., Doc. 680-1 ¶ 3.) But if “there is no         the problem.” (Halderman Decl., Doc. 619-2 ¶ 12.) Dr.
trustworthy paper trail, a true risk-limiting audit is not        Halderman, along with others at the University of Michigan,
possible, because an accurate full manual recount would not       conducted experiments to determine how often voters fail
necessarily reveal who won.” (Id. ¶ 4.) Unlike voting systems     to notice that their BMD printed ballots differ from the
using optical scan hand-marked paper ballots, BMD based           selections made on the touchscreen voting machines. (Id. ¶
voting systems are not strongly software independent. (Stark      13.) When not given any prompting to review their ballots,
Suppl. Decl., Doc. 640-1 at 42 ¶ 10.) According to Dr. Stark,     only 6.5% of participants in the study noticed their votes had
a BMD “by its nature, erases all direct evidence of voter         been changed by the BMD. (Id. ¶ 14.)
intent.” (Tr. Vol. I at 46.) There is no way to tell from a
BMD printout what the voter actually saw on the screen,           Between November 2018 and March 2019, Dr. Appel
what the voter did with the device, or what the voter heard       conducted a research collaboration with Dr. DeMillo of
through the audio interface. (Id.) For this reason, there is no   Georgia Tech and Dr. Stark, leading to the publication of a
way to establish that a BMD printout is a trustworthy record      joint paper, Ballot Marking Devices (BMDs) Cannot Assure
of what the BMD displayed to the voter or what the voter          the Will of the Voters. After analyzing the consequences of
expressed to the BMD. (Stark Suppl. Decl., Doc. 680-1 ¶ 10.)      a study of whether voters review ballot cards produced by
Because a BMD printout cannot be trusted to reflect voters’       BMDs, their research concluded:
selections, auditors can only determine whether the BMD
printout was tabulated accurately, not whether the election         Risk-limiting audits of a trustworthy paper trail can check
outcome is correct. (Stark Suppl. Decl., Doc. 640-1 at 42 ¶         whether errors in tabulating the votes as recorded altered
10.) Nor can auditors determine the correct outcome under           election outcomes, but there is no way to check whether
these circumstances. (Id.) Therefore, because a BMD printout        errors in how BMDs record expressed votes altered
is not trustworthy, “applying risk-limiting audit procedures to     election outcomes. The outcomes of elections conducted
[a] *1301 BMD printout does not yield a true risk-limiting          on current BMDs therefore cannot be confirmed by audits.
audit.” (Id. ¶ 4.)                                                (Appel Decl., Doc. 681-3 ¶¶ 11, 13, 21.)

Plaintiffs provided additional affidavits, testimony, and         Dr. Wenke Lee, the only cybersecurity expert appointed
evidence from other nationally recognized experts that            to the Georgia Secretary of State's “Secure, Accessible &
addressed their similar views that the QR code based voting       Fair Elections Commission,” echoed Dr. Stark's opinions in
system does not produce a reliable voter-verifiable audit         advising the Commission on basic security requirements for
trail that can be audited consistent with established RLA         voting systems:
standards and foundation principles. (See Decls. of Dr.
Andrew W. Appel, Doc. 681-3, Doc. 855-3; Decls. of Dr. Alex         In order to support risk-limited - auditing, paper ballots
Halderman, Doc. 619-2, Doc. 682, Doc. 692-3; Decls. Of Dr.          must be easily and clearly readable and manually
Richard A. DeMillo, Doc. 680-1 at 45-56, Doc. 716-1; see            countable. In particular, a paper ballot must show each
also Doc. 615-2, Wenke Lee, Ph.D., Secure, Accessible &             and every vote exactly as cast by the voter. It cannot be


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  just a summary of the votes (e.g., only a tally, or only the       has significant experience in the private and public sector.
  presidential ballot and not the down ballots). A manual            While his academic background is impressive, Dr. Adida's
  count absolutely cannot rely upon a barcode, QR code, or           background and expertise is not specifically *1303 in
  any other kind of encoding scheme that is readable only by         statistics.64
  a machine because the cyber system that reads those codes
  also can be compromised and lie to the voter or auditor.           VotingWorks contracts with multiple jurisdictions, assisting
  In short, during a manual review, a human must be able to          in the design and implementation of RLAs. According to
   *1302 clearly see evidence of the voter's original act.           Dr. Adida, “[t]he deployment of RLAs is challenging” and
(Doc. 615-2 at 3.)                                                   highly variable between jurisdictions. To date Georgia has
                                                                     contracted with VotingWorks for guidance in the development
In the face of this consensus as to the role of voter verification   and implementation of a RLA in Georgia of one major
and auditing in ensuring voters’ ballots are properly and            statewide race every two years to be selected by the Secretary
accurately counted, and that the voting tallies are reliable,        of State, under new rules adopted by the State Board of
the State Defendants presented two rebuttal expert witnesses         Elections. Ga. Comp. R. & Regs. 183-1-15-.04. Georgia is the
regarding the viability of conducting a valid risk-limiting          only state so far that VotingWorks has contracted with that
audit of a QR code based voting system. Both Dr. Gilbert
                                                                     uses BMDs for all in-person voting.65 (Tr. Vol. II at 285.)
and Dr. Adida's declarations focused on the RLA as the
essential tool for protecting against voting system mishaps in
                                                                     Dr. Adida's methodology contained the inherent assumption
the implementation of a BMD system. (Doc. 834-2 at 7; Doc.
                                                                     of voter ballot verification. Dr. Adida testified that “[i]f the
658-3 at 13-14, 20-21.)
                                                                     paper ballots have a chance to be verified by the voter, they
                                                                     can be used in a RLA whether they were BMD-produced or
Professor Juan Gilbert, Professor and Chair of the Computer
                                                                     hand-marked produced.” (Id. at 284.) Under the State's audit
& Information Science & Engineering Department of the
                                                                     procedures, the RLA is conducted on the human readable
University of Florida and leader of the Department's Human
                                                                     text of the BMD ballot printout, not on the QR code. (Id.
Experience Research Lab61 testified regarding his views as to        at 294; Adida Decl., Doc. 934-2 ¶ 12.) Therefore, according
the value and reliability of RLA as part of the BMD system,          to Dr. Adida, “[a]s long as voters verify the text, and as
which he endorses. Dr. Gilbert's research currently focuses          long as RLAs are conducted on the basis of the same ballot
on human use of technology and access to voting systems as           text, then potential QR code mismatches are caught just like
opposed to issues involving cybersecurity issues or statistical      any other tabulation mistake might be caught. A successful
methodology. He described the access benefits of the BMD             RLA thus provides strong evidence that, if there were QR
system and addressed why in his view, voters will verify their       code mismatches, they did not affect the outcome of the
printed ballots and therefore enable a meaningful RLA audit          election.” (Adida Decl., Doc. 934-2 ¶ 12.)
which he saw as a vital protective device. Dr. Gilbert has
himself not performed any studies of voter review of ballots         Dr. Stark has submitted two affidavits in which he severely
at the polls. The Court notes that Dr. Halderman has recently        criticizes the premise of Dr. Adida's position that a valid RLA
published an article on this very subject.62 Dr. Gilbert's           or valid RLA results can be conducted in the context of a
risk/benefit assessment of the vote integrity or manipulation        BMD election in which there is no meaningful audit trail and
risks entailed in a QR code BMD system clearly differed              voters cannot verify the QR code, among other things.66
from Plaintiffs’ experts – and specifically Dr. Appel, Dr.
Halderman, and Dr. Stark's views regarding the risks posed            **31 First, despite Dr. Adida's assumption that BMD voters
by the BMD system's reliance on tabulating votes based on a          will review and verify their ballot selections on the ballot
humanly unverifiable QR code.                                        printout, the overwhelming evidence from actual studies of
                                                                     voter behavior “suggests that less than ten percent of voters
 **30 Dr. Benjamin Adida is co-founder and Executive                 check their printouts and that voters who do check often
Director of VotingWorks, a non-profit vendor of election             overlook errors.” (Stark Suppl. Decl., Doc. 680-1 ¶¶ 14,
auditing technology and more recently, voting systems                30(d); Stark Suppl. Decl., Doc. 891 ¶¶ 9-10, 12.) In an actual
in the United States, including accessible ballot-marking            election, there is no way to know how many voters checked
devices and hand-marked ballots.63 Dr. Adida holds a PhD             their BMD printouts for accuracy. (Stark Suppl. Decl., Doc.
in cryptography and information security from MIT and                891 ¶ 16.) “The fact that a voter has the opportunity to


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check the BMD printout does not make a BMD printout                  system.” (Stark Suppl. Decl., Doc. 891 ¶ 15; Stark Suppl.
trustworthy.” (Id. ¶ 7.)                                             Decl., Doc. 680-1 ¶¶ 20-21.)

 *1304 Second, Dr. Stark categorically disagrees with Dr.             **32 A ballot-polling audit of a contest conducted on
Adida's position that a post-election RLA can demonstrate            a BMD system cannot confirm the reported outcomes are
that BMDs function correctly during elections. According to          correct because it cannot show that the BMDs functioned
Dr. Stark – whose opinions are affirmed by other experts             correctly. (Stark Suppl. Decl., Doc. 680-1 ¶ 21.) All such
– audits of BMD-marked ballot printouts cannot reliably              an audit can do is provide statistical evidence that a full
detect whether malfunctioning BMDs printed the wrong votes           manual tabulation of the BMD printouts would find the same
or omitted votes or printed extra votes (whether due to              winner that was reported in the audited contest.69 (Id.) “If the
                                           67
bugs, configuration errors, or hacking). And “this is true           BMD printouts contained outcome-changing errors, the audit
even if the malfunctions were severe enough to make losing           would have no chance of detecting that, nor of correcting the
candidates appear to win.” (Id. ¶ 5.) Dr. Stark testified that       reported outcomes.” (Id.)
“[t]here is no audit procedure that can be conducted on the
output of ballot-marking devices to confirm that the outcome         This is essentially what the pilot audits Georgia has conducted
of a contest is correct in the sense that it reflects what the       accomplish and what the planned audit for the selected contest
voters actually did on the BMD or saw on the screen or heard         in the November 2020 election will accomplish.70 However,
through the audio.” (Tr. Vol. I at 68.) “[U]nless virtually every    this does not serve *1306 the purpose and function of a true
voter diligently checks the printout before casting it, there        risk-limiting audit as designed by Dr. Stark to statistically
is no reason to believe that an accurate tabulation of BMD           guarantee that the audit will produce a large chance of
printouts will show who really won.” (Stark Suppl. Decl.,            correcting the election outcome if the reported outcome is
Doc. 680-1 ¶ 13.)
                                                                     wrong.71

The fundamental disagreement between Dr. Stark and Dr.
                                                                      **33 Additionally, the Court pursued a range of questions
Adida boils down to the purpose and function of a risk-
                                                                     with Dr. Adida when he testified about VotingWorks’
limiting audit. Dr. Adida testified at the hearing that the “point
                                                                     application of the RLA for the first time in a state of Georgia's
of a RLA is to check the tabulation of the votes matches
                                                                     size in solely one race under these circumstances. The Court
what the voters saw on the paper ballot” and that the “most
                                                                     cannot say that it got close to understanding the rationale or
important function” of a RLA “is to make sure that bugs,
                                                                     specific contours of the sampling methodology to be used by
malfunctions, dust on the scanner, [or] nation state attacks do
                                                                     Voting Works.
not corrupt that function.” (Tr. Vol. II at 292.) According to
Dr. Stark, ballot polling risk-limiting audits, the audit method
                                                                     Suffice it to say, the experts here are in hot debate and
piloted and planned in Georgia, do not check the tabulation
                                                                     approach these issues from different backgrounds and areas
of votes, per se.68 (Stark *1305 Suppl. Decl., Doc. 809-2            of expertise. The Court recognizes that the RLA is deemed
¶ 12.) They do not check whether the votes were recorded             by all of the experts as a control valve essential to election
or tabulated correctly. (Id. ¶¶ 12, 13(b).) Ballot-polling risk      integrity. The question they differ on is whether a RLA can
limiting audits do not check the tabulation of any individual        be validly implemented in the context of Georgia's QR code
BMD ballot or any group of ballots, except in the sense that         BMD voting system. While the Plaintiffs have marshalled a
they check whether the reported total was wrong by more              formidable amount of evidence that casts serious doubt on
than the reported margin. (Id. ¶ 13(c).) Ballot-polling audits       the validity of the use of the RLA with the current system
only check whether a full hand count of the BMD printout             (including the specific RLA methodology that VotingWorks
would find the same winners by checking whether the paper            is pursuing here), unless the Court determines that the BMDs
trail has more votes for the reported winner than for any other      must be enjoined from use in Georgia's upcoming elections,
candidate. “The tabulators could misread every single vote           the requested remedy appears irrelevant. Absent such an
and still find the correct winner” and a ballot-polling audit        injunction, there is no audit remedy that can confirm the
would not detect this because the outcome could be “correct          reliability and accuracy of the BMD system, as Dr. Stark
despite the complete mistabulation.” (Id. ¶ 12; Stark Suppl.         has stressed. Plaintiffs do not request, and have not offered,
Decl., Doc. 680-1 ¶¶ 20-21.) For this reason, “it is incorrect       any other proposed audit procedures to accomplish the goal
to consider ballot-polling RLAs to be checks of the tabulation       of the RLA. Nor is the Court in a position to reach a


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judgment regarding whether the Secretary of State's plan to          by BMDs pose the significant risk of having the votes altered,
conduct a single RLA assessment in one statewide race under          diluted, or effectively not counted.72 Plaintiffs have shown
these circumstances provides any meaningful protection or            demonstrable evidence that the manner in which Defendants’
guidance regarding the accuracy of tabulation of the overall         alleged mode of implementation of the BMD voting system,
voting results (or system). The Court has some major doubts,         logic and accuracy testing procedures, and audit protocols
given the entirety of the evidence discussed here. But under         deprives them or puts them at imminent risk of deprivation of
O.C.G.A. § 21-2-498(e) the Secretary of State will be                their fundamental right to cast an effective vote (i.e., a vote
required to implement risk-limiting auditing for all statewide       that is accurately counted).
elections “beginning not later than November 1, 2024.” The
Secretary and State Election Board still have the opportunity         **34 [10]          [11] The Court views the burden and
to consider other options for effectuating a somewhat more           the threatened deprivation as significant under the
meaningful RLA process – i.e., by at very least strengthening        Anderson/Burdick balancing framework. The right to vote
voting protocols for the 2022 election cycle to encourage            derives from the right of individuals to associate for the
voters’ ballot verification and expanding the number of              advancement of political beliefs that is at the core of the
electoral contests audited. That said, the *1307 specific            First Amendment and is protected from state infringement
relief Plaintiffs ask for ultimately rises or falls on whether the   by the Fourteenth Amendment. E.g., Williams v. Rhodes,
evidence as a whole establishes the Plaintiffs’ likelihood of        393 U.S. 23, 30–31, 89 S.Ct. 5, 21 L.Ed.2d 24 (1968);
success on their challenge of the current QR barcode-based           NAACP v. Button, 371 U.S. 415, 430, 83 S.Ct. 328, 9
BMD system. And the auditing issues considered are relevant          L.Ed.2d 405 (1963). “Writing for a unanimous Court in
to this central claim.                                               NAACP v. Alabama [357 U.S. 449, 78 S.Ct. 1163, 2
                                                                     L.Ed.2d 1488 (1958)], Justice Harlan stated that it ‘is
                                                                     beyond debate that freedom to engage in association for the
6. Analysis of Preliminary Injunction Standards as                   advancement of beliefs and ideas is an inseparable aspect
Applied to Plaintiffs’ Primary BMD Vote Related Claims               of the ‘liberty’ assured by the Due Process Clause of the
                                                                     Fourteenth Amendment, which embraces freedom of speech.’
The Court has in Section II A. above discussed the standards         ” Anderson, 460 U.S. at 786-87, 103 S.Ct. 1564 (internal
the Court must weigh and apply in determining the Plaintiffs’        citation omitted). As discussed in both the Court's September
entitlement to preliminary injunctive relief. The Court must         28, 2020 Order and this Order, the individual Plaintiffs have
first consider whether Plaintiffs have established a substantial     a strong preference to cast votes in person and do not want to
likelihood of prevailing on the merits of their claims and           be *1308 shunted out of the regular exercise of the shared
related to that, “consider the character and magnitude of            political experience of voting with their fellow citizens at their
the asserted injury to the rights protected by the First and         local precinct location. The First and Fourteenth Amendments
Fourteenth Amendment.” Anderson, 460 U.S. at 789, 103                afford them this right to associate for the advancement of
S.Ct. 1564.                                                          political beliefs by exercising the franchise at the voting booth
                                                                     and to cast their votes effectively. See generally, Anderson,
The interest Plaintiffs seek to vindicate now is the same            460 U.S. at 788, 103 S.Ct. 1564; Williams v. Rhodes, 393 U.S.
interest at stake when they brought this litigation under the        23, 30-31, 89 S.Ct. 5, 21 L.Ed.2d 24 (1968); Reynolds v. Sims,
old voting system in 2017. As the Court first recognized in          377 U.S. 533, 563, 84 S.Ct. 1362, 12 L.Ed.2d 506 (1964).
its August 2018 Order, the Constitution affords Plaintiffs an
interest in transparent, fair, accurate, and verifiable election      [12]    [13] “Since the right to exercise the franchise in a
processes that guarantee each citizen's fundamental right to         free and unimpaired manner is preservative of other basic
cast an accountable vote. Plaintiffs assert they will suffer         civil and political rights, any alleged infringement of the
immediate and irreparable harm to this interest if required by       right of citizens to vote must be carefully and meticulously
the State to cast a ballot on the BMD system that cannot be          scrutinized.” Reynolds, 377 U.S. at 562, 84 S.Ct. 1362. “It
confirmed or verified as reflecting their actual vote choices        does not follow, however, that the right to vote in any manner
because the votes are tabulated solely from a computer               and the right to associate for political purposes through the
generated QR barcode that is not human-readable and is               ballot are absolute.” Burdick v. Takushi, 504 U.S. 428, 433,
vulnerable in the current system to failure or breach. They          112 S.Ct. 2059, 119 L.Ed.2d 245 (1992). “Although these
further assert that this injury is exacerbated because votes cast    rights of voters are fundamental, not all restrictions imposed



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by the States ... impose constitutionally-suspect burdens on          Georgia's mandatory voting system for “voting at the polls”73
voters’ rights to associate or to choose among candidates.”           voters must cast a BMD-generated ballot tabulated using a
Anderson, 460 U.S. at 788, 103 S.Ct. 1564. Rather, the                computer generated barcode that has the potential to contain
Supreme Court has recognized that States retain the power             information regarding their voter choices that does not match
to regulate their elections to provide fairness, honesty, and         what they enter on the BMD (as reflected in the written text
order in the democratic process. Id. The right to vote is the         summary), or could cause a precinct scanner to improperly
right to participate in an electoral process that is necessarily      tabulate their votes.
structured to maintain the integrity of the democratic system.
Anderson, 460 U.S. at 788, 103 S.Ct. 1564. “To achieve these           [14] As a result, each of the Plaintiffs attest that they are
necessary objectives, States have enacted comprehensive               forced to forego their right to full and unfettered participation
and sometimes complex election codes.” Id. Election laws              in the political process and to alternatively exercise their
“invariably impose some burden upon individual voters,”               right to vote using Georgia's absentee ballot regime which
whether they govern the “registration and qualifications of           carries its own burdensome procedures, though they may
voters, the selection and eligibility of candidates, or the voting    be minimal as compared to the burdens created by the
process itself,” and such laws “inevitably affect[ ] — at
                                                                      BMDs.74 Absentee voting itself has been the subject of
least to some degree — the individual's right to vote and
                                                                      much constitutional litigation where the implementation of
his right to associate with others for political ends.” Id.;
                                                                      these procedures resulted in the rejection of absentee ballots
Burdick, 504 U.S. at 433, 112 S.Ct. 2059. But, “cumbersome
                                                                      and voter disenfranchisement. To avoid being denied the
election machinery can effectively suffocate the right of
                                                                      ability to verify their votes on the BMD system, Plaintiffs
association, the promotion of political ideas and programs of
                                                                      must trade one unfavorable burden for another. Plaintiffs are
political action, and the right to vote.” Williams, 393 U.S. at
                                                                      left with the choice of having to run another gauntlet of
39, 89 S.Ct. 5 (Douglas, concurring). And, “[w]hen a State
                                                                      the absentee voting process because of potential uncertain
exercises power wholly within the domain of state interest, it
                                                                      postal delivery issues, untimely processing by the registrar's
is insulated from federal judicial review. But such insulation
                                                                      office, signature matches, etc. As discussed in Section III D
is not carried over when state power is used as an instrument
                                                                      herein, Plaintiffs have shown a significant burden resulting
for circumventing a federally protected right.” Reynolds, 377
                                                                      from the accuracy and voter invalidation issues that affect
U.S. at 566, 84 S.Ct. 1362 (quoting Gomillion v. Lightfoot,
                                                                      Dominion's scanner/tabulators and adjudication software
364 U.S. at 347, 81 S.Ct. 125).
                                                                      used for determining voter intent and tallying hand-marked
                                                                      absentee ballots. A choice between two evils is no choice at
Georgia's Election Code mandates the use of the BMD
                                                                      all; the Equal Protection Clause guarantees the opportunity
system as the uniform mode of voting for all in-person
                                                                      for equal participation by all voters in the election regardless
voters in federal and statewide elections. O.C.G.A. §
                                                                      of which method they choose to cast their vote.
21-2-300(a)(2). The statutory provisions mandate voting
on “electronic ballot markers” that: (1) use “electronic
                                                                       **36 That Plaintiffs and other voters have the alternative of
technology to independently and privately mark a paper
                                                                      casting an absentee hand-marked paper ballot does not lessen
ballot at the direction of an elector, interpret ballot selections,
                                                                      or absolve the State of the burdens imposed *1310 by the
communicate such interpretation for elector verification, and
                                                                      State's chosen, preferred, primary voting system, in which it
print an elector verifiable paper ballot;” and (2) “produce
                                                                      invested hundreds of millions of taxpayer dollars. The State
paper ballots which are marked with the elector's choices in
                                                                      opposes a court-ordered switch to hand-marked paper ballots
a format readable by the elector” O.C.G.A. § 21-2-2(7.1);
                                                                      for in-person voters at the polls. The State does not wish
O.C.G.A. § 21-2-300(a)(2).
                                                                      to be forced into an administratively burdensome system of
                                                                      carrying out an election using hand-marked ballots and voters
 **35 Plaintiffs and other voters who wish to vote in-
                                                                      do not wish to be forced into an absentee regime that contains
person are required to vote on a system that does none of
                                                                      its own distinct array of burdens and uncertainties associated
those things. Rather, the evidence shows that the Dominion
                                                                      with whether the ballot will be accepted and counted.
BMD system does not produce a voter-verifiable paper ballot
or a paper ballot marked with the voter's choices in a
                                                                      While the Court recognizes Plaintiffs’ strong voting interest
format readable by the voter because the *1309 votes are
                                                                      and evidentiary presentation that indicate they may ultimately
tabulated solely from the unreadable QR code. Thus, under
                                                                      prevail in their claims, the Court must perforce address the


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posture of this case as a whole as well as the Plaintiffs’          of regular independent cybersecurity testing and evaluation
burdens “against the interests the State contends justify that      of vulnerability issues in their own systems impacting the
burden, and consider the extent to which the State's concerns       elections realm and had asserted work product privilege
make the burden necessary.” Timmons v. Twin Cities Area             over the one extant report, these types of reports were not
New Party, 520 U.S. 351, 358, 117 S.Ct. 1364, 137 L.Ed.2d           available to the parties or Court when the hearing was about
589 (1997); New Georgia Project v. Raffensperger, 976 F.3d.         to commence.
1278, 1280-81 (11th Cir. 2020).
                                                                     **37 Plaintiffs have presented a massive and complex
 [15] In election cases, the Supreme Court and Eleventh             record in this matter for the Court's review that has consumed
Circuit have made ever more abundantly clear the mandate            its attention for long swaths of time. Plaintiffs also in the
that district courts must exercise great restraint in considering   course of their hearing preparation presented an expanded
the grant of injunctive relief that requires new rules on           array of expert affidavits as well as voter and election
the cusp of an election where the Court's Order could               evidence, collected primarily from the June and August
cause electoral disruption and voter confusion. Purcell v.          2020 statewide primary and runoff elections. These elections
Gonzalez, 549 U.S. 1, 4-5, 127 S.Ct. 5, 166 L.Ed.2d                 produced more substantive empirical evidence and helped to
1 (2006); Republican National Committee v. Democratic               bring into sharper focus the evidentiary issues in this case.
National Committee, ––– U.S. ––––, 140 S.Ct. 1205, 1207,
206 L.Ed.2d 452 (2020); Republican Nat'l Comm. v. Common            Defendants also have presented substantive evidence in
Cause R.I., ––– U.S. ––––, 141 S.Ct. 206, 206, 207 L.Ed.2d          support of their overarching legal defense. They generally
1154 (U.S. Aug. 13, 2020); Merrill v. People first of Alabama,      minimize the claims, concerns, and risk threats documented
––– U.S. ––––, 141 S.Ct. 190, 207 L.Ed.2d 1113 (U.S. July           in Plaintiffs’ challenge. At core, the State Defendants’
2, 2020); New Georgia Project v. Raffensperger, 976 F.3d at         counsel argue that Plaintiffs’ legal claims boil down to
1282. The Court expressed its concerns anew to Plaintiffs’          their disagreement with the policy choices legally vested in
counsel about this timing issue when Plaintiffs filed a renewed     the Secretary of State and State Election Board's purview.
motion for preliminary injunction in August 2020, shortly           In turn, they contend that Plaintiffs have suffered no
after the denial without prejudice of their initial October, 2020   cognizable threat of harm or burden in their exercise of
preliminary injunction motions targeting the BMD system             their First and Fourteenth Amendment rights. Defendants also
and other voting practices.75 The timing of the relief sought       maintain that they have taken sufficient proactive measures
plays a paramount role in the evaluation of the practicality of     in implementation of the new voting system to ensure its
granting the requested remedy at this point.                        security and reliability.


Litigation since Plaintiffs’ amendment of their claims to           The preliminary injunction hearing started on September
include a challenge to the BMD system as a whole has                9, 2020 and concluded on September 13, 2020. But
stretched on since October 2019, with plenty of delays              that was not the end, by any means, of the parties’
occurring. But these delays were not attributable to any lack of    continuing supplemental submissions to the Court. And
litigation diligence or aggressiveness on Plaintiffs’ counsel's     record developments such as the State Defendants and
part. For a variety of reasons, including multiple motions          Dominion's last-minute introduction of a modified system-
to dismiss that stalled discovery, the Court's own schedule         wide software change to the voting system and dealings with
especially after the advent of the Covid-19 pandemic, and           the EAC continued to roll out before the Court – some of
challenges posed by the difficulty of the case as a whole,          which was directly relevant to the evidentiary issues before
Plaintiffs’ motions for preliminary injunction were not heard       the Court. Early voting in Georgia with the use of BMD voting
until September in this Presidential election cycle year. Some      machines, will commence now in one day, on October 12,
evidentiary *1311 challenges at that point reared their heads.      2020.
Due to Dominion's own historic unwillingness to provide
independent cybersecurity researchers with access to the            Some of Plaintiffs’ claims pursued involved discrete and
Dominion Suite software and equipment package (through              limited relief that do not upset the election apple cart. The
sale or otherwise), Plaintiffs obtained only last-minute, court-    Court has considered relief in two instances where there
ordered access to the Dominion system for hands-on testing.         was strong evidence of state-imposed burdens to Plaintiffs’
Finally, as State Defendants have not maintained a practice         First Amendment constitutionally protected exercise of the



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franchise as well as narrowly tailored relief that was fully        operational change without chaotic disruptions occurring
consistent with state law. The Court in those instances             anew.
balanced the state's interests and burdens as well as relief
issues relative to the operation of the elections before granting    **38 Risks are posed both by a sudden shift to a statewide
any form of narrowly tailored relief or delaying such relief        hand-marked paper system and proceeding with the BMD
until after the election. Indeed, the Court's Pollbook relief76     system. Ultimately, the Court must find that imposition
was expressly framed based on the State's emergency ballot          of such a sweeping change in the State's primary legally
voting statutory and regulatory provisions to ensure that these     adopted method for conducting elections at this moment
emergency procedures could pragmatically be implemented             in the electoral cycle would fly in the face of binding
on Election Day, November 3, 2020, if necessary so as to            appellate authority and the State's strong interest in ensuring
mitigate the severe burdens experienced by Plaintiffs and           an orderly and manageable administration of the current
other voters in casting votes in *1312 the new BMD-                 election, consistent with state law. So, for this reason alone,
equipped system during the June and August 2020 elections.          despite the strength of Plaintiffs’ evidence, the Court must
                                                                    decline the Plaintiffs’ Motions for Preliminary Injunction.
By comparison, the Plaintiffs’ BMD systemic injunctive
challenge and request for replacement of the system with
                                                                       C. Coalition Plaintiffs’ Claims Relating to Ballot
hand-marked paper ballots pose relief issues of an entirely
                                                                       Secrecy
different, more expansive scope. After reviewing all of the
                                                                    The Coalition Plaintiffs seek to enjoin the use of BMDs on
evidence in scrupulous detail, the Court must step back at
                                                                    the basis that they severely burden the fundamental right to
this juncture, despite the persuasive evidence that Plaintiffs
                                                                    vote by depriving voters of secrecy of the ballot. They assert
have provided. Plaintiffs’ central claim seeks statewide relief,
                                                                    two theories as to how BMDs result in the deprivation of
requesting that the Court enjoin implementation of the State's
                                                                    ballot secrecy: (1) the large size of the BMD touchscreens, if
newly designated BMD voting system under O.C.G.A. §
                                                                    not configured to shield the screens from public view, permit
21-2-300 and require instead the state's implementation of a
                                                                    anyone in the polling place to observe how a voter is voting;
hand-marked ballot system in its 159 counties. The problems
                                                                    and (2) the precinct scanners record timestamp information
posed obviously go beyond whatever the State's and counties’
                                                                    such that a voted BMD ballot card can be traced back to the
purported capacity issues are in connection with the purchase
                                                                    individual in-person voter by comparing the timestamps on
of ballot paper stock or printing arrangements. The requested
                                                                    the scanned cast vote records with the order in which voters
relief would entail a fundamental modification in the election
                                                                    used the machines.
system that the Secretary of State and county election
offices are not now equipped or prepared to administer. The
                                                                     *1313 [16] In support of their first challenge, the Coalition
Court has already seen in the record of this case enough
                                                                    Plaintiffs presented declaration testimony from 7 individuals
election chaos, operational deficiencies, and challenges on all
                                                                    who served as poll watchers in the June and August elections
levels, plus stress in the system spiked further by Covid-19
                                                                    that the BMD touchscreens were clearly visible to the
complications, that the Court cannot embrace a rosy view
                                                                    public from 30 to 50 feet away during the voting process.
of the simplicity of moving to a total, comprehensive paper
                                                                    Additionally, there was some affidavit evidence of voter
ballot system with so little time to prepare for such a
                                                                    discomfort at the perception of the exposure of the voting
major transition. And this would likely have been true also
                                                                    process. (See Doc. 853-4 at 25.) Despite these observations,
even if such relief had been ordered on September 15th,
                                                                    Plaintiffs have not established a resulting First Amendment
the day after the injunction hearing concluded, based on
                                                                    injury where there is no evidence from any Plaintiff or
election operations evidence presented in connection with the
                                                                    any other voter claiming that the publication of their vote
hearing. The substantial risks and long-run threats posed by
                                                                    selections subjected them to threats, harassment, reprisals, or
Georgia's BMD system, at least as currently configured and
                                                                    other “chilling” of the free exercise of the franchise from
implemented, are evident. However, the Court – especially
                                                                    either Government officials or private parties. See Buckley v.
after reviewing evidence regarding election staff management
                                                                    Valeo, 424 U.S. 1, 64, 74, 96 S.Ct. 612, 46 L.Ed.2d 659 (1976)
and operations challenges in the June and August 2020
                                                                    (per curiam); McIntyre v. Ohio Elections Comm'n, 514 U.S.
elections – cannot envision that state and county elections
                                                                    334, 343, 115 S.Ct. 1511, 131 L.Ed.2d 426 (1995) (noting
staff (including paid temporary contract personnel) would be
                                                                    that the “respected tradition of anonymity in the advocacy of
equipped to move the system and voters through such a major
                                                                    political causes ... is perhaps best exemplified by the secret


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ballot, the hard-won right to vote one's conscience without       election office. The timestamp recorded on the digital record
fear of retaliation”); Citizens United v. Federal Election        of ballots tabulated by the ICC correlates to the time the ballot
Comm'n, 558 U.S. 310, 366-67, 130 S.Ct. 876, 175 L.Ed.2d          is run through the scanner by an election official and has
753 (2010).                                                       no demonstrated correlation to the individual voter having
                                                                  marked an absentee ballot at home (or a voter having marked
For Plaintiffs, this is an all or nothing proposition, as they    a provisional ballot at the precinct). See O.C.G.A. § 21-2-386
seek to enjoin the BMDs outright and do not propose other         (providing that “[t]he process for opening the inner envelopes
solutions to the ballot secrecy problems posed by the oversize    of and tabulating absentee ballots on the day of a primary,
BMD touchscreens. However, it is not necessary to scrap           election, or runoff as provided in this subsection shall be a
the new voting machines where a less burdensome fix               confidential process to maintain the secrecy of all ballots).
exists. Georgia's Election Code places the responsibility of      The Coalition Plaintiffs have not offered any theory to suggest
arranging voting equipment at polling places to ensure voter      that absentee and provisional ballots can be linked back to
privacy with “the governing authority of each county and          individual voters using the timestamp recorded in the digital
municipality.” O.C.G.A. § 21-2-267. The Secretary of State's      record by the ICC central scanner.
Office has undertaken measures to instruct local election
officials on proper polling place layout and arrangement          Unlike the ICC central scanner, the ICP precinct scanner
of BMDs to maintain voter privacy. (Harvey Decl. ¶ 3,             does not record a digital timestamp on the ballots of in-
Doc. 834-3; Ex. 1 to Harvey Decl., Doc. 834-3 at 7-11)            person voters. Rather, ballots scanned on the ICP precinct
(“The Secretary of State's office has provided guidance to        scanner/tabulator includes a “randomized sequence number”
county election officials about the setup of precincts so that    that “preserves voter anonymity as there is no way to correlate
[touch]screens will not be visible to other voters when they      the sequence number to either an individual voter, or a specific
are being used by a voter.”). If the counties fail to follow      point in time that the ballot was cast. When results and images
the requirements of O.C.G.A. § 21-2-267 and the guidance          are stored on the removable memory (Compact Flash cards),
provided by the Secretary of State and voter privacy rights       no date-timestamp information is included which prevents
are violated, the State Election Board can undertake an           the ability to recreate the sequence of how the ballots were
investigation and/or enforcement action as necessary.             cast thus preserving voter anonymity.” (Coomer Decl. ¶ 10;
                                                                  Doc. 821-1; see also Ex. 19-A to Decl. of Marilyn Marks,
 **39 In support of their second contention, Plaintiffs           Doc. 853-4 at 6 (showing ballot image from ICP scanner
assert that the “Dominion precinct scanners record timestamp      without any timestamp).) Dr. Coomer confirmed this again at
information directly onto the digital cast vote record that is    the September 11 hearing, stating that there is no timestamp
created when a ballot is scanned, with the result that a voted    associated with ballot images scanned and stored in the
BMD ballot card can easily be connected afterward with the        digital cast vote records created by the ICP precinct scanner/
individual voter who cast that ballot by simply comparing the     tabulator. (Tr. Vol. II at 91-92.)
scanned cast vote records (ordered by timestamps) with the
order in which voters are observed going through the voting       Accordingly, the Coalition Plaintiffs have failed to establish a
process.” (Br. Supp. Mot., Doc. 809-1 at 32-33.)                  likelihood of succeeding on the merits of their claim that the
                                                                  BMD system violates their right to ballot secrecy.
 [17] The Coalition Plaintiffs have not offered a single
instance of actual infringement of voter anonymity as a result
of the use of digitally recorded scanner timestamp records.          D. Hand-Ballot Scanning and Its Impact on Counting
And despite the lack of evidence of any local election official      of the Vote
going to such great lengths to discover how someone voted,        The Coalition Plaintiffs request that the Court require the
the evidence in the record describing and illustrating how the    State Defendants “to adopt scanning threshold settings for
precinct scanners actually operate does not bear this out.        the Dominion scanners and vote review procedures that will
                                                                  ensure all voter marks on mailed and hand marked paper
Instead, the Coalition Plaintiffs rely on scanned ballot images   ballots are counted.” (Br. Supp. Mot., 809-1 at 10.) They
from Fulton County bearing timestamps recorded by the             assert that the Dominion scanner and tabulation software
ICC central count scanner used to tabulate absentee and           and equipment are failing to count all legal votes as defined
provisional ballots by election *1314 personnel at the county     under Georgia law, resulting in an unconstitutional denial of
                                                                  review of the ballot before arbitrarily discarding perceptible


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ballot votes containing such marks. Plaintiffs contend that
Defendants’ challenged practices in connection with scanning
and tabulation of such hand ballot votes violate Georgia law,
which requires votes to be counted if the intent behind a
voter's mark can be ascertained upon review. See O.C.G.A.
§§ 21-2-438(b) & (c); see also O.C.G.A. § 21-2-483(g)
(requiring manual review by the vote review panel of any
overvote detected by the central tabulator).77 And *1315
Plaintiffs also argue the current system and its configuration
is a violation of equal protection because in-person voters
who use BMD voting machines are not subject to having their
votes rejected by a scanner due to faint marks. Each of the
individual Plaintiffs additionally have submitted affidavits in
this case indicating that while they strongly prefer to vote in
person, they have felt compelled to vote by absentee ballot
because of their concerns about whether their ballots would
be accurately counted in the State's BMD and prior DRE
systems. (Decl. of Donna A. Curling, Doc. 785-3; Decl. of
Donna Price, Doc. 785-4; Decl. of Jeffrey H. Schoenberg,
Doc. 785-5; Decl. of Megan Missett, Doc. 640-1 at 149-154;
Decl. of William Digges, III, Doc. 640-1 at 167-170; Decl. of
Laura Digges, Doc. 640-1 at 162-65; Decl. of Ricardo Davis,       *1317
Doc. 640-1 at 156-160.)

 **40 The Coalition Plaintiffs have presented ballot
images that they assert are evidence of clear voter
disenfranchisement. The 5 ballot images shown below
depict actual unadjudicated ballot images from Fulton
County's August 11, 2020 election, showing the ICC scanner
interpreted as a “blank contest” several voter marks that
indicate a clear visible selection for the candidate78:




*1316
                                                                  (Pls.’ Hrg. Ex. 7; see also Decl. of Marilyn Marks ¶ 17, Doc.
                                                                  809-5; Ex. 19-D to Decl. of Marilyn Marks, Doc. 853-4 at 41.)
                                                                  The State Defendants assert in opposition to Plaintiffs’ motion
                                                                  that “[t]he only possible burden on a voter arising from
                                                                  the scanner-threshold settings is if the voter disregards the



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instructions that come with the ballot. That is not a burden on
the right to vote — it is a voter choosing to not follow the        (Coomer Decl. ¶ 9; Ex. A to Coomer Decl., doc. 658-2 at 9.)
required regulatory structure of the state.” (State Defs.’ Resp.,   The target areas correlate to the voter choices represented on
Doc. 834 at 25.) In essence, the State Defendants contend           the ballot. (Id.) According to Dominion's documentation,
that a voter who marks their absentee paper ballot with a
                                                                       When a ballot is fed into an ImageCast tabulator – at the
check mark or an X, rather than filling in the oval to the
                                                                       precinct level or centrally – a complete duplex image is
left of the candidate name, does not have a right to have
                                                                       created and then analyzed for tabulation by evaluating the
their vote counted. (See Suppl. Decl. of Chris Harvey, Doc.
                                                                       pixel count of a voter mark. The pixel count of each mark
834-3 ¶¶ 4-5) (“The instructions for absentee ballots instruct
                                                                       is compared with two thresholds (which can be defined
voters to fill in the bubble next to the preferred candidate
                                                                       through the Election Management System) to determine
name and instructs voters not to make check marks or X to
                                                                       what constitutes a vote. If a mark falls above the upper
mark their ballot. Tabulating absentee *1318 ballots where
                                                                       threshold, it's a valid vote. If a mark falls below the lower
voters do not follow the instructions takes additional time for
                                                                       threshold, it will not be counted as a vote.
county election officials.”). Defendants’ litigation position,
                                                                    (Ex. M to Decl. of Harri Hursti, Doc. 809-3 at 48.) However,
as explained below, is not in line with the requirements
                                                                    if a mark falls between the two thresholds, in what is known
of Georgia's Election Code and the State Election Board's
                                                                    as the “ambiguous zone,” it will be deemed as a “marginal
regulation providing that if the voter “has marked his or
her ballot in such a manner that he or she has indicated            mark”83 and the ballot should be flagged for review by a
clearly and without question the candidate for whom he or           vote review panel – either manually or using Dominion's vote
she desires to cast his or her vote, his or her ballot shall be     adjudication software application. (Id.)
counted, notwithstanding the fact that the elector in indicating    The default scanner threshold settings in Democracy Suite
his or her choice may have marked his or her ballot in a            5.5A for both the ICP and ICC are 12% for the low-end and
                                                                    35% for the high-end. (Defs.’ Hrg. Ex. 4 at 1, Doc. 887-4 at 2.)
manner other than as prescribed.”79 Ga. Comp. R. & Reg. r.
                                                                    Dominion's “Democracy Suite 5.5A is not designed to register
183-1-15-.02(2)(2).
                                                                    voter intent from a hand-marked ballot if the vote target area
                                                                    (oval to the left of the choice) is not marked in some manner”
                                                                    and does not meet or exceed the high-end threshold setting.
1. Operation of the Scanners                                        (Id.) A visual representation of the threshold interpretation of
                                                                    voter marks is shown below:
**41 The Dominion precinct (ICP)80 and central count
(ICC)81 scanners do not interpret the text of a hand marked
                                                                    *1320
paper ballot.82 (Decl. of Dr. Eric Coomer ¶ 9, Doc. 658-2.)
Instead, the scanners detect votes by reading particular
coordinates on the ballot, what is known as a “target area”
inside an oval next to a voter's choice as shown below:


*1319




                                                                    (Doc. 809-3 at 48.)
                                                                    For all elections conducted on the new Dominion voting
                                                                    system to date, including the June 2020 primary and August
                                                                    2020 runoff elections, the ICP and ICC scanners were set to
                                                                    the default threshold settings. Using these default settings,
                                                                    when a ballot is scanned by either the ICP or ICC scanners,


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the scanners are programmed to interpret voter marks as
follows: (a) any mark deemed by the scanner to be less than        During the September 10, 2020 injunction hearing, Mr.
12% darkened within the vote target areas (i.e., ovals) is         Hursti explained that he would have expected the ICC
designated as a blank vote for the given contest; (b) any mark     scanner to have counted the clear voter marks shown in
deemed by the scanner to be equal to or greater than 35%           the ballot images of the Fulton County August 11 election
darkened within the target ovals is designated as a vote for       interpreted by the ICC as “blank” contests. (Tr. Vol. I at
the choice associated to the target area marked; and (c) any       136.) The problem according to Hursti is that “the scanner
mark deemed by the scanner to be equal to 12% or less than         is reducing all information to either black or white and that
35% darkened within the vote target ovals is designated as         predetermination tells what the image is recording. And after
an ambiguous mark. (Defs.’ Hrg. Ex. 4 at 1, Doc. 887-4 at          that, a mathematical algorithm is applied which is only blindly
2.) Any ambiguous mark within a vote target oval does not          counting how many black and white pixels it sees and based
count toward the vote total. (Id.) Instead, “[i]t is anticipated   on that make[s] a determination if there is a vote or not. So
that ballots isolated by the ICP or ICC scanners containing        based on that reduced information, the system didn't cross
scanner-deemed ambiguous marks are adjudicated manually            the threshold to see [those markings] as a vote or even as
or electronically by the designated election official in order     ambiguous mark[s].” (Id. at 137.) An ambiguous mark means
to determine the voter intent that is in question by the ICP or    “that the system sees something, which it says that it is not
ICC scanners.” (Id.)                                               clear whether it is a mark or not. And that would have then
                                                                   gone to the human [ballot review] process.” (Id. at 138.) But
 **42 According to the Coalition Plaintiffs’ expert Harri          in the case of the Fulton County ballot images in Plaintiffs’
Hursti, Dominion's precinct and central count scanners cannot      Hearing Exhibit 7, “the system didn't even see that there
be relied upon to accurately count all votes using the             would be a mark requiring a human observation.” (Id.)
default threshold settings and the current configuration for
image resolution. (Tr. Vol. I at 125.) In addition to the          The Coalition Plaintiffs conducted an examination of test
use of arbitrary default threshold settings, Hursti criticizes     ballots scanned on the ICP precinct scanner/tabulator using
Dominion's configuration of the ICC central count scanner to       test ballots with various types of markings and different colors
intentionally downgrade the resolution quality of the scanned      of pens. (See Pls.’ Hrg. Ex. 7.1, Doc. 888-6.) Plaintiffs’
image. Hursti testified that the ICC central count scanner “can    Hearing Exhibit 7.1 illustrates two images of the same ballot
be configured to capture higher quality and more information       produced by two different image resolutions and qualities and
retaining images” and is capable of producing images of            the scanner's resulting interpretation of the voter markings
a significant higher order of magnitude than it currently          from the lower quality scan.84 According to Mr. Hursti, the
produces based on Dominion's programming. (Id. at 126,             visible differences in the two images are “hallmarks of bad
133-34.) As Hursti explained, “the way the scanner is used         quality scanning and bad quality technology.” (Tr. Vol. I at
in this environment is like driving your sports car locked         139.) The poor quality of the ballot image scanned on the
on the first gear.” (Id. at 134.) The central count scanner is     ICP does not even show the ovals that would be filled in by
recording a lower quality image than it is capable of because      the voter. (Id.) Mr. Hursti believes that for the ICC scanner,
“as part of the configuration, that scanner is instructed to       the DPI level could be increased from the current 200 DPI
produce low quality images with a reduced amount of *1321          configuration to 300 DPI, which is the standard setting for
information.” (Id.) For example, the image produced by             commercial off-the shelf scanners in order to improve the
the ICC is only 200 dots per inch (“DPI”) which is “a              quality of the image of the ballots scanned for interpretation
fraction of what the scanner is capable” of producing and
                                                                   by the system software threshold settings.85
the image “has been reduced to have only black or white
pixels based on algorithms and so-called business logic and
                                                                   During the court-authorized testing of the Dominion
the scanner itself is capable of producing color images and
                                                                   equipment supplied by Fulton County, Coalition member
gray scale images.” (Id. at 135-36.) Dominion also configured
                                                                   Jeanne Dufort marked and scanned a series of test ballots
the ICC scanner to “drop out” or ignore red pigment from
                                                                   to see how the marks were interpreted and tabulated by the
the scanned image. (See Ex. E to Hursti Decl., Doc. 809-3 at
                                                                   scanner. To replicate the various ways voters might *1322
40.) As a result, any red markings do “not meet the internal
                                                                   feed paper ballots into the scanner, Dufort scanned the same
algorithm criteria for black, therefore [red] gets erased to
                                                                   ballot multiple times “top side up, top first and then bottom
white instead.” (Hursti Decl. ¶ 61, Doc. 809-3.)
                                                                   first, and bottom side up, top first, and then bottom first to see


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if it made any difference in how the scanner saw the vote.” (Id.    page of Plaintiffs’ Hearing Exhibit 7 looked like a vote to
at 178.) As Dufort described at the September 10 hearing, the       him but that according to the AuditMark created at the time
test ballot “had five contests on it. Three were races, and two     of scanning, the ICC did not recognize the mark as a vote
were questions. When I put it through, the first thing I did was    and did not count it as a vote. (Id. at 73-74.) Dr. Coomer
put it through each of the four possible ways to feed it. And       also admitted that if a voter's mark is below the low-end
each time, I got a different message from the scanner. It would     threshold, it does not register as either an ambiguous mark
return it with an error saying there were ambiguous marks, but      or a vote. (Id. at 77.) According to Dr. Coomer's hearing
it never pointed out the same ambiguous marks.” (Id. at 179.)       testimony, the AuditMark created at the time of scanning,
More specifically, she testified that “the first time when we       which contains the text indicating how the scanner interpreted
put it in face up like you see first, it told us that one SPLOST    the voter mark, does not indicate whether the ballot fell within
race, one of the contests on the backside, was ambiguous. The       the ambiguous threshold required for adjudication. (Id. at 75.)
second time when I put it in bottom first, it told me that the      Therefore, one cannot tell from the AuditMark for the ballot
liquor sale vote was what was ambiguous and it didn't tell me       image at page one of Plaintiffs’ Hearing Exhibit 7 whether the
anything about the SPLOST. The third time when I turned             ballot was flagged for adjudication. (Id.) Dr. Coomer stated
it over and put it backside facing up top end, it told me the       that the “AuditMark simply shows everything *1323 that
SPLOST and one of the judge races was ambiguous. Then the           was counted as a vote. There is additional metadata in the
fourth time when I put it backside bottom in, it told me the        cast vote record, which is the electronic record, that includes
SPLOST and the liquor sales was in there.” (Id.) Each of the        information about ambiguous marks. And that is the data that
four times Dufort fed the same ballot through the scanner, she      is used to determine whether it is sent to adjudication.” (Id. at
got four different responses from the scanner. (Id. at 179-80.)     78.) But then when asked “[i]f the ballot in this particular case
Dufort repeated the experiment again, this time feeding the         had been adjudicated to be a vote, would that adjudication
ballot in the same direction five separate times and still each     show up on this AuditMark?,” Dr. Coomer replied “Yes,
time she got a different response from the scanner. (Id. at         it would.” (Id.) And again, he was asked “if it had been
180-81.)                                                            adjudicated in the course of a normal election process, you
                                                                    would have seen that on the AuditMark in front of us; right?,”
 **43 Dr. Eric Coomer, the Director of Security                     Dr. Coomer responded, “Yes. Yes.”86 (Id. at 79.) But the
for Dominion Voting Systems disagrees with Plaintiffs’              AuditMark on this ballot – Hearing Exhibit 7 – did not reflect
contention that the Dominion scanners either discard or             that it had been flagged for adjudication.
disregard valid votes or do not count certain marks as a vote
even though the marks are obvious to the human eye as               Dr. Coomer also disagrees with Mr. Hursti, testifying that the
indications of a vote. (Tr. Vol. II at 73, 77.) According to        accuracy of the ICP and ICC scanners “has absolutely nothing
Dr. Coomer, the system is simply scanning the image and             to do with the scanner resolution, the DPI setting.” (Id. at 72.)
detecting the percentage fill of the target area. Based on the      According to Dr. Coomer, because the “Dominion scanners
settings, it will automatically say whether it is a valid counted   capture the percentage fill of the targets for every mark that
vote, whether it is an ambiguous mark, or whether the system        is made on the ballot, that has absolutely nothing to do with
does not characterize it as any. “There are further processes       the scanner resolution, the DPI setting, whether a mark is
in the system, mainly adjudication, which allows secondary          characterized as a ballot vote, an ambiguous mark, or not
review – voter review for voter intent issues, which is integral    a vote is wholly dependent on the threshold settings of the
to the system, which is where you can apply voter intent            lower and upper threshold limits as well as the percentage
guidelines and processes to essentially characterize a vote that    fill of the target detected by the system.” (Id.) He went on to
the system is not automatically specifying as a vote.” (Id. at      “categorically state that going from the current 200 DPI to
73.)                                                                some higher level of 300 DPI does not improve the accuracy
                                                                    of the system.” (Tr. Vol. II at 147.) Referring back to the ballot
During the hearing on September 11, 2020, Dr. Coomer was            images in Plaintiffs’ Hearing Ex. 7, Dr. Coomer explained that
shown the Fulton County ballot images in Plaintiffs’ Hearing        “just to put it simply, we have all seen the images. And the
Exhibit 7. Although Dr. Coomer disagrees with the contention        images clearly show the voter's mark ... if you had a physical
that the scanners do not count certain marks that are visible       ballot and you had some mark on there and then you showed
to the human eye as votes, he admits that the mark shown            the [scanned ballot] image and that mark wasn't there, then
by candidate Theodore “Ted” Jackson's name on the first             we could talk about DPI. But the fact is we're looking at the



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image. The mark is there” so the issue is “not the fact that the      was displayed on the screen. The software indicated the
image is not, you know, sufficiently fine enough resolution to        flagged contests for human review by outlining them in
capture that.” (Id. 147-48.) But, the ballot images in Plaintiffs’    red. The software used highlighting to indicate how it had
Ex. 7.1 show the exact scenario Dr. Coomer admits might               interpreted the voter's mark. This highlighting was used for
indicate a problem with low DPI resolution. In these side-by-         the entire ballot, not only the contests that were flagged
side images of the same ballot, the first image scanned at high       for adjudication. Green highlighting indicated the software
resolution shows clearly the voter marks while the second             recognized the mark as a vote and counted it unless it was
image scanned on the ImageCast shows several of the voter             also flagged as an overvote. Yellow highlighting indicated the
marks having been erased by the system and some portions              software categorized the mark as ambiguous and would not
of the ballot printing totally distorted due to the poor image        be counted until there was a vote review panel adjudication.
quality.                                                              When at least one oval in a contest was darkened sufficiently
                                                                      to be categorized as “ambiguous,” the software highlighted
 **44 Dr. Coomer also attempted to explain why Jeanne                 the ambiguous option(s) in yellow, outlined the contest in red,
Dufort experienced inconsistent results when she scanned              and sent the entire ballot to an adjudication queue. Below is
the same ballot through the ICP scanner multiple times.               an example illustrative of the adjudication screen:
According to Dr. Coomer, “the scanners have what is called
a CIS array. It is contact image sensor array. That is what is
used to actually digitize the image of the ballot. And those
inherently, like all electronic systems, have some variability,
plus or minus ten percent. So on one scan you could certainly
have a target area that registers 12.5 percent and you round
that up to 13. And on the next scan it could be 11.9 percent.
There is inherent variability in all electronic systems ... that is
irrespective of the resolution setting that's on the system. (Tr.
Vol. II at 148-149.)



*1324 2. Vote Review Panel Evidence

The Coalition Plaintiffs presented testimony from individuals
                                                                      (Exhibit 2 to Shirley Decl., Doc. 809-7 at 12.)
who either served on or observed vote review panels.
                                                                      The most common reason for ballots to be flagged as
According to Coalition member Jeanne Dufort, who testified
                                                                      ambiguous was the voter *1325 having marked their intent
at the September 10 hearing and serves on the adjudication
                                                                      with check marks or X marks. The Clarke County review
panel in Morgan County, the vote review panel “makes up
                                                                      panel adjudicated vote marks categorized as “ambiguous” to
for the limits of technology. We take ballots that can't be
                                                                      count votes that were clear as to voter intent. The panel took
scanned or ballots that have marks that the scanner can't
                                                                      the approach that for any votes flagged for adjudication, the
interpret, and we put human eyes on them. So I like to think
                                                                      vote should be counted if voter intent was clear from the on-
of us as backstop to make sure that every vote ... where voter
                                                                      screen image. In its review, the panel attempted to answer
intent is clear gets counted.” (Tr. Vol. I at 171.) Under the
                                                                      two questions: (1) could the voter's intent be discerned?; and
new system, counties have the option to use the Dominion
                                                                      (2) what was that intent? While only a simple majority was
adjudication software to review scanned ballot images cued
                                                                      required, the bipartisan vote review panel's decision on each
up on a computer screen. (Id.)
                                                                      ballot reviewed was unanimous.
Adam Shirley served on the Clarke County Vote Review
                                                                      In the course of reviewing the entire ballot to inform
Panel for the June 9, 2020 Presidential Preference Primary
                                                                      their adjudication of flagged contests, the panel discovered
and General Primary. (Decl. of Adam Shirley, Doc. 809-7.)
                                                                      clear ballot markings made by the voter that had not been
Out of approximately 15,000 scanned absentee ballots, about
                                                                      highlighted by the software for adjudication. These markings
350 were flagged for adjudication by the software. When
                                                                      were not counted as a vote (and therefore were not highlighted
adjudicating a ballot, a scanned image of the complete ballot
                                                                      in green by the software) nor were they categorized as


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ambiguous (and therefore were not highlighted in yellow            be corrected by human review because no other marks on
by the software). Below is the scanned image on one such           those ballots triggered flagging for adjudication.
marked ballot.
                                                                   The vote review panel expressed these concerns to elections
                                                                   staff, Election Director Charlotte Sosebee, and the Board
                                                                   of Elections. In response to these concerns, the Board of
                                                                   Elections ordered a pre-certification partial recount of only
                                                                   the absentee ballots for 5 of Clarke County's 24 precincts. The
                                                                   partial recount took place on June 17. The Election Board was
                                                                   not authorized by statute or rule to conduct a recount using
                                                                   any method other than what had been used for the first count.
                                                                   In the recount, 2,665 absentee ballots were re-scanned and 76
                                                                   ballots were flagged for adjudication. For those 76 ballots,
                                                                   the vote review panel unanimously agreed that 35 individual
                                                                   votes had not been counted by the software. Those votes were
                                                                   spread across 12 separate ballots. A Dominion technician
                                                                   confirmed the software was programmed to classify votes in
                                                                   one of three ways: a normal vote (highlighted in green), an
                                                                   ambiguous mark (highlighted in yellow), and an uncounted
                                                                   vote (which the system recognized, quantified, but was
                                                                   programmed not to count and not to be flagged for review).

                                                                   As a voter, Shirley finds such a high rate of missed votes –
                                                                   nearly 16% of the adjudicated ballots – to be alarming. He
                                                                   also found concerning the procedures followed by the review
                                                                   panel in not providing a paper audit trail, not verifying the
                                                                   record of changes made to vote tallies, and not referencing
                                                                   the original ballot to determine if the low quality image was
                                                                   an accurate depiction of the voter-marked ballot. Shirley also
                                                                   found troubling that there was no attempt to reconcile the
(Ex. 3 to Shirley Decl., Doc. 809-7 at 13.) The top and middle     votes added to the vote tally before and after the adjudication
contests bear the red box flagging them for adjudication           process, leaving the opportunity for unauthorized changes to
and yellow highlighting showing marks the software has             the tallies by others with access to the system.
classified as ambiguous. The bottom contest, though clearly
marked by the voter, bears no red box or highlighting of any       Jeanne Dufort, served on the Vote Review Panel for the
kind. This shows the software did not count that vote and was      Morgan County Board of Elections and Registration for the
programmed not to send such a ballot to adjudication. The          combined Presidential Preference and General Primaries in
system seemed to simply ignore such votes.                         June 2020. (Decl. of Jeanne Dufort, Doc. 809-6.) When she
 **45 In every instance the panel encountered where the            arrived at 8pm on June 9 for her duties, the elections office
system had not counted such votes (or flagged them for             was still in the process of opening absentee ballots. Dufort
adjudication), the review panel agreed without question            assisted the team in opening the remainder of approximately
 *1326 that the voter had made their intent clear though the       3,000 mail ballots. Ballots were scanned from 10pm to 2am.
vote had not been counted. The panel therefore instructed          Dufort noticed voters marking their choices in a number of
the software to count the previously-ignored votes on the          ways, including filling in the oval, circling the oval, making
ballots, although the software had not flagged these particular    X or check marks, and one who made smiley faces in the oval
votes for adjudication by the panel. Based on his review of        to mark their selection.
hundreds of ballots, it is Shirley's opinion that it is possible
that there were ballots with uncounted votes that would never       **46 The Vote Review Panel convened on the afternoon
                                                                   of June 10. Morgan County used the adjudication software



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provided by Dominion. The Election Supervisor Jennifer             Of the ten ballots Martin observed being adjudicated, three
Doran instructed the Dominion technician to pull up all            appeared to be completely blank with no votes marked
ballots with overvote and ambiguous marks. There were about        anywhere on the ballot. The first review panel to encounter
150 out of 3,000 ballots to review. The Morgan County review       a blank ballot with no single vote shown paused to ask the
panel used the same procedure described by Adam Shirley.           Registrations Chief, Ralph Jones, what to do. After waiting
                                                                   for a while for Mr. Jones to finish up with the second review
The first time the panel encountered a contest with no             panel, the first review panel decided to accept the blank ballot
highlights (meaning it was deemed blank by the software),          so they could continue adjudicating other ballots. They did
but with a clearly marked vote, Dufort asked the on-site           not request to see the original paper ballot to confirm that it
Dominion technician whether that vote was counted, and he          was, in fact, blank. While not impossible, Martin found it odd
said “of course, that's a vote,” and assured the panel it was      that a voter would go to the trouble of returning a ballot with
counted. The panel moved on to the next ballot. This time          no vote marks at all.
Dufort asked the Dominion *1327 technician to show her
the cast vote record for the ballot. It showed “blank contest”
for the race with no highlights, despite the presence of a clear
                                                                   3. The Secretary of State's Center for Election Systems
vote. By unanimous agreement, the panel adjudicated that
                                                                   Study on Scanner Settings
contest to show the vote, overriding the inaccurate tabulator
software. The panel returned to the previous ballot and did         **47 When Plaintiffs filed their motion in August 2020,
the same. During the course of review of about 150 ballots,        the State Election Board was considering proposed revisions
Dufort estimates the panel found and adjudicated about 20          to the regulation providing for “the definition of a vote”
votes that were clearly marked by the voters, but the software     to designate specific settings for the ballot scanners used
had interpreted as a “blank contest.”                              to tabulate optical scan ballots marked by hand. Plaintiffs’
                                                                   expert Harri Hursti asserted that before the State sets
Dufort attended the Morgan County Election Board meeting           threshold standards for the Dominion system, extensive
on June 11, and spoke about her concerns as a review               testing is needed to establish optimal configuration and to
panel member and the need to expand the adjudication               identify a setting that will not have the widespread effect
process to determine whether other votes had been rejected         of discarding at least some valid votes. (See Hursti Decl.
by the system. The Morgan County Election Board denied             ¶ 77, Doc. 809-3.) At that time, neither Mr. Hursti nor the
the motions of board member Helen Butler to expand the             Plaintiffs were aware of a study undertaken by the Center
adjudication process to review the remaining 2,700 mail            for Election Systems of the Secretary of State's Office in
ballots to see if there were additional uncounted votes.           July of 2020 to determine “how various reductions to the
                                                                   default, ambiguous mark threshold setting within Democracy
Coalition member Rhonda Martin observed somewhat similar           Suite 5.5A would impact the scanning and interpretation of
adjudication procedures at the Fulton County Elections             ambiguously marked ballot samples” on the ICC central count
Preparation Center on August 14, 2020. (Decl. of Rhonda             *1328 scanner. (Defs.’ Ex. 4 at 1, Doc. 887-4 at 2.) “The
J. Martin, Doc. 809-4.) The adjudication process took place        examination was done in an effort to increase absentee ballot
entirely on a low resolution black and white on-screen image,      scanning efficiency and reduce the need to adjudicate ballots
without looking at the original paper ballot. Based on her         that reflect a clear voter intent.” (Id.) A draft copy of the
observation of the two vote review panels used by the Fulton       report prepared by CES's Michael Barnes was subsequently
County elections office, the panel members quickly clicked         produced during expedited discovery prior to the injunction
here and there and switched from one view to another as            hearing.
they examined the ballot images, without making a record
of who approved each vote change or why the decision was           As further explained in the draft report, CES undertook an
made. Martin also observed that at times, the panel members        examination to determine whether “the high-end setting of
appeared to almost forget to confer with one another and           35% is forcing election officials to review ballots that should
confirm that they agreed on the interpretation of the vote         instead be processed as marked by the ICC scanner on the
because they were so focused on operating the adjudication         initial read by the IC scanner” and counted as a valid vote.
software.                                                          (Defs.’ Ex. 4 at 2, Doc. 887-4 at 3.) Because “Democracy
                                                                   Suite 5.5A gives the end user the ability to adjust ambiguous



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                                                                    would not increment vote total forward, but would increment
mark threshold settings used by the Dominion scanners to
                                                                    the ballots cast forward” (the mark falls below the low-end
interpret voter intent on hand-marked optical scan ballots,”
                                                                    threshold and is not counted as a vote in the vote totals); and
CES ran ballot test decks through the ICC scanner using
                                                                    (3) Ambiguous – the scanner will “not be able to determine
various threshold settings. (Defs.’ Ex. 4 at 1, Doc. 887-4 at 2.)
                                                                    marks and set the ballot aside for review” (the mark falls
                                                                    below the high-end threshold to count as a vote but above the
At the start of the examination, a “test deck of 100 hand-
marked optical scan ballots was prepared. The instructions          low-end threshold to register as a blank). (Id.)
at the top of the ballot instruct the voter to fill in the oval
next to the candidate of their choice. The filling in of the        After marking the test ballots, the test deck was scanned
oval (vote target area) is designed to provide a clear intent       a total of two times on an ICC scanner configured with
for the ICC scanner to interpret.” (Defs.’ Ex. 4 at 2, Doc.         the default low-end 12% and the high-end 35% settings.
887-4 at 3.) To examine the various ways the scanner might          This process created two batches collected by the ICC
interpret different marks, the testers did not fill in the vote     scanner, each batch containing 100 ballots. Each batch was
target areas as instructed. Instead, “testers placed a variety of   then loaded into Dominion's Adjudication Client application.
marks that only darkened a portion of the vote target areas” on     The Adjudication Client application was set to review all
the deck of test ballots. “Testers also used differing marking      ballots within the batch and isolate any ballots containing
devices (i.e., blue ink, black ink, red ink, pencil, etc.) and      Ambiguous Marks, Blank Ballots, and Overvotes (the
marking pressures.” On some ballots, testers marked outside         standard Adjudication Client settings). The testers created
the vote target area (by circling or underlining the candidate       *1329 6 criteria into which each ballot could fall under
name rather than filling in the oval) “to confirm that marks        for review: (1) Marked – all contests on ballot contained a
[placed] outside the vote areas would not be recognized” by         single interpretable mark; (2) 1/3 Ambiguous – one of the
                                                                    three contests on the ballot contained a mark requiring review;
the scanner. (Id.)
                                                                    (3) 2/3 Ambiguous – two of the three contests on the ballot
                                                                    contained a mark requiring review; (4) Ambiguous – all three
Each test ballot had three contests with a total of 6 vote target
                                                                    contests on the ballot contained a mark requiring review; (5)
areas (two ovals per contest). “Testers used the same type of
                                                                    Blank Ballot – all three contests on the ballot contained no
variable mark within each of three contests when marking a
                                                                    interpretable marks; and (6) Overvote – all contests on ballot
ballot in an attempt to simulate how an individual voter would
                                                                    contained multiple interpretable marks. (Defs.’ Ex. 4 at 2-3,
most likely mark each oval on their ballot in the same manner
                                                                    Doc. 887-4 at 3-4.)
throughout.” (Id.) As described in the CES draft report, the
scanner will interpret a marked ballot in one of three ways:
                                                                     **48 Upon completing the review of each scanned
(1) Marked – the scanner will “interpret the mark within all
                                                                    batch within the Adjudication Client software, the testers
vote target areas on the ballot and increment vote totals and
                                                                    documented the following results:
ballots cast total forward” (the mark falls above the high-end
threshold and is counted as a vote); (2) Blank – the scanner
“will interpret the vote area as not including a mark and
 • Marked                                                                                                            53
 • 1/3 Ambiguous                                                                                                     15
 • 2/3 Ambiguous                                                                                                     11
 • Ambiguous                                                                                                         12
 • Blank                                                                                                             9
 • Overvote                                                                                                          0
                                                                    ICC. The testers were concerned that nearly half of the test
(Defs.’ Ex. 4 at 3, Doc. 887-4 at 4.) A total of 47 ballots         deck required additional review to determine voter intent.
required some level of review after being processed by the          In an effort to assess what impact a reduction in the high-
                                                                    end setting level would have on potential ambiguous marked


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                                                                       12% but the high-end setting was reduced from 35% to 20%.
ballots being registered on the ICC, testers reduced the default
                                                                       (Defs.’ Ex. 4, Doc. 887-4 at 5.) Using a high-end setting of
high-end setting 3 times: from 35% to 30%, from 30% to
                                                                       20%, testers documented the following results for each batch
25%, and finally from 25% to 20%. (Defs.’ Ex. 4 at 3-5, Doc.
                                                                       within the Adjudication Client software:
887-4 at 4-6.) In the third test pass, the testers ran the test deck
through the scanner following the same protocol but the ICC
scanner was configured with the low-end default setting of
 • Marked                                                                                                             70
 • 1/3 Ambiguous                                                                                                      10
 • 2/3 Ambiguous                                                                                                      8
 • Ambiguous                                                                                                          1
 • Blank                                                                                                              10
 • Overvote                                                                                                           1
                                                                       to 1 ballot. The reduction did not eliminate the presence of
(Defs.’ Ex. 4 at 4-5, Doc. 887-4 at 5-6.) With a low-end 12%           ambiguous marks, but it does appear to reduce the number of
and high-end 20% setting, there was a 36% reduction in the             instances where the review of all contests on a ballot would
number of ballots (47 to 30) after scanning needing further            be needed. (Id.)
review, in relation to the original default setting. (Defs.’ Ex.       In an effort to reveal if there were any additional ambiguous
4 at 5, Doc. 887-4 at 6.) The adjustment of the high-end               marks that could be detected and made available for review
setting down to 20% also resulted in 17 more ballots being             to users, the testers reduced the low-end threshold setting
processed as marked (an increase of 53 to 70) and voter                from 12% to 10% (keeping the high-end at the adjusted 20%
intent being registered and tabulated without need of further          threshold). (Id.) The testers ran the test *1330 deck through
review or adjudication. The reduction to 20% also resulted             the scanner following the same protocol described above, but
in a potential overvote being detected in the test deck that           the ICC scanner was configured with the low-end at 10%
had previously been undetected using the higher high-end               and the high-end at 20%. Using this configuration, testers
settings. This reduction in the high-end setting from 35%              documented the following results upon reviewing the test
to 20% also decreased the number of ballots with all three             ballots within the Adjudication Client software:
contests registering ambiguous marks from 12 ballots down
 • Marked                                                                                                             71
 • 1/3 Ambiguous                                                                                                      13
 • 2/3 Ambiguous                                                                                                      6
 • Ambiguous                                                                                                          2
 • Blank                                                                                                              7
 • Overvote                                                                                                           1
                                                                       ballots remained as needing some physical review. (Defs.’ Ex.
(Id.) With the low-end 10% and high-end 20% settings, there            4 at 6, Doc. 887-4 at 7.) Of those 29, 7 ballots were seen by
was a 38% reduction in the number of ballots (47 to 29) after          the ICC as completely blank. Upon physical review of the 7
scanning needing further review, in relation to the original           ballots, 5 ballots contained no physical mark anywhere within
default setting. This configuration reduced the number of              the vote target oval, but did have the candidate name circled
instances of ambiguous (12 to 2) and blank ballots (9 to 7)            or underlined. The remaining 2 ballots seen as blank by the
from the original default settings. Under these settings, 29           ICC, upon visual review, did have discernable marks within



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the vote target area, however, the mark was made with red ink.
While it did not remove the detection of ambiguous marks or         The State Election Board's regulation providing for the
blank ballots, it does appear the combination of these settings     definition of a vote, states that for optical scan paper ballots,
eliminated the need to review some ballots and reduced the          the voter must “fill in the oval” to mark their vote choice.
number of contests per ballot needing review when a ballot          Ga. Comp. R. & Regs. 183-1-15-.02(2)(2)(a). Where an
review was detected. (Defs.’ Ex. 4 at 5, Doc. 887-4 at 6.)          optical scan ballot marked by hand has been rejected by the
 **49 During the assessment, the testers made note of               scanner/tabulator as containing an overvote in accordance
whether the type and placement of marks in and around the           with O.C.G.A. § 21-2-483(g), in reviewing such a ballot: (1),
vote target oval had an impact on the scanner's interpretation.     if “it appears that there is a properly cast vote and what is
(Defs.’ Ex. 4 at 6, Doc. 887-4 at 7.) In addition to partial        clearly a stray mark which has caused the ballot scanner to
filling in of the vote target oval, the ICC scanner registered      read the vote for such office as an overvote, the properly cast
various types of marks, including an X, checkmark, dash, and        vote shall be counted and the stray mark shall be ignored;”
dots, when they were placed within the vote target oval. The        and (2) if “a voter marks his or her ballot in a manner other
darker the mark within the vote target area, the easier the ICC     than that specified by law and this rule, the votes shall be
registered the mark. These findings indicate that instructions      counted if, in the opinion of the vote review panel as provided
to voters should inform the voter to fill in the oval next to the   in O.C.G.A. § 21-2-483(g)(2)(B), the voter has clearly and
candidate name and to avoid circling, underlining, or placing       without question indicated the candidate or candidates and
checkmarks or Xs, or otherwise marking the candidate name           answers to questions for which such voter desires to vote.”
outside the vote target oval. Voters should also be warned to       Ga. Comp. R. & Regs. 183-1-15-.02(2)(2)(c)&(d). Under
NOT use red ink.                                                    O.C.G.A. § 21-2-483(g)(1), “[t]he central tabulator shall be
                                                                    programmed to reject any ballot, including absentee ballots,
                                                                    on which an overvote is detected and any ballot so rejected
                                                                    shall be manually reviewed by [a] vote review panel ... to
4. Georgia's Election Code and Regulations Pertaining to
                                                                    determine the voter's intent as described in subsection (c)
Optical Scan Ballots
                                                                    of Code Section 21-2-438.” O.C.G.A. § 21-2-438(c) in turn
Based on the results of the CES study in July 2020, the             provides that “if the elector has marked his or her ballot in
State Election Board proposed a rule adopting the adjusted          such a manner that he or she has indicated clearly and without
threshold settings that was. The regulation, approved by the        question the candidate for whom he or she desires to cast
Board on September 10, 2020 now provides:                           his or her vote, his or her ballot shall be counted and such
                                                                    candidate shall receive his or her vote, notwithstanding the
  Ballot scanners that are used to tabulate optical scan ballots    fact that the elector in indicating his or her choice may have
  marked by hand shall be set so that:                              marked his or her ballot in a manner other than as prescribed
                                                                    by this chapter.”
  1. Detection of 20% or more fill-in of the target area
  surrounded by the oval shall be considered a vote for the          **50 Similarly, “[i]f, in reviewing an optical scan ballot
  selection;                                                        marked by hand, a discrepancy is found between the voter's
                                                                    mark on the ballot that clearly and without question indicated
  2. Detection of less than 10% fill-in of the target area
                                                                    the voter's intent and the result tabulated by the ballot scanner,
  surrounded by the oval shall not be considered a vote for
                                                                    the voter's mark shall control and be counted.” Ga. Comp.
  that selection;
                                                                    R. & Regs. 183-1-15-.02(2)(2)(e). Finally, “[w]hen an optical
  3. Detection of at least 10% but less than 20% fill-in of         scan ballot marked by hand contains stray marks or marks
  the target area surrounded by the oval shall flag the ballot      which prevent the ballot scanner from properly recording
  for adjudication by a vote review panel as set forth in           valid votes as determined under this rule and by law, the
  O.C.G.A. 21-2-483(g). In reviewing any ballot flagged for         ballot shall be duplicated in accordance with law to correct
  adjudication, the votes shall be counted if, in the opinion       such problems and the duplicate shall then be tabulated.”
  of the vote review panel, the *1331 voter has clearly and         Ga. Comp. R. & Regs. 183-1-15-.02(2)(2)(f). The regulation
  without question indicated the candidate or candidates and        further provides that “[n]othing herein shall be deemed to
  answers to questions for which such voter desires to vote.        disallow the use of ballot scanners for tabulation of ballots.”
Ga. Comp. R. & Regs. 183-1-15-.02(2)(k).                            Ga. Comp. R. & Regs. 183-1-15-.02(2)(2)(e).



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                                                                    to the SEB's newly promulgated regulation will not cause
                                                                    the scanner software to capture all perceptible ballot vote
                                                                    markings and count them as votes in the upcoming November
5. Plaintiffs’ Proposed Remedy
                                                                    election. (See Defs.’ Ex. 4 at 6, Doc. 887-4 at 7) (noting that
Coalition Plaintiffs seek from this Court “[a]n order               even after the adjustment, 7 out of 100 test ballots were seen
commanding the State Defendants to standardize required             by the ICC as completely blank though voter markings could
settings of Dominion precinct and central ballot scanners           be discerned upon physical human review).
and related tabulation software to ensure that all perceptible
votes written on mailed and hand marked paper ballots are           The scanners are programmed to flag overvotes87 for review
either counted as votes or flagged for human review by a            and adjudication. They are not, however, programmed to flag
Vote Review Panel, and requiring that Dominion scanner              undervotes (i.e., blank contests) for review. As evidenced
sensitivity settings and tabulation software be uniform across      by the Fulton County ballots shown in Plaintiffs’ Exhibit
all counties.” (Mot., Doc. 809 at 2). According to their            7, the result is that some votes are not recorded by the
motion, the full problem with the ballot scanners will not          scanners and are not counted. Under the current procedures
be solved by the State's new rule, but it can be solved             used with the Dominion system, these votes escape any
by restraining the State from requiring scanner settings            review before being rejected – resulting in irreversible voter
that automatically discard any degree of perceptible voter          disenfranchisement.88 It appears that prior to the use of
markings. In response, the State Defendants *1332 assert            the Dominion system and introduction of the adjudication
that Plaintiffs do not propose any solution beyond ensuring         software, no voter's ballot choices were getting kicked out
every single stray mark on every hand-marked ballot is              based on their visible designations of candidate choices with
reviewed by a human.                                                an X or check mark, as these markings are recognized under
                                                                    Georgia's Election Code as clear manifestations of voter
For the reasons that follow, the court will not grant the           intent. These circumstances are quite troubling and present
requested relief for the November general election based on         an opportunity to potentially disenfranchise older voters in
pragmatic timing considerations where absentee voting has           particular – based on their historical experience voting under
already begun and alteration of the scanner settings would          the State's prior systems – at a greater percentage than
require changes to the election system database and would           younger voters.
result in disruption of the ongoing administration of the
election by the State and the Counties. Instead, the Court has       **51 To decide whether Plaintiffs have established a
directed the State to itself explore and determine whether a        substantial likelihood of prevailing *1333 on the merits of
solution exists for the discounting of votes resulting from         their claim related to the scanner settings, the Court must
system deficiencies in the tabulator/scanning and the potential     first “consider the character and magnitude of the asserted
implementation of remedial measures in time for any runoffs         injury to the rights protected by the First and Fourteenth
in January 2021.                                                    Amendment.” Anderson, 460 U.S. at 789, 103 S.Ct. 1564.
                                                                    The Court must then “weigh the character and magnitude of
There is no question that the default scanner settings used         the burden the State's rule imposes on those rights against the
in elections conducted to date on the Dominion system               interests the State contends justify that burden and consider
caused certain voter marks to register as blank and therefore       the extent to which the State's concerns make the burden
prevented some valid votes on hand-marked ballots from              necessary.” Timmons, 520 U.S. at 358, 117 S.Ct. 1364.
being counted. (See ballot images at Doc. 809-5.) The
testimony of the vote review panelists clearly establish the        Here the asserted injury is that Plaintiffs and other absentee
differences between the scanner's perception and human              mail voters face a risk of suffering a diminished ability
perception of voter intent. In addition, the ballots provided       to participate fully in the democratic process and to elect
in the record show that different results were reached by the       the candidates of their choosing if the scanners do not
scanners and the vote review panel members about whether            recognize their ballot markings as valid votes. To echo the late
voter markings counted. Dr. Coomer acknowledged that the            Congressman John Lewis, “The vote is precious. It is the most
scanners will not count marks that fall below the low-end           powerful non-violent tool we have in a democratic society,
threshold setting. It is also evident that the State's adjustment   and we must use it.” As this Court has repeatedly recognized
of the Dominion default settings (used to date) pursuant            in this case, “[t]he right to vote freely for the candidate of


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one's choice is of the essence of a democratic society, and any      at 434, 112 S.Ct. 2059 (quoting Anderson, 460 U.S. at 789,
restrictions on that right strike at the heart of representative     103 S.Ct. 1564); see also People First of Alabama v. Sec'y of
government.” Reynolds, 377 U.S. 533, 555, 84 S.Ct. 1362, 12          State for Alabama, 815 Fed.Appx. 505, 512 (11th Cir. 2020)
L.Ed.2d 506 (1964). This right carries with it the right not only    (Rosenbaum, J. & Pryor, J., concurring) (“But whatever the
to cast a ballot but to have it counted. United States v. Classic,   burden, no matter how slight, ‘it must be justified by relevant
313 U.S. 299, 315, 61 S.Ct. 1031, 85 L.Ed. 1368 (1941);              and legitimate state interests sufficiently weighty to justify the
Democratic Exec. Comm. of Florida v. Lee, 915 F.3d at 1315           limitation.’ ”) (internal citations omitted).
(“of course, voting alone is not enough to keep democracy's
heart beating. Legitimately cast votes must then be counted”).       State Defendants assert that any burden on the right to vote
                                      89
The loss of a vote cast is permanent. The significance of the        created by the 10% threshold for discarding voter marks is
indelible nature of the injury cannot be overstated.                 justified by the regulatory interests of the State as outlined by
                                                                     the Secretary of State's Director of Elections, Chris Harvey.
 [18] It is precisely because of the character and magnitude         Mr. Harvey attested that “[r]equiring a manual review of
of the interest at stake that voters themselves have an              every stray mark that happens to be in a target area would
independent responsibility to proceed with care and caution          require significant time by county officials and would result in
when exercising the franchise. Georgia has implemented               delays of finalizing results, certifying results, and conducting
a voting system that relies on the efficiencies afforded             audits.” (Decl. of Chris Harvey, Doc. 834-3 ¶ 9.) According
by technology. The State Election Board has adopted a                to Harvey, “[u]sing a 10% threshold for scanners minimizes
regulation for processing and tabulating hand marked ballots         the burden on election officials while still ensuring that
using optical scanners that requires the voter to “fill in           ambiguous marks are properly evaluated.” (Id. ¶ 10.)
the oval” to mark their vote choice. Ga. Comp. R. &
Regs. 183-1-15-.02(2)(a). Under the regulation, markings that        The Court understands that the State does not want to
trigger “detection of 20% or more fill-in of the target area         make the standard so low that it sweeps in thousands of
surrounded by the oval shall be considered a vote for the            ballots with actual blank contests and some truly errant
selection,” while markings that trigger “detection of less than      marks for adjudication panel review because it might lead to
10% fill-in of the target area surrounded by the oval shall not      an unreasonably inefficient process and become potentially
be considered a vote for that selection.” Ga. Comp. R. & Regs.       unmanageable in the timeframe permitted under Georgia law
183-1-15-.02(2)(k). The burden on voters to read and follow          for finalizing the results of the election. However, there is no
the instructions for marking their absentee, provisional, or         evidence in the record of any burden on the Counties were the
                                                                     Court to grant some form of relief to address the ballot scanner
emergency ballots is minimal.90 The burden to do so in
                                                                     settings. No evidence has been presented from any county
a manner consistent *1334 with the regulation's adopted
                                                                     election official to support Mr. Harvey's supposition that
scanner settings to ensure their vote is automatically accepted
                                                                     changes to the scanner, tabulation, and adjudication software
by the scanner software is a different matter. Certain well-
                                                                     to ensure that all perceptible votes written on mailed and hand
informed voters may be aware of this new regulation adopted
                                                                     marked paper ballots are either counted as votes or flagged for
just weeks ago. Other voters may have read recent news
                                                                     human review by a Vote Review Panel would create an undue
articles documenting the problems with Georgia's scanners in
                                                                     administrative burden on county officials and would “result in
failing to recognize certain types of voter markings during
                                                                     delays of finalizing results, certifying results, and conducting
the June primary elections. The average voter, however, is
                                                                     audits.” And notably, Fulton County's response to Plaintiffs’
likely unaware that their failure to adequately darken the oval
                                                                     motion is silent on the issue of the ballot scanner settings.
to a certain percentage may cause their vote to be rejected
by the scanner and in turn, not counted altogether. The Court
                                                                     Each county election superintendent must certify the county's
therefore finds this burden to be more than minimal but less
                                                                     consolidated election results not later than 5:00 P.M. on the
than severe and will apply an intermediate level of scrutiny.
                                                                     second Friday following the date of the election (i.e., Friday,
                                                                     November 13, 2020) and immediately transmit the certified
 **52 [19] The Court must weigh the burden on the right to
                                                                     returns to the Secretary of State, “provided, however, that
vote against “ ‘the precise interests put forward by the State
                                                                     such certification date may be extended by the Secretary
as justifications for the burden imposed by its rule,’ taking
                                                                     of State in his or her discretion if necessary to complete
into consideration the ‘extent to which those interests make it
                                                                      *1335 a precertification audit.” O.C.G.A. § 21-2-493(k).
necessary to burden the plaintiff's rights.’ ” Burdick, 504 U.S.


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The Secretary of State must certify the election results           Comm. of Florida v. Lee, 915 F.3d at 1321 (characterizing
not later than 5:00 P.M. on the seventeenth day following          disenfranchisement by signature mismatch rules as imposing
the date of the election, in this year that date falls on          a serious burden on the right to vote); League of Women
Thursday, November 20, 2020. O.C.G.A. § 21-2-499(b). Prior         Voters of N.C. v. North Carolina, 769 F.3d 224, 244 (4th
to final certification, Georgia's election code requires the       Cir. 2014) (“[E]ven one disenfranchised voter—let alone
Secretary of State “[u]pon receiving the certified returns         several thousand—is too many.”) The threat of this injury
of any election from the various superintendents ... shall         is substantial and irreparable if relief is not granted before
immediately proceed to tabulate, compute, and canvass the          the election. See Elrod v. Burns, 427 U.S. 347, 373, 96 S.Ct.
votes cast,” prior to certifying the returns. Id. § 21-2-499(a).   2673, 49 L.Ed.2d 547 (1976) (plurality opinion) (The “loss
“In the event an error is found in the certified returns           of First Amendment freedoms, for even minimal periods of
presented to the Secretary of State or in the tabulation,          time, unquestionably constitutes irreparable injury.”); Martin
computation, or canvassing of votes ... the Secretary of State     v. Kemp, 341 F. Supp. 3d 1326, 1340 (N.D. Ga. 2018) (“The
shall notify the county submitting the incorrect returns and       Court finds that [p]laintiffs have established irreparable injury
direct the county to correct and recertify such returns. Upon       *1336 as a violation of the right to vote cannot be undone
receipt by the Secretary of State of the corrected certified       through monetary relief and, once the election results are
returns of the county, the Secretary of State shall issue a new    tallied, the rejected electors will have been disenfranchised
certification of the results.” Id.                                 without a future opportunity to cast their votes.”); see also
                                                                   League of Women Voters of N.C., 769 F.3d at 247 (“Courts
**53 Under these provisions, the counties have ten days to         routinely deem restrictions on fundamental voting rights
tabulate and certify their results to the Secretary of State,91    irreparable injury ... [because] once the election occurs, there
who in turn has an additional seven days to certify the            can be no do-over and no redress. The injury to these voters
election after a thorough review of the returns. The State         is real and completely irreparable if nothing is done to enjoin
Defendants’ fear of an unsupported and unquantified “delay”        the law.”).
in certification caused by review of additional ballots by a
Vote Review Panel is outweighed by the burden on voters.            [21] The Court must now consider the requested relief in
See Common Cause Georgia v. Kemp, 347 F. Supp. 3d 1270             connection with the two remaining requirements for granting
(N.D. Ga. 2018) (rejecting the State's argument that remedy        a preliminary injunction: whether the threatened injury to
requiring measures to ensure proper counting of provisional        the Plaintiffs outweighs the harm an injunction may cause
ballots would delay certification of election under statutory      the Defendants and whether granting the injunction is in the
timeline for certification); Doe v. Walker, 746 F. Supp. 2d        public interest. The Court considers these last two factors “in
667, 678–80 (D. Md. 2010) (finding that Maryland's statutory       tandem ... as the real question posed in this context is how
deadline for the receipt of absentee ballots imposed a severe      injunctive relief at this eleventh-hour would impact the public
burden on the absent uniformed services and overseas voters        interest in an orderly and fair election, with the fullest voter
that was not justified by the state's interest in certifying       participation possible....” Curling v. Kemp, 334 F. Supp. 3d
election results).                                                 1303, 1326 (N.D. Ga. 2018), aff'd in part, appeal dismissed
                                                                   in part, 761 F. App'x 927 (11th Cir. 2019); see also Purcell v.
 [20] The Court finds that Plaintiffs have satisfied the first     Gonzalez, 549 U.S. 1, 4, 127 S.Ct. 5, 166 L.Ed.2d 1 (2006).
two prerequisites for preliminary injunctive relief. Plaintiffs    Indeed, the Supreme Court has recognized that there are
have presented enough evidence to establish a substantial          special considerations involved with impending elections and
likelihood of success on the merits of their claim that            the critical issues at stake. In Reynolds v. Sims, the Court
the State Defendants’ use of an arbitrary threshold on its         stated:
ballot scanners to discard voter ballot markings for specific
                                                                      **54 [O]nce a State's [election-related] scheme has been
candidates or initiatives that are obvious to the human eye
                                                                     found to be unconstitutional, it would be the unusual
results in a violation of the fundamental right of each voter
                                                                     case in which a court would be justified in not taking
to have his or her vote accurately recorded and counted.
                                                                     appropriate action to insure that no further elections are
See Wash. State Grange v. Wash. State Republican Party,
                                                                     conducted under the invalid plan. However, under certain
552 U.S. 442, 451, 128 S.Ct. 1184, 170 L.Ed.2d 151 (2008)
                                                                     circumstances, such as where an impending election is
(holding that state and local laws that unconstitutionally
                                                                     imminent and a State's election machinery is already in
burden the right to vote are impermissible); Democratic Exec.
                                                                     progress, equitable considerations might justify a court in


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   withholding the granting of immediately effective relief in       Second, for the ICC central count scanner Mr. Hursti proposes
   a legislative apportionment case, even though the existing        that the current configuration be modified “to allow the
   apportionment scheme was found invalid. In awarding or            scanner to capture the images with a higher resolution and
   withholding immediate relief, a court is entitled to and          higher amount of information, meaning either color or gray
   should consider the proximity of a forthcoming election           scale images” and to adjust the DPI from 200 to the “current
   and the mechanics and complexities of state election laws,        minimum standard of office technology” of 300 DPI.92 (Vol. I
   and should act and rely upon general equitable principles.        at 143.) He recommends as a stop-gap measure and mitigation
377 U.S. at 585, 84 S.Ct. 1362. The Court notes, however,            for the November 2020 election that the State undertake an
that Reynolds is not an inviolable commandment against pre-          examination of the necessary changes to ensure that every
election injunctions where the constitutional violations are         vote is counted. (Id. at 161-62.)
significant, and the relief is not adverse to the public interest.
                                                                      **55 As previously discussed, Dr. Coomer testified, scanner
Plaintiffs’ requested relief is based on proposed solutions of       threshold settings for the Dominion Democracy Suite 5.5-
their cybersecurity and scanner expert, Harri Hursti.                A are not set on each individual scanner. Instead, scanner
                                                                     threshold settings are set when the voting database is built.
First, in his August 24, 2020 declaration, Mr. Hursti called         (Tr. Vol II at 83.) While Dr. Coomer acknowledged that the
for extensive testing before choosing mandated threshold             settings on the central count scanners could be changed before
settings. The Secretary of State's Center for Election Systems       the project is *1338 built, he stated that as of September 11,
conducted an assessment of various scanner settings before           2020, Dominion is in the midst of building the project for the
landing on the low-end 10% and high-end 20% threshold                November election. (Id. at 84.)
settings. But the CES did not test or assess thresholds lower
than 10%. CES's assessment resulted in a significant increase        Accordingly, the Court must consider remedies that go
in the number of marks recognized by the ICC as valid                beyond the 10 to 20 percent threshold standard recently
votes and a corresponding decrease in the number of marks            adopted by the Secretary of State, while balancing the
characterized as blank votes as well as significant decrease         potential for administrative confusion and serious vote
in the number of marks flagged as ambiguous requiring                mishaps by any course of action that is not deliberate and
further adjudication. Despite this notable improvement, this         properly researched. The Court is not prepared to direct the
one adjustment alone does not address the outstanding injury         State to make additional adjustments to the settings prior to
experienced by a significant number of voters who cast hand          the November election because it is not feasible under the
marked ballots (and votes) that will continue to be excluded         circumstances where the voting database has already been
from “counting” although they manifest the voter's *1337             built, has been rolled out to the counties, and has already or
electoral designation intent. Based on the results of the CES        soon will be undergoing logic and accuracy testing. There
study as well as other evidence in the record, clearly evident       are additional challenges of implementing manageable relief
ballot vote markings will not be detected by the Dominion            where the evidence is not clear that the resolution can be
tabulators, and such marks will not be counted as votes absent       fixed on the software in time or moreover, whether a software
further exercise of human judgment in review of improved             fix of ballot image resolution quality would be effective or
images of the ballots or the original ballots or alternatively,      not in increasing the number of ballot markings that will
improved screening by the adjudication software. While the           be automatically read and counted as votes by the scanner/
precise scope of the affected ballots is unknown, the evidence       tabulators.
reviewed indicates that there remains a sufficient volume of
impacted voters post implementation of the State's new 10%           The current adjustments of the default settings adopted by the
bottom threshold rule, that these incidents are not errant,          State in time for the November election lowers the gateway
isolated cases that can be simply ignored as the incidental          and allows more paper ballots with voter marks such as Xs
vote counting errors or irregularities that can be expected in       or checks (rather than oval fill-ins) to be counted or referred
a large election. Nor are they just “incidental” or accidental       for adjudication of voter intent. This change in settings used
“errors” to the extent that the software operates to exclude         in the 2019 pilots and the 2020 primary elections, while an
voting marks that clearly manifest the intent of the voter and       incomplete remedy, should be an improved mechanism to
therefore must be considered as a vote under Georgia law.            address the issue of lost scanned hand marked ballot votes in
                                                                     the voting tabulation in the November election. Plaintiffs as



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well as the Defendants or County Boards of Election may of           **56 [22] Accordingly, the Court GRANTS relief
course revisit the question of additional relief related to the     that is narrowly tailored to address the specific voter
ballot scanners if there turns out to be more evidence after the    disenfranchisement by operation of the optical scanners/
election and if huge swaths of voters’ absentee, provisional,       tabulators in tandem with the BMD adjudication software
or emergency paper ballot votes did not count.93                    raised in Plaintiffs’ motion. The Court finds that injunctive
                                                                    relief is warranted but based on the testimony and evidence
That said, the evidence supports a finding that the modified        in the record, recognizes that there will not be an “instant fix”
scanner settings may well still result in the rejection of          of this issue, though in any event, remedial measures should
valid votes and ballots falling through the identified crack        be in place by the next election cycle following the January
in the system by failing to flag visibly clear voter marks for      2021 election cycle, or if feasible, by the January 2021 runoff
adjudication by a review panel. Although the Court will not         elections.
require further changes to the scanner settings prior to the
November election, another potential measure may allow for          The Court has reviewed the Coalition Plaintiffs’ requested
an expanded review of optical scan hand-marked ballots in           relief (Docs. 809, 817) and finds that the relief identified is
connection with the adjudication software. Ballot contests          at once broader than what is called for to address the specific
flagged for human review by the adjudication software appear        injury identified97 and on the other hand, insufficiently
on the review screen with a red box outline around the contest.     precise. Accordingly, the Court DIRECTS Plaintiffs to
The adjudication software assigns green highlighting to voter       submit a proposed injunctive relief order that delineates the
marks that meet the high-end threshold setting to count as a        specific measures or course of action they are seeking that the
vote and assigns yellow highlighting to voter marks that fall       Court adopt to address this vote counting issue by October
between the high and low-end threshold settings and deemed          26, 2020. In that connection the Court recognizes the State
by the scanner as ambiguous. Currently, the adjudication            Election Board and Secretary's staff and/or Plaintiffs may
software does not assign any highlighting to voter marks            likely need to conduct a further review with Dominion and
that are deemed blank because they fall under the low-              other potential experts of some additional *1340 suitable
end threshold setting.94 Because the adjudication software is       options to address the issues raised here and to run sample
capable of isolating ballot marks flagged as ambiguous, it          tests to further assess such options; to consider the remedy
would *1339 make sense that the software could similarly            of red outlined vote target ovals on hand marked ballots as
be configured to isolate ballot marks interpreted as “blank.”       used in other jurisdictions contracting with Dominion that
It therefore appears likely that the adjudication software can      facilitate the reading of a fuller range of voter markings; and
be used to review ballot images flagged with blank contests         the schedule for proceeding if programming changes must
to verify that no clearly discernable ballot marks are present      be made to implement the chosen option(s) in conjunction
on the ballot images that have not been recognized by the           with the build of the ballot database for the election in
scanner software as falling within the designated threshold         question, as Dr. Coomer indicated would be necessary for
                                                                    some changes. This is how Dominion proceeded with the
to constitute a vote.95 As the vote review panel testimony
                                                                    build of the database for the current election while a proposed
indicates, the adjudication software allows the reviewer to
                                                                    regulation for modified threshold percentages was pending
quickly scan and move through the flagged ballot images on
                                                                    before the State Election Board.
the review screen.96 The Court recognizes the potential for a
large number of ballots with truly blank contests (those where      In a rational world, the parties’ representatives would sit
a voter intentionally chose not to mark a vote for a particular     down and discuss these matters together to discuss alternative
candidate or ballot question) are swept in for review. For          remedial courses of action and further review. The Court
this reason, a thorough examination of the feasibility of           would be more than willing to facilitate this by modifying
using the adjudication software for this purpose may reveal         timelines. In any event, the expanded method(s) to address the
that any material increase in burden on election officials to       scanner/tabulator and adjudication software's per se “blank”
perform this additional review measure weighs against its           exclusion of marks that may reasonably be considered by an
consideration as a potential method of relief in future elections   adjudication panel as indicating voter intent must be in place
after November.                                                     no later than the next election cycle following the conclusion
                                                                    of the January 2021 runoffs. The Court will enter a further
                                                                    relief order upon receipt of Plaintiffs’ proposed remedy by



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October 26, 2020 and Defendants’ response within 14 days            by the Secretary of State pursuant to his authority under
of receipt of the Plaintiffs’ proposal.                             Georgia law. Though major difficulties have arisen during
                                                                    the course of this new system's rocky first year, the Court
                                                                    recognizes that the staff of the Secretary of State's Office
IV. Conclusion                                                      and county election offices have worked hard to roll out the
                                                                    system in short order during a Covid-19 pandemic era that
  The Constitution's preamble speaks first of “We, the
                                                                    presents unique hurdles. That hard work though does not
  People,” and then of their elected representatives. The
                                                                    answer the fundamental deficits and exposure in the system
  judiciary is third in line and it is placed apart from
                                                                    challenged by Plaintiffs.
  the political fray so that its members can judge fairly,
  impartially, in accordance with the law, and without fear
                                                                    Thus, although Plaintiffs have put on a strong case indicating
  about the animosity of any pressure group.
                                                                    they may prevail on the merits at some future juncture,
  In Alexander Hamilton's words, the mission of judges is           the Court must exercise real caution in considering the
  “to secure a steady, upright, and impartial administration        grant of their request for extraordinary injunctive relief,
  of the laws.” I would add that the judge should carry out         given its obligation to follow governing Supreme Court
  that function without fanfare, but with due care. She should      and Eleventh Circuit authority. Despite the profound issues
  decide the case before her without reaching out to cover          raised by the Plaintiffs, the Court cannot jump off the legal
  cases not yet seen. She should be ever mindful, as Judge          edge and potentially trigger major disruption in the legally
  and then Justice Benjamin Nathan Cardozo said, “Justice           established state primary process governing the conduct of
  is not to be taken by storm. She is to be wooed by slow           elections based on a preliminary evidentiary record. The
                                                                    capacity of county election systems and poll workers, much
   advances.”98
                                                                    less the Secretary of State's Office, to turn on a dime and
 **57 Plaintiffs’ challenge to the State of Georgia's new
                                                                    switch to a full-scale hand-marked paper ballot system is
ballot marking device QR barcode-based computer voting
                                                                    contradicted by the entire messy electoral record of the past
system and its scanner and associated software presents
                                                                    years. Implementation of such a sudden systemic change
serious system security vulnerability and operational issues
                                                                    under these circumstances cannot but cause voter confusion
that may place Plaintiffs and other voters at risk of deprivation
                                                                    and some real measure of electoral disruption. As with
of their fundamental right to cast an effective vote that is
                                                                    any systemic change, implementation of a statewide hand-
accurately counted. While these risks might appear theoretical
                                                                    marked paper ballot system as the State's primary electoral
to some, Plaintiffs have shown how voting equipment and
                                                                    system would require long term planning and advanced
voter registration database problems during the 2019 pilot
                                                                    poll worker training. Accordingly, based on the binding
elections and again in the June and August 2020 primary
                                                                    appellate legal authority, the State's strong legal interest in
elections caused severe breakdowns at the polls, severely
                                                                    ensuring an orderly and manageable administration of the
burdening voters’ exercise of the franchise. (See September
                                                                    current election, and the Court's assessment of the operational
28, 2020 Order, Doc. 918.)
                                                                    realities before it, the Court must deny the Plaintiffs’ Motions
                                                                    for Preliminary Injunctive Relief in so far as they request
Established Supreme Court authority recognizes that States
                                                                    immediate replacement of the current BMD system with a
retain the authority and power to regulate their elections
and the voting process itself, subject to the preservation          statewide hand-marked paper ballot system.99
of citizens’ fundamental First and Fourteenth Amendment
rights. And the Supreme Court has repeatedly emphasized in           **58 But the Court cannot part with that message alone.
the last months the principle that *1341 district courts must       The Court's Order has delved deep into the true risks posed
exercise great restraint in considering the grant of injunctive     by the new BMD voting system as well as its manner of
relief that requires major new electoral rules on the cusp of an    implementation. These risks are neither hypothetical nor
election where a court's order could cause electoral disruption     remote under the current circumstances. The insularity of the
and potential voter confusion. The posture of this case collides    Defendants’ and Dominion's stance here in evaluation and
with this latter principle. The sweeping injunctive relief that     management of the security and vulnerability of the BMD
Plaintiffs seek would require immediate abandonment of the          system does not benefit the public or citizens’ confident
ballot marking device voting system enacted by the Georgia          exercise of the franchise. The stealth vote alteration or
Legislature in 2019 that is in its first year of implementation     operational interference risks posed by malware that can



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                                                                    The Court recognizes the major challenges facing the
be effectively invisible to detection, whether intentionally
                                                                    Secretary of State's Office in rapidly implementing a new
seeded or not, are high once implanted, if equipment and
                                                                    statewide voting system. Yet the vital issues identified in
software systems are not properly protected, implemented,
                                                                    this case will not disappear or be appropriately addressed
and audited. The modality of the BMD systems’ capacity to
                                                                    without focused State attention, resources, ongoing serious
deprive voters *1342 of their cast votes without burden,
                                                                    evaluation by independent cybersecurity experts, and open-
long wait times, and insecurity regarding how their votes are
                                                                    mindedness. The Secretary of State and Dominion are
actually cast and recorded in the unverified QR code makes
                                                                    obviously not without resources to tackle these issues. And
the potential constitutional deprivation less transparently
                                                                    at very least, the Court cannot fathom why, post-election, the
visible as well, at least until any portions of the system
                                                                    State and Dominion would not at least be moving toward
implode because of system breach, breakdown, or crashes.
                                                                    consideration of the software upgrade option Dominion
Any operational shortcuts now in setting up or running
                                                                    originally promised, allowing voters to cast ballots that are
election equipment or software creates other risks that can
                                                                    solely counted based on their voting designations and not on
adversely impact the voting process.
                                                                    an unencrypted, humanly unverifiable QR code that can be
The Plaintiffs’ national cybersecurity experts convincingly         subject to external manipulation and does not allow proper
                                                                    voter verification and ballot vote auditing.
present evidence that this is not a question of “might this
actually ever happen?” – but “when it will happen,” especially
                                                                    Time will tell whether Act V here can be still avoided or at
if further protective measures are not taken. Given the
                                                                    least re-written.
masking nature of malware and the current systems described
here, if the State and Dominion simply stand by and say, “we
                                                                    For the foregoing reasons, the Court DENIES the Curling
have never seen it,” the future does not bode well.
                                                                    Plaintiffs’ Motion for Preliminary Injunction [Doc. 785]
                                                                    and DENIES IN PART AND GRANTS IN PART the
Still, this is year one for Georgia in implementation of this
                                                                    Coalition Plaintiffs’ Motion for Preliminary Injunction on
new BMD system as the first state in the nation to embrace
                                                                    BMDs, Scanners, and Tabulators, and Audits [Doc. 809].
statewide implementation of this QR barcode-based BMD
system for its entire population. Electoral dysfunction – cyber
                                                                    IT IS SO ORDERED this 11th day of October, 2020.
or otherwise – should not be desired as a mode of proof. It may
well land unfortunately on the State's doorstep. The Court
certainly hopes not.                                                All Citations

                                                                    493 F.Supp.3d 1264, 2020 WL 5994029


Footnotes
1      The two sets of Plaintiffs in this case are represented by separate counsel and seek overlapping but somewhat differently
       articulated, equitable relief. Donna Curling, Donna Price, and Jeffrey Schoenberg are referred to as the “Curling Plaintiffs.”
       The Coalition for Good Governance (“Coalition”), Laura Digges, William Digges III, Ricardo Davis, and Megan Missett
       are referred to as the “Coalition Plaintiffs.”
2      See O.C.G.A. § 21–2–300(a)(2); O.C.G.A. § 21–2–2(7.1); O.C.G.A. § 21–2–300(a)(2); Ga. Comp. R. & Reg. r. 590–
       8–1–.01(d).
3      The Court summarized the three-year background history surrounding this case in its Order of August 7, 2020 (Doc.
       768) that denied without prejudice Plaintiffs’ earlier facial challenge of the BMD system, filed in October 2019, before any
       elections using the system had been held.
4      Plaintiffs in this connection present evidence of the votes on some hand-marked ballots being treated as blank votes
       because the optical scanner failed to recognize the hand-made mark that did not fully fill in the vote bubble, although the
       hand votes still demonstrated the voter's ballot intent through a check or X or otherwise, and therefore would satisfy the
       requirement of Georgia law for being counted. The State Board of Elections has recently approved some modifications
       in the scanning program settings that may result in more of these “blank” votes being flagged and referred to county
       adjudication panels for review. The Coalition Plaintiffs have offered expert testimony that other scanner adjustments can
       be made that would more completely address this ballot scanning issue. Defendants dispute this.




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5     Dominion Voting Systems, Inc.’s contract with the Georgia Secretary of State calls for Dominion's provision of all
      equipment and software components of the BMD system as well as training and technical assistance. (Doc. 786.)
6     As detailed in the Court's Order of September 28, 2020, Plaintiffs’ challenge also addresses dysfunctions in the
      voter registration information database system and the pollbook voter check-in system, both of which they contend
      fundamentally impact the voting process and voter access to the ballot. (Doc. 918.)
7     Although Defendant Fulton County has also taken an active role in the defense of this litigation the State Defendants’
      counsel have assumed by far the primary role in presentation of the defense. Representatives of both the State
      Defendants and Fulton County at various points have acknowledged some of the genuine challenges and major problems
      experienced in the first statewide in person election for a large array of offices that was held on June 9, 2020 using the
      new BMD system. (The March 24, 2020 presidential primary election was postponed twice – once until May 19, 2020
      and then until June 9, 2020. Some voters cast absentee mail ballots and absentee in-person “early voting” ballots before
      the March primary was postponed.)
8     See generally, O.C.G.A. § 21-2-384, § 21-2-385(a); see also Georgia Secretary of State's web posting, Elections and
      Voter Registration Calendar, https://sos.ga.gov/admin/files/2020% 20Revised% 20Short% 20Calendar.pdf (last visited
      September 17, 2020).
9     As found in the Court's 2018 and 2019 Orders, the Secretary of State contracted with Kennesaw State University from
      2002 to December 2017 to maintain the central server and provide critical related election services for the State at a unit
      in the University called the Center for Election Services (“CES”). Evidence reviewed in detail by the Court showed that the
      central server was accessible via the internet from at least between August 2016 and March 2017. After an information
      security engineer KSU's Information Security Office performed a scan of the server on March 4, 2017, it was immediately
      taken down. The FBI was contacted and took temporary possession of the elections server. Prior to returning it to KSU,
      the FBI made two forensic images of the server. KSU destroyed the original server and backup server soon after the
      news of the breach was publicized and after Plaintiffs’ lawsuit was served on Defendants.
10    Curling v. Kemp, 334 F.Supp.3d 1303 (N.D. Ga. 2018).
11    The leadership of the Secretary of State's Elections Division and Center for Elections Systems (transferred from
      Kennesaw) has remained intact throughout.
12    Dr. Wenke Lee, Professor of Computer Science at Georgia Tech University and Co-Executive Director of the Institute
      for Information Security, was the sole computer scientist appointed to the Secretary of State's Secure Accessible Fair
      Elections (“SAFE”) Commission.
13    In 2019, South Carolina began using the ExpressVote ballot marking system developed and marketed by ES&S.
14    Warren Stewart is a Senior Editor and Data Specialist at Verified Voting.
15    See Verified Voting, The Verifier, https://verifiedvoting.org/verifier/#mode/navigate/map/ppEquip/mapType/normal/
      year/2020 (last visited Aug. 18, 2020). (See also Ex. 1 to Stewart Decl., Doc. 681-2 at 6-14.)
16    “Clarification Questions\MS 16-1 Supply Chain Dominion and KnowInk Final.docx” available at https://sos.ga.gov/admin/
      uploads/Dominion.zip.
17    EAC is the acronym for the U.S. Election Assistance Commission.
18    Other manufacturers offer EAC-certified non-barcode BMDs, including the Clear Ballot ClearAccess system and the Hart
      Verity Touch Writer. Instead of a barcode for vote tabulation, these systems print a ballot that looks like a hand-marked
      paper ballot but has scan targets filled in for the selected candidates. (Decl. of Dr. Alex Halderman, Doc. 785-2 ¶ 37.)
19    If the referenced Dominion software upgrade moved forward and was purchased, this would also allow an independent
      audit's capacity to track voting back to scanned ballots that are counted by a scanner based on human text identified
      voter selections that serve as the actual basis for the scanner/tabulators’ tallying of ballot votes.
20    For a variety of reasons, local precinct polling stations end up sending emergency ballots to their Counties’ election office
      for scanning and tabulation rather than handling this themselves. Local precincts in the past have treated emergency
      ballots like provisional ballots that must be sent to the County office for a determination to be made of voter eligibility.
      However, consistent with current state regulations, precincts processing emergency ballots are authorized to allow voters
      to cast and scan their own emergency ballots, assuming voting equipment is operational.
21    State Defendants requested that some of the Plaintiffs’ expert testimony be presented in sealed proceedings and affidavits
      to ensure the protection of Dominion's intellectual property and the security of the voting system. The Court preliminarily
      granted these requests by and large so as to rapidly move proceedings forward as it could not predict precisely what
      matters would be covered in the testimony or the import of information in advance. Plaintiffs preserved their objections
      to the sealing. The Court will reconsider these sealing decisions, if appropriate, upon a properly supported motion.




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22    According to Mr. Cobb's first affidavit, “Georgia certified the Dominion Voting's Democracy Suite 5.5-A in August 2019.
      Pro V&V did not test this specific version of the voting system for the EAC, but had previously engaged in testing the
      baseline system (D-Suite 5.5),” apparently for another client. (Doc. 821-6 at 3-4.) Later, in 2020, another modification
      was made to the software relating to scanner software (denominated 5.5-A GA) and approved on April 13, 2020 by EAC.
      Georgia conducted pilot elections in 2019 and some early voting during the March 2020 primary (before it was postponed
      and combined with the statewide primary) on the system while this certification was pending.
23    Dr. Coomer previously served as Vice President of U.S. Engineering for Dominion and prior to that was the Vice President
      of Research and Development for Sequoia Voting Systems. He has worked in product development for election systems
      since 2005. He obtained his Masters degree and Ph.D. in nuclear physics and plasma physics from the University of
      California, Berkeley and a bachelor of science degree in engineering physics from Rensselaer Polytechnic Institute. (Tr.
      Vol. II at 99-100.) He additionally testified that he had designed the vote adjudication system used by Dominion, had
      written code for various election components, and provides primary election support for major Dominion customers.
24    Additionally, witness declarations and testimony given in connection with earlier preliminary injunction motions was
      available for consideration to the extent that it was relevant and filed in the record.
25    The Court's August 15, 2019 Order provided this explicit remedial relief: “The Secretary of State's Office should work
      with its consulting cybersecurity firm to conduct an in-depth review and formal assessment of issues relating to exposure
      and accuracy of the voter registration database discussed here as well as those related issues that will migrate over to
      the State's database or its new vendor's handling of the EPoll voter database.” (Doc. 579 at 150.) The consulting firm
      referenced is Fortalice.
26    Other cybersecurity experts such as Mr. Hursti also appear to have also consulted with Dr. Halderman in this process.
27    The Defendants sought this confidentiality for two purposes: to protect the confidentiality and secrecy of this portion of
      the election system's functioning as well as to protect Dominion's confidential intellectual property pursuant to its contract
      with the State.
28    Dr. Halderman is a Professor of Computer Science and Engineering and Director of the University of Michigan Center
      for Computer Security and Society. He is a nationally recognized expert in cybersecurity and computer science in
      the elections field. He testified before the United States Senate Select Committee hearings held on the topic of on
      Intelligence held on Russian interference in the 2016 U.S. Elections. His testimony and work was referenced in the Senate
      Committee's report. Professor Halderman has testified multiple times in this case.
29    The Defendants disputed this evidence and implied the existence of other possible factors. Given that Dr. Halderman's
      testimony was presented under seal, the Court only describes this portion of the evidence in a general manner.
30    As will be discussed further later in this Order, Dr. Stark serves on the Advisory Board of the U.S. Election Assistance
      Commission and as a member of the EAC's cybersecurity committee. (Doc. 296-6.) Dr. Appel is the Eugene Higgs
      Professor of Computer Science at Princeton University and has over 40 years’ experience in computer science and 15
      years if experience in studying voting machines and elections. He has served as Editor in Chief of ACM Transactions on
      Programming Languages and Systems, the leading journal in his field. (Doc. 681-3). Dr. DeMillo is the Chair of Computer
      Science at Georgia Tech University. He previously served as the Director of the Georgia Tech Center for Information
      Security and Chief Technology Officer for Hewlett-Packard. (Doc. 548 at 74; Doc. 579 at 34.) Dr. DeMillo has conducted
      research relating to voting system and election security since 2002. He helped write guidelines for using electronic voting
      machines for use by the Carter Center. He has also served on the advisory boards of Verified Voting and the Open
      Source Election Technology Institute. (Id.)
31    The Court makes this point not as a criticism of Dr. Halderman but simply to point out that due to a variety of circumstances
      and the timing of the Court's ruling on the Defendants’ motion to dismiss the BMD claims at a late date, discovery did
      not proceed here until the eleventh hour – and only then on a highly expedited, curtailed basis prior to the preliminary
      injunction motion.
32    There was some back and forth in the parties’ submissions regarding one of Dr. Halderman's affidavits pointing to
      a 2019 finding of one or more of the Texas Secretary of State's examiners’ determining that Dominion's Democracy
      Suite 5.5-A version was substantively deficient and did not meet certification standards. Dr. Coomer dismissed the
      significance of that one report in his affidavit in this case. Ultimately, on January 24, 2020, the Texas Secretary of
      State's Office, based on the multiple reports of different Texas examiners on varied technical and substantive issues,
      concluded along lines quite close to Dr. Halderman's ultimate opinion in this case that certification should be denied.
      The Texas Secretary of State's Office found this same Dominion 5.5-A version should be denied certification for use in
      Texas elections on this basis: “The examiner reports identified multiple hardware and software issues that preclude the
      Office of the Texas Secretary of State from determining that the Democracy Suite 5.5-A system satisfies each of the



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      voting-system requirements set forth in the Texas Election Code. Specifically, the examiner reports raise concerns about
      whether the Democracy Suite 5.5-A system is suitable for its intended purpose; operates efficiently and accurately; and
      is safe from fraudulent or unauthorized manipulation. Therefore, the Democracy Suite 5.5-A system and corresponding
      hardware devices do not meet the standards for certification prescribed by Section 122.001 of the Texas Election
      Code.” https://www.sos.texas.gov/elections/laws/dominion.shtml (last visited September 25, 2020) (emphasis added).
      The Court also notes, though, that there are other jurisdictions that have approved the certification of the 5.5-A system,
      as Defendants assert. As noted in the affidavit of Jack Cobb, Defendant's witness who is the Laboratory Director for
      Pro V & V, the State of Pennsylvania has certified Dominion's Democracy Suite 5.5-A for usage. The Report of the
      Pennsylvania Commonwealth of Pennsylvania Department of State approving the usage of Democracy Suite 5.5. and
      5.5A (in Pennsylvania jurisdictions choosing to utilize it), highlights that the approval is given “provided the voting
      system is implemented with the conditions listed in Section IV” of the Report. Commonwealth of Pennsylvania,
      Department of State, Report Concerning the Examination Results of Dominion Voting Systems Democracy Suite 5.5A
      With ImageCast X Ballot Marking Device (ICX-BMD), ImageCast Precinct Optical Scanner (ICP), ImageCast Central
      Station (ICC), and Democracy Suite EMS (EMS), available at https://www.dos.pa.gov/VotingElections/Documents/Voting
      % 20Systems/Dominion% 20Democracy% 20Suite% 205.5-A/Dominion% 20Democracy% 20Suite% 20Final% 20Report
      % 20scanned20with% 20signature% 20011819.pdf (emphasis in original.) These conditions are substantive, addressing
      items ranging from system security and prohibition of the connection of the system's components with any interface
      with modems or networks, to requirements for manual statistical audits, robust Logic and Accuracy testing on each
      device, voter education and warnings, needed voter instruction changes, and a host of other proactive substantive
      measures. Pennsylvania's review indicates that jurisdictions using the Dominion system do so in principal part with a
      hand-marked ballot based version of the system in tandem with scanners for vote tabulation. However, all voters are
      given the opportunity to use the ADA compliant marking device feature of the Democracy Suite 5.5 A. System.
33    However, as Plaintiffs’ experts Mr. Liu and Dr. Halderman testified in their respective affidavits in connection with the
      instant motions, BMDs use an Android operating system that is more than five years old and outdated.
34    See generally, Mr. Liu testimony, Tr. Vol. II, Mr. Liu Declaration at Doc. 855-2; Dr. Halderman testimony, Tr. Vol II and Vol.
      III (and in conjunction with both preceding preliminary injunction hearings and related filings); Dr. Halderman Declarations
      at Docs. 785-2, 855-1; Mr. Skogland testimony, Tr. Vol. III; Mr. Skoglund Declarations at Docs. 853-5, 853-6; Dr. Appel
      Declaration, Doc. 855-3; Mr. Hursti testimony, Tr. Vol. I; Hurti Declarations at Docs. 809-3, 800-2, 680-1; Dr. DeMillo
      Declarations, Docs. 285, 716-1; Dr. Stark testimony, Tr. Vol. I; Dr. Stark Declaration, Doc. 809-2.
35    Pro V&V, Inc., a private company, is a National Institute of Standards Technology (NIST) Accredited Voting Systems
      Test Laboratory (VSTL) and a United States Election Assistance Commission Accredited Voting Systems Laboratory.
36    Pro V&V similarly was previously retained by the Secretary of State and certified Georgia's DRE system in 2012 to the
      EAC. (Tr. Vol. II at 233.) The company's last October 2, 2020 report is addressed later in this Order. The EAC has as of
      the date of this Order not approved or acted upon this last recommendation.
37    Mr. Cobb's second affidavit referenced the basis of his earlier statements regarding encryption as Dominion
      documentation about digital signing and encrypting. “My statement about digital signing and encrypting ... come directly
      from Dominion Voting 2.2 – Democracy Suite System Overview Version 5.5:146 Dated August 18, 2018 Section 2.6.1
      Electronic Mobile Ballot” that describes QR barcode encoded data as encrypted.” (Doc. 865-1.)
38    Tr. Vol. II at 236.
39    Pro V&V had conducted an assessment of an earlier version of the Dominion Democracy Suite software.
40    Pro V&V's August 2019 certification documentation indicates that “[t]he state certification test was not intended to result
      in exhaustive tests of system hardware and software attributes.” (See discussion of this in Dr. Halderman's affidavit, Doc.
      785-2 at 10.)
41    Mr. Liu further explained that his firm performs this consulting work for 8 of the top technology companies in the world,
      10 of the top 20 retailers, 5 of the 10 top media companies. (Tr. Vol. II at 54; Liu Decl., Doc. 855-2.) At Honeywell, Dr.
      Liu led the penetration testing team for Honeywell International's global security team, “where our mission was to assess
      and breach the security of Honeywell's IT infrastructure and applications.” (Doc. 855-2 at 2.)
42    Mr. Liu indicated that the Android system in use was over half a decade out of date, with known vulnerabilities. (Tr. Vol. II
      at 68.) Similarly, Dr. Halderman noted that the Android OS versions used on the Dominion BMDs do not have the latest
      security features of later Android releases. (Halderman Decl., Doc. 785-2 at 9-11.)
43    Dr. Halderman suggests that the “test mode” that the equipment was “on” when delivered was designed to limit his
      testing capacity. And on the other hand, Defendants imply in their questioning that Dr. Halderman may have modified
      the equipment in some other fashion. The Court sees no value in such guessing now.



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44    As discussed later, Mr. Hursti testified based on his cybersecurity experience and observations, that a host of the game
      and other applications on the servers and equipment he observed as well as internet connectivity created an obvious
      source for injection of malware.
45    Mr. Liu's and Dr. Halderman's testimony and declarations, addressed earlier, discussed their views of the fallibility of
      this approach.
46    The Court's Opinion and Order of September 28, 2020 (Doc. 918) addressed in depth issues relating to the PollPads and
      the continuation of prior issues involving the ENET database and program. The Court therefore does not revisit these
      issues here.
47    Voting Machine Hacking Village 2019 Annual Report, pp. 17-18, media.defcon.org > voting-village-report-defcon27 (last
      visited October 8, 2020). (See Doc. 619-3.)
48    “Hardening is the standard basic security practice under the well-accepted principle that a general-purpose device when
      used with a lot of software for different purposes is more vulnerable than a limited system which has [includes only]
      the minimum necessary to accomplish the task.” This is accomplished by “eliminating and removing all unnecessary
      services, and removing all drivers to make it the bare bone minimum needed for the task. And that is by reducing using
      the attack surface making it inherently more secure.” (Hursti testimony, Tr. Vol. 1 at 126-27.) “In essence, hardening is
      the process of securing a system by reducing its surface of vulnerability, which is larger when a system performs more
      functions; in principle it is to the reduce the general purpose system into a single-function system which is more secure
      than a multipurpose one. Reducing available ways of attack typically includes changing default passwords, the removal
      of unnecessary software, unnecessary usernames or logins, grant accounts and programs with the minimum level of
      privileges needed for the tasks and create separate accounts for privileged operations as needed, and the disabling or
      removal of unnecessary services.” (Hursti Decl., Doc. 809-2 ¶ 28.) “Computers performing any sensitive and mission
      critical tasks such as elections should unquestionably be hardened. Voting system are designated by the Department
      of Homeland Security as part of the critical infrastructure and certainly fall into the category of devices which should be
      hardened as the most fundamental security measure.” (Id. ¶ 29.) Hursti's personal first-hand observations and review of
      server log entries “confirmed that services which would have been disabled in the hardening process are running on the
      server.” (Hursti Decl., Doc. 853-2 ¶ 6.) And he testified that it was visibly evident that “this system was not hardened both
      based on icons observed” and on “logs showing all programs running, all drivers running, and software installed. And
      that list is comprehensively proving that the system has been not hardened.” (Tr. Vol. 1 at 127.)
49    “The most basic security practice is never to let the operators have privileges to delete or alter log events, because
      that makes supervision impossible and performing forensics difficult, if not impossible. In addition, trustworthy logs are
      essential to detect and deter malicious software or intrusion.” (Doc. 853-2 at 12.)
50    Based on the sudden change in circumstances, the Court issued an express directive that the State Defendants file
      information and documentation as to the timing of the production of the testing documents to Pro V&V and the EAC.
      (See Doc. 957.)
51    HAVA authorized the creation of the Election Assistance Commission as an independent, bipartisan organization, to
      establish minimum election administration and equipment standards in the administration of federal elections. (Issues
      with Florida's election machines in the 2000 presidential election were one of the triggers for Congress's creation of the
      Commission.) While state participation in EAC's review and approval regime is voluntary, once a state has elected to
      do so as in Georgia's case, the EAC treats state compliance with its standards and procedures as required. There is
      no provision for half compliance or half participation in EAC's review procedures. On the other hand, the EAC is not
      vested with actual coercive regulatory authority and thus relies on state cooperation in connection with compliance with
      its standards and determinations.
52    Given the nature of the communications between counsel reflected in Plaintiffs’ filing of October 6, 2002, the Court does
      not know what documents precisely were filed with the EAC.
53    Both Dr. Halderman and Mr. Skoglund's affidavits discuss a host of problems that they have seen arise with last minute
      software fixes that are not thoroughly tested and evaluated for impact on the rest of the software system and in connection
      with use on a copy of the actual database. Dr. Halderman discusses the analogy – i.e., worst case scenario – of what
      happened with Boeing's late “minor” software fix in its Boeing 737 Max plane. Halderman and Skoglund's affidavits also
      discuss the security risks posed by last minute installation of software in voting machines in their experience.
54    Ga. Comp. R. & Regs, 183-1-12-.08, new Rule adopted January 23, 2020, eff. Feb. 12, 2020; amended March 2, 2020
      and eff. March 22, 2020.
55    The county voting machines involved were not the ones now used in Georgia.




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56    State Defendants’ counsel has pointed to two counties’ successful flagging of the U.S. Senate ballot problem through
      their L & A testing. The Court agrees – this was a positive net result of the testing. For that very reason, though, thorough
      L & A testing, consistent with standard protocols across the country and Georgia law, would seem to be essential.
57    Dr. Stark is a Professor of Statistics and Associate Dean of Mathematical and Physical Sciences at the University of
      California, Berkeley, a faculty member in the Graduate Program in Computational Data Science and Engineering, a co-
      investigator at the Berkeley Institute for Data Science, and was previously the Chair of the Department of Statistics and
      Director of the Statistical Computing Facility. (Decl. of Philip B. Stark, Doc. 296.) He has published hundreds of articles and
      books and has served on the editorial boards of academic journals in physical science, applied mathematics, computer
      science, and statistics and is a coauthor on a number of papers on end-to-end cryptographically verifiable voting systems,
      including being on the development team for the STAR-Vote system for Travis County, Texas. (Id.; Tr. Vol. I at 57.) Dr.
      Stark has consulted for many government agencies and currently serves on the Advisory Board of the U.S. Election
      Assistance Commission and its cybersecurity subcommittee. He also served on former California Secretary of State
      Debra Bowen's Post-Election Audit Standards Working Group in 2007. In addition to testifying as an expert in statistics
      in both federal and state courts, Dr. Stark has testified before the U.S. House of Representatives Subcommittee on the
      Census and the State of California Senate Committee on Elections, Reapportionment and Constitutional Amendments,
      and before California Little Hoover Commission about election integrity, voting equipment, and election audits. Dr.
      Stark's statistical “risk-limiting audits” approach to auditing elections has been incorporated into statutes in several states
      including California, Colorado, Rhode Island, and in some respects in Georgia's new Election Code. (Doc. 296; Doc.
      640-1; Tr. Vol. I at 83.) Dr. Stark pioneered the introduction of RLAs in state sponsored studies and elections in California
      and Colorado. (Stark Decl., Doc. 296; Stark Suppl. Decl., Doc. 680-1 ¶ 17.)
58    Smaller risk limits require stronger evidence that the outcome is correct: All else equal, the audit examines more ballots
      if the risk limit is 1% than if it is 10%. Lindeman and Stark (2012) at 1. Similarly, smaller (percentage) margins require
      more evidence, because there is less room for error. Id.
59    RLAs therefore “address limitations and vulnerabilities of voting technology, including the accuracy of algorithms used
      to infer voter intent, configuration and programming errors, and malicious subversion.” Lindeman and Stark (2012) at 1.
      This is one reason why the NAS has endorsed the use of risk-limiting audits of human-readable, voter-verifiable paper
      ballots. NAS Report at 94-95.
60    Dr. Stark's auditing principles are in line with the recommendation of the NAS:
          An evidence-based election would produce not only a reported (or initial) election outcome, but also evidence that the
          reported outcome is correct. This evidence may be examined in a “recount” or in a “post-election audit” to provide
          assurance that the reported outcome indeed is the result of a correct tabulation of cast ballots.
          Voter-verifiable paper ballots provide a simple form of such evidence provided that many voters have verified their
          ballots. The ability of each voter to verify that a paper ballot correctly records his or her choices, before the ballot is cast,
          means that the collection of cast paper ballots forms a body of evidence that is not subject to manipulation by faulty
          hardware or software. These cast paper ballots may be recounted after the election or may be selectively examined
          by hand in a post-election audit. Such an evidence trail is generally preferred over electronic evidence like electronic
          cast-vote records or ballot images. Electronic evidence can be altered by compromised or faulty hardware or software.
          Paper ballots are designed to provide a human-readable recording of a voter's choices. The term “paper ballot’’ here
          refers to a “voter-verifiable paper ballot,” in the sense that voters have the opportunity to verify that their choices are
          correctly recorded before they cast their paper ballots. The voter may mark the ballot by hand, or the marked ballot
          may be produced by a voting machine. In the current context, the human-readable portion of the paper ballot is the
          official ballot of record that acts as the record of the voter's expressed choices. Rather than, for example, an electronic
          interpretation of the paper ballot or a non-human readable barcode appearing on a ballot.
      (NAS Report at 94-95.)
61    Dr. Gilbert also was a member of the National Academies of Science, Engineering and Medicine Committee on
      the Future of Accessible Voting: Accessible Reliable, Verifiable Technology, among other leadership and publishing
      accomplishments. (See Doc. 658-2.) Dr. Gilbert's research currently focuses on human use of technology and access
      to voting systems rather than cybersecurity or cyber engineering issues. His testimony focused on the comparative
      benefits of the BMD system, its broad human accessibility, its automated generation of a paper ballot that voters have
      the opportunity to review, and how and if the system's use of a QR code impacts its auditability. Dr. Gilbert's background
      and expertise is not in the field of statistics.
62    Dr. Halderman and Matthew Bernhard co-authored their research in a May 2020 published article, “Can Voters Detect
      Malicious Manipulation of Ballot Marking Devices?” A number of the experts referenced the paper, which discusses low



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      rates of voter verification of ballots and the degree to which that may be increased by different voter prompts It also
      constitutes part of the research literature that bears on the issues of the validity of RLAs where BMDs are used that
      tabulate the vote based on a QR code rather than the readable information that voters might review.
63    VotingWorks is a vendor of barcoded ballot-marking devices just like the Dominion system. (Tr. Vol. II at 281.)
64    In response to the Court's question about the methodology of the Arlo software which incorporates Dr. Stark's statistical
      algorithm, Dr. Adida admitted, “I'm going to tell you my best understanding of it and admit that there is a level of statistics
      that goes a little bit outside of my expertise ... And exactly how that is done, that is where my expertise stops and Dr.
      Stark's begins.” (Tr. Vol. II at 302-303.)
65    Most of the states where VotingWorks has assisted in conducting RLAs primarily use hand-marked paper ballots with
      BMDs used only for voters with accessibility needs. These include Virginia, Michigan, Missouri, and Rhode Island. In
      California, and Pennsylvania, the majority of the voters in the state use hand-marked paper ballots and only certain
      jurisdictions in those States use BMDs for all voters. In Ohio, there is no uniform voting system; instead roughly half of
      the jurisdictions use hand-marked paper ballots, a handful use DREs with voter verified paper audit trails, and a handful
      use BMDs. See Verified Voting, The Verifier, available at https://verifiedvoting.org/verifier/#mode/navigate/map/ppEquip/
      mapType/normal/year/202 0.
66    Other criticisms raised focused on the statistical invalidity of auditing only one race and the absence of any meaningful
      audit trail.
67    According to the NAS Report:
          RLAs can establish high confidence in the accuracy of election results—even if the equipment that produced the
          original tallies is faulty. This confidence depends on two conditions: (1) that election administrators follow appropriate
          procedures to maintain the chain-of-custody and secure physical ballots—from the time ballots are received, either in-
          person or by mail, until auditing is complete; and (2) that the personnel conducting the audit are following appropriate
          auditing procedures and the equipment and software used to audit the election are independent of the equipment and
          software used to produce the initial tallies. In the latter case, this not only requires that the software be independent
          of the software used to tally votes, but also that the software's specifications/algorithms, inputs, and outputs are
          transparent to permit members of the public to reproduce the software's operation.
      (NAS Report at 96.) As Dr. Stark has attested, the BMDs are not software independent and therefore cannot establish
      high confidence in the accuracy of the results “even if the equipment that produced the original tallies is faulty.”
68    There are two general types of risk-limiting audits: ballot-polling audits and comparison audits (either ballot-level
      comparison or batch comparison). Lindeman and Stark (2012) at 2, 6. Ballot-polling audits are a bit like exit polls, but
      instead of asking randomly selected voters how they voted, they manually inspect randomly selected cast ballots to see
      the votes they contain. (Doc. 680-1 ¶ 18.) They require knowing who reportedly won, but no other data from the tabulation
      system. Lindeman and Stark (2012) at 2. Ballot-polling audits are the best method “when the vote tabulation system
      cannot export vote counts for individual ballots or clusters of ballots or when it is impractical to retrieve the ballots that
      correspond to such counts,” i.e., systems like Georgia's that use precinct level tabulators that apply randomization to
      scanned ballots to protect voter anonymity. See id. In a ballot-polling RLA, “if a large enough random sample of ballots
      shows a large enough majority for the reported winner(s), that is strong statistical evidence that the reported winner(s)
      really won. It would be very unlikely to get a large majority for the reported winner(s) in a large random sample of ballots
      if the true outcome were a tie, or if some other candidate(s) had won. There is deep mathematics behind proving out how
      large is “large enough” to control the risk to a pre-specified level, such as five percent. However, the calculations that
      determine when the audit can stop examining more ballots are relatively simple.” (Doc. 680-1 ¶ 18.)
69    Somewhat confusingly, Dr. Stark also testified that “[t]he sense in which a risk-limiting audit may still be worth doing is
      that it can catch – it can detect whether errors in the tabulation of a particular pile of ballots was large enough to alter
      the reported outcome of one or more contests. But what it can't do is determine whether that particular pile of paper
      is a trustworthy representation of what voters did, saw, or heard.” (Id. at 68-69.) In other words, “[a]pplying risk-limiting
      audit (RLA) procedures to securely curated BMD printouts can check the accuracy of the tabulation of the printouts. It
      can provide confidence that if errors in scanning and tabulation were large enough to change the reported winner(s),
      that fact would be detected and corrected. But such an audit does nothing to check whether the BMDs printed incorrect
      votes, omitted votes, or printed extra votes. Risk-limiting audit procedures check the tabulation of BMD printouts; they
      do not check the functioning of the BMDs. They cannot confirm the outcome of elections conducted using BMDs.” (Doc.
      680-1 ¶¶ 6-7.) Similarly, he remarked that “[r]igorous audits can ensure (statistically) that tabulation errors did not alter
      the reported outcomes. But they cannot ensure that errors in BMD printouts did not alter the reported outcomes.” (Id. ¶
      12.) While there appears to be some disconnect between the use of RLAs to check tabulations, it is possible Dr. Stark is



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      referring to ballot-level or batch comparison RLAs here which, unlike ballot-polling audits, check outcomes by comparing
      a manual interpretation of ballots selected at random to the voting system's interpretation of those ballots counts.
70    In conjunction with Dr. Adida's organization, VotingWorks, the State of Georgia consulted with the Verified Voting
      Foundation when it conducted a RLA pilot of two election contests in Cartersville in November 2019. (680-1 ¶ 17.) Dr.
      Stark was on the Board of Directors of Verified Voting for years until he resigned after the President of Verified Voting
      declined to clarify publicly that the Cartersville pilot audit did not “confirm outcomes” or show that the voting system
      worked correctly. (Id. ¶ 23.) Since that time, Verified Voting's official positions on RLAs and BMDs have for the most part
      realigned with Dr. Stark's findings and opinions. (Tr. Vol. I at 80.) See Statement on Ballot Marking Devices and Risk-
      Limiting Audits, available at https://verifiedvoting.org/statement-on-ballot-marking-devices-and-risk-limiting-audits/.
71    Again, Dr. Stark invented virtually every extant method for performing risk limiting audits, including ballot-polling risk-
      limiting audits. Dr. Stark was the first person to pilot a ballot-polling risk-limiting audit, in Monterey, CA, in May, 2011.
      Dr. Stark published the first software tool to conduct ballot-polling risk-limiting audits which was the official tool used by
      the State of Colorado for its ballot-polling risk-limiting audits and is referenced in Colorado election regulations. (Doc.
      809-2 ¶ 10.) The VotingWorks Arlo software to be used in Georgia's audit incorporates Dr. Stark's algorithm, and Stark
      understands that VotingWorks benchmarked the Arlo software against his to confirm Arlo is a correct implementation
      of the algorithm. (Id. ¶ 11.) Understandably, Dr. Stark strenuously disagrees with any attempts to redefine the RLA
      methodology so that it only corrects some kinds of errors or to modify its application for use on systems with an
      untrustworthy paper trail because such measures go against the whole principle the RLA was designed to fulfill and
      weakens the concept to a degree that it destroys the fundamental property that the audit has a large chance of correcting
      the election outcome if it is wrong. (Tr. Vol. I at 80-83.)
72    In addition to a burden on the fundamental right to vote, Plaintiffs also assert in-person voters are subject to unequal
      treatment as compared to provisional and absentee voters whose paper ballots are capable of being meaningfully
      recounted, reviewed against an independent record to verify the accuracy of the vote tabulation, and may have
      discrepancies detected and corrected through audits.
73    O.C.G.A. § 21-2-300(a)(2) (effective April 2, 2019) (mandating a new uniform statewide voting system that provides for
      “the use of scanning ballots marked by electronic ballot markers and tabulated by using ballot scanners for voting at the
      polls and for absentee ballots cast in person”).
74    Georgia law permits a registered voter to vote via absentee ballot for any reason. See O.C.G.A. § 21-2-380. Voters under
      age 65 must submit separate, distinct applications for each election (i.e. primary, general, runoff) sufficiently early to
      their county registrar's office to ensure timely receipt of their absentee ballot. O.C.G.A. § 21-2-381(a)(1)(A); O.C.G.A. §
      21-2-381(a)(1)(G). Absentee ballot applications may be denied if the registrar determines that the information provided by
      the voter in the application does not match the voter's information on file with the registrar's office or if the voter's signature
      on the absentee ballot envelope does not match the signature on their voter registration card. O.C.G.A. § 21-2-381(b)
      (2)(3). Once received and completed, voters must sign an oath on their absentee ballot envelope and personally mail or
      deliver their ballot to the board of registrars or absentee ballot clerk or to a dropbox. O.C.G.A. § 21-2-385(a). Georgia does
      not provide pre-paid postage for the return of the absentee ballot, and thus, voters must pay for their own return postage
      to vote by mail. The State of Georgia does not count mail ballots received after the closing of polls at 7:00 p.m. on Election
      Day. See O.C.G.A. § 21-2-386(a)(1)(F). This is true even if a ballot arrives late for reasons objectively outside the voter's
      control, and even if the ballot was postmarked weeks before Election Day or alternatively, on Election Day. Absentee
      ballots will be rejected if not received by election day or “[i]f the elector has failed to sign the oath, or if the signature
      does not appear to be valid, or if the elector has failed to furnish required information or information so furnished does
      not conform with that on file ... or if the elector is otherwise found disqualified to vote[.]” O.C.G.A. § 21-2-386(a)(1)(C).
75    The first initial motions for preliminary injunction seeking to enjoin the BMD system, filed in October 2019 (Docs. 619, 640),
      were denied without prejudice in August 2020. At that juncture, the Court viewed the evidence as presented as closer to
      a quasi-facial challenge rather than one that was rooted, at least in part, in the record evidence involving the actual use of
      the BMD machines and associated Dominion equipment and attached KnowInk registration check-in PollPad tablets at
      voting precincts. Covid-19 pandemic ramifications triggered major election scheduling delays and changes that resulted
      in the March presidential primary being moved ultimately to early June 2020.
76    See Court's Opinion and Order of September 28, 2002. (Doc. 918.)
77    Sections (b) and (c) of O.C.G.A. § 21-2-438 provide as follows:
      (b) At elections, any ballot marked by any other mark than a cross (X) or check (#) mark in the spaces provided for that
      purpose shall be void and not counted; provided, however, that no vote recorded thereon shall be declared void because
      a cross (X) or check (#) mark thereon is irregular in form. A cross (X) or check (#) mark in the square opposite the names



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      of the nominees of a political party or body for the offices of President and Vice President shall be counted as a vote for
      every candidate of that party or body for the offices of presidential elector.
      (c) Notwithstanding any other provisions of this chapter to the contrary and in accordance with the rules and regulations
      of the State Election Board promulgated pursuant to paragraph (7) of Code Section 21-2-31, if the elector has marked
      his or her ballot in such a manner that he or she has indicated clearly and without question the candidate for whom he
      or she desires to cast his or her vote, his or her ballot shall be counted and such candidate shall receive his or her vote,
      notwithstanding the fact that the elector in indicating his or her choice may have marked his or her ballot in a manner
      other than as prescribed by this chapter.
78    According to the Dominion contract, for each ballot scanned, a corresponding ballot image is created and stored for audit
      purposes, that consists of two parts: (1) the scanned image of the ballot; and (2) machine generated text showing each
      mark that the scanner interpreted for that particular ballot, referred to as the AuditMark. (Doc. 619-8 at 57.)
79    A potential explanation for the phenomenon of some voters marking their absentee ballots without filling in the designated
      oval is two-fold. Hand marked ballots, where votes were cast with an X or check, were used prior to the introduction
      of the DRE system in Georgia in 2002. And this may be found in Georgia's existing election regulation that contains
      different provisions for vote tabulation in statewide versus municipal elections. See Rule 183-1-15-.02(2)(2)&(3). The
      Dominion BMD/optical scan system is required to be used in all statewide elections. But Georgia still allows for other
      voting systems to be used in non-statewide “municipal” elections (see provisions of rule that still pertain to lever systems,
      Rule 183-1-15-.02(2)(1) and non-optical scan, i.e., hand counted paper ballots, Rule 183-1-15-.02(2)(3)). For optical scan
      paper ballots, the voter must “fill in the oval” to mark their vote choice. Rule 183-1-15-.02(2)(2)(a). But for non-optical
      scan paper ballots, the voter must “place an X, a check, or other similar mark” in a square to mark their vote choice. Rule
      183-1-15-.02(2)(3)(a). This might account for why a number of voters are placing either an X or a check in the oval rather
      than filling it in and may create a problem if the ICP and ICC scanners in operation disregard these types of markings
      on the optical scan ballots without further review. Further, the Court notes, that prior to the instant 2020 ballot cycle, a
      vote with an X or check on an absentee or provisional ballot would not have been subject to adjudication software review
      programmed to kick out marks that were too light to register on the scanner, but to the human eye were visible as an
      X or check vote designation.
80    The ImageCast Precinct Scanner and Tabulator is an optical scan ballot tabulator used to scan marked paper ballots and
      interpret voter marks on the paper ballot. It is a proprietary Dominion product. (Tr. Vol. II at 81.)
81    The ImageCast Central Scanner consists of a Canon DR-G1130 commercial off-the-shelf digital high-speed document
      scanner configured to work with the ImageCast Central Software for high speed ballot tabulation.
82    The scanner does not work like a camera – it does not take a picture of the paper ballot. (Tr. Vol. I at 140-41.)
83    According to Dr. Coomer, when an in-person voter scans a hand-marked paper ballot (i.e., an emergency ballot) on the
      precinct scanner, the scanner will alert the voter if the ballot is rejected as having contained an ambiguous mark and that
      voter will have the opportunity to correct the ballot. (Tr. Vol. II at 75-76; see also Ex. M to Hursti Decl., Doc. 809-3 at 48.)
      However, because of the configuration of the ICP scanner in Georgia, if the voter marked a selection, but the scanner
      did not recognize that as a vote, the voter would not be alerted if an undervote is detected for a particular contest. (Tr.
      Vol. II at 75.) The ICP will only alert an in-person voter if the ballot is completely blank for all races. (Id. at 76.)
84    As shown in Exhibit 7.1, the ballot image on the left illustrates what the ballot looks like to the human eye when voted. The
      ballot image on the right shows the ballot recorded by the ICP scanner and is the image that is tabulated for vote counting.
85    To be fair to his testimony, Mr. Hursti opined that in order to maximize the accuracy of the ICC tabulation scanner, the
      ICC should be configured to capture additional information from the images, such as gray scale or color, in addition to
      an increase in the DPI.
86    This is consistent with the representations made in the Dominion contract that “[a]fter a ballot is adjudicated, the ballot
      image is appended with a record of that decision including the user's name, action taken by the user, and date and
      time of the action. This adjudication AuditMark is appended to the ballot image under the original AuditMark, which was
      manifested during tabulation.” (Doc. 619-8 at 54.)
87    An overvote occurs when the scanner/tabulator registers more than one legible vote for a single contest.
88    This is the result unless they can be discovered in a subsequent manual recount, like the one conducted by Clarke County
      that recovered some of these types of lost votes by allowing full examination of the ballots with “blanks” in the 5 districts
      where such re-counting was allowed. The panel's bipartisan members agreed on all of the vote determinations.
89    See Elrod v. Burns, 427 U.S. 347, 373, 96 S.Ct. 2673, 49 L.Ed.2d 547 (1976) (plurality opinion) (The “loss of First
      Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury.”); Martin v. Kemp,
      341 F. Supp. 3d 1326, 1340 (N.D. Ga. 2018) (“The Court finds that [p]laintiffs have established irreparable injury as



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      a violation of the right to vote cannot be undone through monetary relief and, once the election results are tallied, the
      rejected electors will have been disenfranchised without a future opportunity to cast their votes.”); see also League of
      Women Voters of N.C., 769 F.3d at 247 (“Courts routinely deem restrictions on fundamental voting rights irreparable
      injury ... [because] once the election occurs, there can be no do-over and no redress. The injury to these voters is real
      and completely irreparable if nothing is done to enjoin the law.”).
90    Although the burden is minimal, the evidence indicates the instructions are not effective or are ignored by a number of
      voters.
91    This deadline can be extended by the Secretary of State, if necessary, in order to perform an audit.
92    On the other hand, during his September 10th testimony before this Court, Mr. Hursti seemed to indicate that no other
      system configuration adjustments could be made to increase the accuracy of the ICP tabulators used at precinct locations.
      Instead, his proposed solution for the ICP precinct scanner is to provide better instructions to voters carefully to fill the
      whole oval and provide all voters with black felt ink pens for marking paper ballots by hand. (Tr. Vol. I at 141, 159, 168.)
      According to Mr. Hursti, the evidence demonstrates that many voters do not follow the existing written instructions printed
      on the absentee/provisional/emergency paper ballots – an indication that the instructions have not been effective. (Id. at
      159.) The CES study similarly concluded that instructions to voters should be modified to inform the voter to fill in the
      oval next to the candidate name and to avoid circling, underlining, or placing checkmarks or Xs, or otherwise marking the
      candidate name outside the vote target oval. The CES study also determined that voters should be warned to not use red
      ink when marking ballots. The Court takes judicial notice that the Secretary of State has revised the written instructions
      on its paper ballots to incorporate these recommendations from the CES study, though its revised ballot instructions
      removed the visual illustration showing how to blacken in the oval. And the Secretary of State's guidance on the use of
      emergency paper ballots for in-person voting specifies that precincts provide only the two pens approved by Dominion
                                                                                                            92
      Voting – the Sharpie Fine Point black pen and the Paper Mate Flair M Medium Point black pen. (See Pls.’ Ex. 11.)
      The casting of hand marked emergency ballots in prior elections in the 2020 election cycle appears to have been fairly
      rare based on the evidence before the Court. However, as the Secretary of State's Office and County Registrar's Offices
      should be providing more training to county poll workers on the State's emergency ballot options and process prior to
      the 2020 general election, a focus upon scanning issues impacting the scanning of hand marked ballots at the precinct
      level, where scanners produce even less refined images, would be sensible.
93    The Court recognizes that some counties have indicated they do not plan to use the adjudication software and will proceed
      according to their established procedures to systematically review scanned hand marked ballots along with the original
      ballots, consistent with the penultimate “voter intent” standard established under Georgia law.
94    Dr. Coomer, however, testified that the scanner software (not the adjudication software) is programmed to provide an
      alert where a ballot is scanned that registers as completely blank.
95    Every hand-marked paper ballot has a unique corresponding ballot ID number printed at the bottom that is recorded by
      the scanner/tabulator and reflected on the AuditMark associated with the ballot image. The AuditMark that indicates the
      disposition of the candidate choices on each scanned ballot contains a record of the ballot ID from the paper ballot. The
      AuditMark on the scanned ballot image is therefore traceable to the original paper ballot. As a result, the original paper
      ballots can be compared, as needed under the circumstances, to the AuditMark to confirm that voter intent has been
      accurately recorded by the scanners.
96    To the extent questions arise whether voter marks are clearly discernible on the scanned image, the Vote Review Panels
      can review the original paper ballots if necessary. Every hand-marked paper ballot has a unique corresponding ballot ID
      number printed at the bottom that is recorded by the scanner/tabulator and reflected on the AuditMark associated with
      the ballot image. The AuditMark that indicates the disposition of the candidate choices on each scanned ballot contains
      a record of the ballot ID from the paper ballot. The AuditMark on the scanned ballot image is therefore traceable to the
      original paper ballot. As a result, the original paper ballots can be compared, as needed under the circumstances, to the
      AuditMark to confirm that voter intent has been accurately recorded by the scanners.
97    See, e.g., Paragraph (a) of proposed Order at Doc. 809-17.
98    Justice Ruth Bader Ginsburg – Opening Remarks to Senate Judiciary Committee in her 1993 Senate Confirmation
      Hearing.
99    For the reasons discussed in Section III D, the Coalition Plaintiffs’ Motion is GRANTED IN PART in connection with
      the scanner/tabulator settings in tandem with Dominion's adjudication software that as currently configured allow certain
      voter marks on hand-marked absentee and provisional ballots to disregarded and not be counted.




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